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                       EXHIBIT 11
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             HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


_______________________________________
                                               )
IN RE NATIONAL PRESCRIPTION OPIATE )
LITIGATION                                     )
                                               )
This document relates to:                      )
                                               ) MDL No. 2804
The County of Summit, Ohio, et al. v. Purdue )
Pharma L.P., et al., Case No. 18-op-45090      ) Hon. Dan Aaron Polster
                                               )
The County of Cuyahoga, Ohio, et al. v. Purdue )
Pharma L.P., et al., Case No. 17-op-45004      )
                                               )
                                               )
                                               )



                               Expert Report of Larry Holifield

                                         May 31, 2019
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I.     INTRODUCTION

        My name is Larry Holifield. I am the co-founder and Director of Corporate Integrity
Services LLC, located at 5846 S Flamingo Road #3170, Cooper City, Florida. I have been
retained as an independent expert witness by counsel for McKesson Corporation in In Re
National Prescription Opiate Litigation, Case No. 17-md-2804, before the U.S. District Court for
the Northern District of Ohio.

         I understand that McKesson Corporation and other defendants in the above-referenced
litigation may use my expert testimony at trial.

        I prepared this report to comply with Rule 26(a)(2) of the Federal Rules of Civil
Procedure. This report summarizes my current opinions, which are subject to change depending
on ongoing discovery and additional information. My opinions in this report are based upon my
training, education, and experience, as well as my review of documents in this case (as identified
in Appendix B). My opinions set forth in this report are stated to a reasonable degree of
certainty.

       For trial, I may prepare visual aids to demonstrate various aspects of my testimony.

II.    QUALIFICATIONS AND COMPENSATION

       I have 37 years of combined law enforcement experience.

        From 1970 to 1984, I worked for the St. Louis Police Department (“SLPD”). Throughout
my career with the SLPD, I attended training programs to maintain my certification as a police
officer in the State of Missouri. I also earned a Bachelor of Arts Degree in Political Science and
Legal Justice in 1977 from Maryville University of St. Louis while working with the SLPD.

       During my time as a police officer, I worked in a variety of different assignments,
including uniform patrol and vice squad until being promoted to narcotics detective in 1976,
which I remained throughout my tenure in the department. I received numerous awards at SLPD
including Chiefs’ Letters of Commendation. I left the SLPD in 1984.

     In 1984, I began working for the United States Drug Enforcement Administration
(“DEA”). I worked for DEA for 23 years (1984-2007).

        During my time at DEA, I served in multiple senior management roles, overseeing the
investigation of international drug rings as well as supervising several units that focused on
investigating drug diversion.

        With tours of duty in Guatemala, Colombia, Mexico, and El Paso, Texas, I spent a
significant portion of my DEA career investigating drug trafficking into the United States from
Central America, South America, Mexico, and along the Southwest Border. In those roles, I
developed expertise on international drug cartels and the flow of illicit drugs across the
Southwest Border; I negotiated directly with law enforcement (including Justice Department
officials) and numerous government agencies in foreign countries to reform their drug laws; and


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I became familiar with the statutes and regulations that DEA relies on to combat drug trafficking
and diversion.

        From 1987 to 1992, I was a special agent assigned to the Guatemala City Country Office,
which covered El Salvador, Belize, and Guatemala. During this timeframe, our office focused
on combatting the emergence of new drug trafficking routes through Central America.
Colombian drug trafficking organizations had opened these new routes in response to increased
law enforcement efforts concentrated on the preexisting routes through the Southeastern United
States and the Caribbean.

        From 1992 to 1994, I was the Group Supervisor of the Organized Crime Drug
Enforcement Task Force (“OCDETF”) and reported to the Assistant Special Agent in Charge of
DEA’s San Francisco Field Office. As the Group Supervisor of OCDETF, I led the investigation
of long-term, complex criminal cases. The majority of those cases involved multi-jurisdictional
conspiracies of 20-30 people, and almost all had a nexus with Mexico or Colombia. We
investigated drug cartels trafficking in crack cocaine, heroin, and methamphetamines. In 1994, I
opened the DEA’s Oakland, California Office, which also targeted major drug trafficking
organizations primarily from Mexico and Colombia.

       In 1996, I received a special assignment as liaison to the Central Intelligence Agency in
Bogota. Then, in 1998, I received a temporary promotion to become the Assistant Country
Attaché to Bogota, Colombia.

        In 1999, I returned to DEA Headquarters, at which time my promotion became
permanent. I was assigned to be Co-Chair of the Linear Committee, a multi-agency task force
that investigates large transnational narcotics traffickers. Although I was familiar with
suspicious activity reports (“SARs”) used to identify financial links to the illicit drug trade from
my prior duties as a Special Agent, I became more familiar with the complex statutes and
regulations that mandate SARs by financial institutions during this tour of duty. In this role, I
also attained significant knowledge regarding international drug cartels and the illicit sources of
drugs abused in the United States.

       In 2000, I became Section Chief for Mexico and Central America.

        Later in the year 2000, I was transferred to Assistant Special Agent in Charge of the El
Paso Field Office. During my time in the El Paso Field Office (2000-2002), I supervised all
DEA units operating out of the office, including a diversion unit that consisted of diversion
investigators and special agents. As part of my duties, I was responsible for conducting criminal
investigations and enforcing compliance with the Controlled Substances Act and its
implementing regulations.

       From 2002-2006, I was the DEA’s Regional Director for Mexico and Central America.
During that time, I oversaw two diversion investigators and was involved in high-level meetings
and discussions with the Mexican government about drug-related reforms. At the time, my work
on drug reform in Mexico was critical to combatting drug abuse in the United States because
Mexican laws relating to the sale of drugs like pseudoephedrine had a direct impact on the
availability of that substance to the drug cartels that used it to manufacture the methamphetamine

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they trafficked across the border. I also continued to interface with and rely upon agents who
had special training in suspicious activity reports (“SARs”) to identify financial links to the illicit
drug trade.

        From 2006-2007, I served as the Deputy Special Agent in Charge of the DEA’s Miami
Field Division and was responsible for all DEA personnel in Florida from the top of the state
down to Miami. DEA had a large Diversion Group in Florida at the time and its supervisor
reported to me on its activities on a weekly basis. The Diversion Group had personnel in the
Miami office and in regional offices in Ft. Lauderdale, Jacksonville, Orlando, and Tampa. In
2006-2007, the Diversion Group was focusing on investigations into internet pharmacies and pill
mills, but it also worked with the State of Florida to reform Florida’s loose laws concerning
licenses to own and operate pharmacies.

        In 2007, I retired from the DEA. Throughout my career at DEA, I regularly attended
training seminars and courses, including, but not limited to, asset forfeiture training,
fingerprinting training, and training provided by CIA related to my international duties. I also
received numerous awards while at DEA, including Sustained Superior Service Awards, two
DEA Administrator’s Awards, and the Warren Medal from CIA.

        In 2008, I began working for TurnStone Investigative Group as a Regional Director in
Miami, Florida. At TurnStone, I managed and conducted complex domestic and international
investigations. I am licensed as a private investigator in the state of Florida.

        In 2012, I co-founded Corporate Integrity Services LLC (“CIS”), which is a licensed
private investigative agency that provides consulting and investigative solutions to corporate
entities, law firms, and individuals. From 2012 to present, I have worked as the Director of CIS.
As part of my work at CIS, I frequently advise Mexican and other foreign clients about
compliance with US drug laws, including DEA regulations.

       My resume is attached as Appendix C.

      I am being compensated for my time at my standard rate of $250 per hour. My
compensation is not based on the outcome of the litigation.

III.   SCOPE OF REPORT

       I have been asked to offer opinions on the following topics.

       1)      DEA’s operational structure and its enforcement priorities as they relate to the
               investigation of illicit drugs and the diversion of legal medications.

       2)      Registrants’ statutory and regulatory obligations related to maintenance of
               effective controls and controlled substance transaction reporting, including DEA’s
               enforcement of those requirements prior to the Distributor Initiative.

       3)      The evolution of diversion trends in the United States in the mid-2000s, including
               the role that rogue internet pharmacies played in that rise, and the resulting efforts


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            by DEA’s Office of Diversion Control to adapt its existing regulations to address
            these new threats.

      4)    The options available to enhance DEA’s regulatory and enforcement efforts to
            address new trends in diversion.

      5)    The effect of additional suspicious order reporting on DEA’s efforts to prevent
            diversion.

      6)    The contributors to the abuse of illicit drugs and legally produced controlled
            substances that are outside the control of registrants.

IV.   SUMMARY OF OPINIONS

      A.    DEA has historically prioritized combating illicit drugs and the transnational and
            domestic criminal organizations who traffic them over combating diversion of
            prescription drugs.

            1.     DEA’s priorities are evidenced by the personnel it assigns to each task, the
                   organizational structure it has adopted, and the resources it devotes to each
                   task.

                   a)      DEA often assigns diversion investigators without law
                           enforcement powers to investigate diversion of prescription drugs,
                           and assigns DEA agents with law enforcement powers to
                           investigate illicit drugs and related criminal organizations.

                   b)      DEA is organized so that diversion investigators ultimately report
                           through their chain of command to DEA special agents.

                   c)      DEA devotes greater resources and attention to investigate illicit
                           drugs and related criminal organizations than it assigns to
                           investigate diversion of prescription drugs.

            2.     This prioritization reflects DEA’s focus on illicit drugs and related
                   criminal organizations as a more harmful factor in the existing drug crisis
                   than the diversion of prescription drugs.

      B.    The Controlled Substance Act (“CSA”) and DEA’s implementing regulations set
            forth limited—and sometimes vague—requirements related to registrants’
            responsibility to maintain effective controls against theft or diversion.

            1.     The purpose of CSA and DEA’s implementing regulations is to keep
                   prescription drugs safe within the “closed system of distribution.”

            2.     The DEA’s implementing regulations have largely remained the same
                   since 1971.


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            3.     The standards for determining whether registrants are maintaining
                   effective controls against theft and diversion are contained in 21 C.F.R. §§
                   1301.71-1301.76.

                   a)     The regulations state that the determination of whether a registrant
                          has provided “effective controls against diversion” are based upon
                          compliance with “the standards for physical security controls and
                          operating procedures necessary to prevent diversion” as set forth in
                          21 C.F.R. §§ 1301.72-1301.76, e.g., defining the required
                          thickness of the concrete surrounding a controlled substance vault,
                          requiring restricted access to controlled substance processing areas,
                          etc.

                   b)     The only due diligence of a customer that a registrant is required to
                          conduct under the regulations is a “good faith” effort to ensure the
                          customer is registered to possess controlled substances. The
                          regulations do not state that a registrant must conduct any other
                          investigation of its customers.

                   c)     The only requirements related to “suspicious orders” under the
                          regulations is that a registrant must implement a system to identify
                          and report “suspicious orders” to DEA.

                   d)     The regulations do not state that a registrant must investigate
                          “suspicious orders” or halt them prior to shipment.

            4.     My opinions regarding the CSA and DEA’s implementing regulations are
                   consistent with my experiences supervising diversion units. The units’
                   inspected pharmacies to ensure they were secured against theft and had
                   accounted for their inventory of controlled substances. The units also
                   reviewed registrants’ suspicious order monitoring programs for
                   compliance.

      C.    New diversion trends in the mid-2000s demonstrated the inadequacy of the
            existing DEA regulations; DEA responded by attempting to stretch the 1971
            regulations to address the new problem.

            1.     The unprecedented rise of rogue internet pharmacies, and later pills mills,
                   were the primary diversion threat in the mid- and late-2000s.

            2.     DEA was under significant pressure to address the rise of prescription
                   drug abuse in the mid-2000s.

            3.     In response, DEA sent a “Dear Registrant” letter in December 2007 that
                   attempted to change the expectations set forth in DEA’s regulations.




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            4.     Through these letters, and without support in the CSA or its implementing
                   regulations, DEA attempted to shift its law enforcement role to registrants
                   who did not have at their disposal the law enforcement experience or the
                   many investigatory tools available to DEA, such as administrative
                   subpoenas, search warrants, wire taps, undercover personnel to conduct
                   surveillance, or the ability to seize records and computers.

      D.    There were other legitimate options available to enhance DEA’s regulatory and
            enforcement efforts to address new trends in diversion that were not implemented.

            1.     The CSA was not amended to expand the duties of registrants beyond
                   those set forth in the original statute.

            2.     DEA did not issue any new regulations or revise existing regulations
                   relating to the control of the manufacture, distribution, and dispensing of
                   controlled substances as it is authorized to do under 21 U.S.C. § 821.

            3.     DEA did not provide specific guidance regarding how to identify
                   “suspicious orders,” investigate “suspicious orders,” investigate their
                   customers, and/or determine which “suspicious orders” or customers
                   should be rejected.

      E.    If registrants had filed more suspicious order reports it would not have had
            meaningful impact on DEA’s efforts to prevent diversion.

            1.     DEA already had information on potential “suspicious orders” in its
                   ARCOS data that it could use to identify possible diversion.

                   a)      Distributors and manufacturers reported all transactions involving
                           purchase or sale of prescription opioid medications to the ARCOS
                           reporting system. ARCOS reporting tools allowed DEA to identify
                           pharmacies that were receiving extraordinarily large volumes of
                           narcotics; DEA did not need registrant’s suspicious order reports to
                           do that.

                   b)      DEA did not provide registrants access to ARCOS data.
                           Registrants only gained access to limited ARCOS data in 2018.

            2.     Only a small fraction of suspicious order reports ever resulted in DEA
                   actions against registrants, and DEA’s regular practice was to not respond
                   to the suspicious order reports received.

            3.     There is no basis to conclude that additional suspicious order reports
                   would have resulted in a meaningful decrease in diversion.

      F.    Factors outside the control of registrants have contributed to the abuse of illicit
            drugs and legally produced controlled substances inside Summit County and
            Cuyahoga County.

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               1.      Drug abuse, including abuse of opioid drugs, existed in the United States
                       prior to the diversion of prescription opioids and will continue in the
                       future regardless of the availability of prescription opioids.

               2.      The current opioid epidemic is best understood in the context of a decades
                       long drug overdose epidemic that began at least as early as the 1970s and
                       has grown exponentially worse over the years.

               3.      Although drug trafficking and abuse have been increasing for decades, the
                       abuse of a particular illicit drug is often cyclical, with certain drugs rising
                       in popularity before fading and then spiking again in the future.

               4.      The drug overdose epidemic is fueled by drug trafficking organizations
                       that have long distributed illicit drugs, including illicit opioids, outside the
                       “closed system of distribution.”

               5.      The introduction of highly potent and dangerous illicit fentanyl from
                       international sources is the primary factor fueling the current drug
                       overdose epidemic.

               6.      The intentional decisions of individual bad actors—including employees
                       of the plaintiffs themselves—that trafficked illicit opioids or diverted
                       prescription opioids outside the controls of the defendant registrants are
                       also responsible for the opioid-related problems in Cuyahoga County and
                       Summit County.

V.     DEA’S OPERATIONAL STRUCTURE AND ITS ENFORCEMENT PRIORITIES

         In my personal experience as a 23-year veteran of DEA, the DEA has always considered
illicit drugs and the transnational and domestic criminal organizations that traffic them to be the
highest threat to the American public.1 DEA devotes considerable law enforcement resources to
detecting and investigating these criminal organizations and preventing them from trafficking
illicit drugs in the United States. In contrast, DEA has treated combating diversion of legally
produced controlled substances as a lower priority.2 DEA’s efforts to combat diversion of


1
  U.S. Department of Justice, Office of the Inspector General, Audit Report 12-05, Audit of the
Drug Enforcement Administration's Personnel Resource Management and Casework (2011)
(“2011 OIG Audit Report”) at Executive Summary (“The DEA focuses on disrupting and
dismantling Priority Target Organizations (PTO), which are the major drug supply and money
laundering organizations that have a significant impact upon drug availability in the United
States.”); Keith Martin (“Martin”) Dep. 214:8-214:19 (testifying that stopping drug cartels has
always been one of DEA’s priority focuses).
2
  U.S. Department of Justice, Office of the Inspector General, I-2002-010, Review of the Drug
Enforcement Administration’s Investigations of the Diversion of Controlled Pharmaceuticals
(2002) (“2002 OIG Report”) at 28 (small minority of all investigators’ time is spent on
pharmaceutical diversion); 2011 OIG Audit Report at 4 (small minority of all investigators are

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legally produced controlled substances generally consisted of using non-law enforcement
personnel, i.e., diversion investigators, to investigate registrants to ensure compliance with
technical recordkeeping, suspicious order reporting, and physical security regulations.3

         A.      Personnel

        DEA has more than 20 field division offices and more than 200 sub-offices located
throughout the United States.4 The staff at DEA field offices are primarily special agents who
often do not receive formal diversion training or participate in diversion investigations.5 But each
of the field division offices and some of the sub-offices have a diversion control unit that is
staffed by diversion investigators.6

        Diversion investigator training consists of a 12-week basic course that covers “(1) an
overview of diversion control, (2) techniques for diversion investigations, (3) the laws and
regulations governing the Diversion Control Program, (4) an overview of chemical diversion
control, and (5) criminal investigations.”7 After completing the training course, diversion
investigators are assigned to the field.8




devoted to diversion), 73 (737 personnel utilized on diversion cases and 6,436 personnel utilized
on illegal drug cases).
3
 21 C.F.R. § 1301.74 (requiring reporting of suspicious orders); 21 C.F.R. § 1305.12 (requiring
completion of DEA Form 222 in triplicate), 21 C.F.R. § 1304.11 (requiring complete and
accurate inventories); 21 C.F.R. § 1301.75 (requiring controlled substances to be stored in
“securely locked, substantially constructed cabinet”).
4
  DEA Domestic Divisions, https://www.dea.gov/domestic-divisions; 2002 OIG Report at 5;
U.S. Department of Justice, Office of the Inspector General, I-2006-004, Follow-Up Review of
the Drug Enforcement Administration’s Efforts to Control the Diversion of Controlled
Pharmaceuticals (2006) (“2006 OIG Report”) at 8.
5
  Martin Dep. 31:12-23 (testifying that he never received diversion training and did not recall
ever working on any diversion investigations while working as a special agent from 1995 to
2004), 64:18-65:22 (testifying that he was unaware of his enforcement agents or group
supervisors ever attending special agent diversion training); U.S Government Accountability
Office, GAO-11-744, Prescription Drug Control: DEA Has Enhanced Efforts to Combat
Diversion, But Could Better Assess and Report Program Results (2011) (“2011 GAO Report”),
at 24 (describing diversion training course that is only provided to special agents specifically
assigned to diversion control), 11-12 (explaining that only five special agents in 2008 and 141
special agents in 2011 were specifically assigned to diversion control).
6
    2002 OIG Report at 5.
7
    2011 GAO Report at 22 (describing training program for diversion investigators).
8
 2011 GAO Report at 22 (“After the completion of basic training, the investigators enter into
duty under a 1-year probationary period with a midpoint review provided after 6 months of
duty.”).


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        Diversion investigators are responsible for initiating administrative, civil, or criminal
action against suspected sources of diversion.9 But while special agents have full law
enforcement authority, diversion investigators do not.10 This means that diversion investigators
cannot conduct surveillance or undercover work, direct or pay confidential informants, carry
weapons, or serve arrest and search warrants.11 When diversion investigators need these law
enforcement activities to build a case, they must request assistance from special agents or state
and local law enforcement officers.12

        In practice, special agents spend only a very small portion of their time working on
diversion investigations.13 This is consistent with my experience in the field and my
understanding of DEA’s priorities. Special agents, with law enforcement authority, spent the
overwhelming majority of their time building cases against illicit drug traffickers, which is the
top priority at DEA.14 In contrast, diversion investigators, without law enforcement authority,
focused on conducting investigations of registrants to ensure compliance with the CSA and its
regulations, including but not limited to, technical recordkeeping, suspicious order reporting, and
physical security regulations.15 When diversion investigators identified concerns about a

9
    2002 OIG Report at 14.
10
     2002 OIG Report at 5.
11
  2002 OIG Report at 8, 14. In contrast, special agents or “[e]nforcement agents,” “carry guns.
They have arrest authority, arrest powers. But they investigate all -- all criminal -- all criminal,
civil violations of the Controlled Substances Act. They are not limited to what they investigate.”
Joseph Rannazzisi (“Rannazzisi”) Dep. (Day 1) 151:7-12.
12
     2002 OIG Report at 14.
13
  2002 OIG Report at 12 n.7 (“DEA officials told us that a reasonable estimate would be 1 to 3
percent of the agent’s total time [is spent on diversion investigations].”); 2006 OIG Report at 76
(“[I]n our current review the percentage of special agent time dedicated to pharmaceutical
diversion investigations was at most 2.2 percent.”)
14
  2002 OIG Report at 12 n.7 (“DEA officials told us that a reasonable estimate would be 1 to 3
percent of the agent’s total time [is spent on diversion investigations].”); 2006 OIG Report at 76
(“[I]n our current review the percentage of special agent time dedicated to pharmaceutical
diversion investigations was at most 2.2 percent.”); 2011 OIG Audit Report at 73 (showing 737
personnel utilized on diversion cases and 6,436 personnel utilized on illegal drug cases).
15
   2011 OIG Audit Report at 10 (explaining that diversion investigators “conduct [regulatory]
investigations, [at which they] inspect and verify the registrant’s records, take a physical
inventory of the registrant’s controlled substances, and inspect any other items necessary to
verify the registrant’s compliance with the CSA and its implementing regulations,” and also
“conduct preliminary investigative work to determine whether [a complaint of diversion] is valid
and warrants a full investigation”); 21 C.F.R. 1301.74 (requiring suspicious order reporting); 21
C.F.R. § 1305.12 (requiring completion of DEA Form 222 in triplicate), 21 C.F.R. § 1304.11
(requiring complete and accurate inventories); 21 C.F.R. § 1301.75 (requiring controlled
substances to be stored in “securely locked, substantially constructed cabinet”); Martin Dep.
289:19-290:5 (testifying that diversion agents “do not carry weapons” and confirming that they
are “more regulatory based than crime based”). For descriptions of diversion investigators’ jobs,
Thomas Prevoznik (“Prevoznik”) Rule 30(b)(6) Dep. (Day 1) 81:12-19 (“A. [A]s as a diversion

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registrant’s suspicious order monitoring policies they would be raised with the registrant. 16
When diversion investigators identified a potential need for law enforcement activities to
investigate diversion, they would submit that request to a supervisor, such as myself, who would
then determine whether special agents should be assigned to assist with the diversion
investigation or continue with investigations of illicit drugs.17

       B.      Organization

        As Assistant Special Agent in Charge of the El Paso Field Office, Regional Director for
Mexico and Central America, and Deputy Special Agent in Charge of DEA’s Miami Field
Division, I received regular reports from supervisors of the diversion teams regarding their
investigative activities. As noted above, I would also receive requests from diversion
investigators for special agents to assist with law enforcement activities. This is consistent with
the overall organizational structure of DEA. Although DEA’s diversion control activities are
coordinated from DEA headquarters, they are primarily conducted by DEA’s field offices, and
the operational activities of the diversion control units are overseen by special agents.18 This is



investigator, we conduct -- we conduct investigations, whether it's scheduled investigations,
where we're out at the registrants' facilities. It's doing administrative investigations, civil
investigations, criminal investigations, compliant investigations.”); Rannazzisi Dep. (Day 2)
382:12-19 (“Q. So as a diversion investigator, what would you do? A. We would investigate
the methods trying to determine why or how those drugs are being removed from the illicit
supply chain, how they are getting to the illicit supply chain and investigate and then take action
to stop them from happening.”).
16
  Prevoznik Rule 30(b)(6) Depo. Tr. (Day 1) 53:24-6 (“It would also be used in our scheduled
investigations. That's when we're out at the registrants and we use it to review the suspicious
ordering monitoring system that they have in place to ensure that they are actually doing what
they say they are going to do.”), 289:21-290:20 (“A. Schedule[d] investigation[s] are … a
diversion investigator's work plan. So they will be assigned certain registrants that we will go out
and inspect their facility, their registration. Q. And is that inspection or visit different from what
might be referred to as a DEA audit or are they -- A. They're the same. Q. The same. Got it. And
during a scheduled investigation or audit, does the DEA review a registrant's written
policies? A. Their protocols? Q. Yes. A. Yes. Q. And if the DEA has concerns about those
policies, does it raise those concerns with the registrant? . . . A. To my -- yes, they do.”).
17
  2002 OIG Report at 16 (describing August 2001 memorandum from DEA’s Operations
Division that “designated an Assistant Special-Agent-in-Charge (ASAC) at each field office to
oversee the operational activities of the diversion control program”); 2006 OIG Report at 75
(“Diversion investigators still do not have law enforcement authority and continue to rely on
special agent support to conduct critical tasks in criminal diversion investigations.”); 2011 GAO
Report at 11 (“[Diversion] investigators do not have law enforcement authority . . . . Special
Agents . . . assist Diversion Investigators by performing law enforcement functions . . . .”).
18
  2002 OIG Report at 16 (describing August 2001 memorandum from DEA’s Operations
Division that “designated an Assistant Special-Agent-in-Charge (ASAC) at each field office to
oversee the operational activities of the diversion control program”); Prevoznik Rule 30(b)(6)
Dep. (Day 1) 58:15-20 (“Q. So is it fair to say that the primary purpose then of your current unit,

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consistent with diversion investigations being treated as a lower priority compared to
investigations of illicit drug trafficking organizations.

         C.      Resources

         DEA devotes greater resources and attention to investigating illicit drug trafficking than it
devotes to investigating diversion of legally produced controlled substances. Historically, in the
period 1997 to 2001, DEA spent less than 10% of its total investigative time on investigations of
controlled pharmaceuticals and more than 90% of its total investigative time on investigations of
illicit drugs.19 During that same time period diversion investigators made up less than 12% of
the total number of investigators at DEA.20 The percentage of all investigators devoted to
diversion cases as opposed to illicit drug trafficking cases remained below 12% through at least
2010.21 This is consistent with diversion investigations being treated as a lower priority
compared to investigations of illicit drug trafficking organizations.22

       In my experience, DEA focused its resources on combating illicit drugs and related
criminal organizations over diversion of prescription drugs because illicit drugs are a more
harmful factor in the existing drug crisis than the diversion of prescription drugs. In setting
funding and priorities for DEA, Congress, the President, the Attorney General, and the
Administrator of DEA have determined that criminal organizations that traffic illicit drugs are
the most significant factor in the existing drug crisis.

VI.      REGISTRANTS’ STATUTORY AND REGULATORY OBLIGATIONS

       As a 23-year veteran of DEA, I am familiar with the Controlled Substances Act (“CSA”)
and the related regulations. I have reviewed portions of the CSA and related regulations in
preparing my expert opinion.

         A.      Overview of Controlled Substances Act and Closed System of Distribution




the pharmaceutical investigations section, is to provide support to the field and their various
investigations? A. Correct.”).
19
     2002 OIG Report at 12, 28.
20
     2002 OIG Report at 11.
21
  2011 OIG Audit Report at 73 (showing 737 personnel utilized on diversion cases and 6,436
personnel utilized on illegal drug cases).
22
  Martin Dep. 59:13-60:4 (“Q. … And on diversion, part of the responsibility of the teams that
you have working under you [the ASAC of the field office] would be knowing where diversion
occurs in your jurisdiction, who is diverting, and what steps DEA will take to stop the diversion,
including making sure that DEA does not contribute to the diversion? … A. So, again, the
diversion side does not necessarily report to me. They don't like -- they don't tell me what they're
doing.”).


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        Congress passed the CSA in 1970.23 The CSA established a “closed system” of
distribution for controlled substances.24 The DEA is the government agency that controls the
closed system of distribution.25 Only individuals that obtain a registration from the DEA are
permitted to manufacture, distribute, dispense, import, or export controlled substances.26 The
23
  Comprehensive Drug Abuse Prevention and Control Act of 1970, Pub. L. No. 91-513, §§ 100-
709, 84 Stat. 1236, 1242-1284 (1970).
24
  21 U.S.C. § 822 (requiring every person who manufactures, distributes, or dispenses controlled
substances to register with the Attorney General); 21 U.S.C. § 823 (mandating that the Attorney
General register manufacturers, distributors, and dispensers of controlled substances); 21 C.F.R.
§ 1301.11 (requiring “[e]very person who manufactures, distributes, dispenses, imports, or
exports any controlled substance or who proposes to engage in the manufacture, distribution,
dispensing, importation or exportation of any controlled substance [to] obtain a registration”);
Improving Predictability and Transparency in DEA and FDA Regulation, Hearing Before the
Subcomm. on Health of the H. Comm. on Energy and Commerce, 113th Cong., 113-137 (2014)
(prepared statement of Joseph T. Rannazzisi, Deputy Assistant Administrator, Office of
Diversion Control, Drug Enforcement Administration) at 83 (“[T]he CSA requires the DEA to
establish and maintain a system that strictly controls and monitors the flow of controlled
substances in the United States, from the point of importation and manufacture, to distribution,
dispensing, and finally, disposal. This is the ‘closed system of distribution.’”).
25
  21 U.S.C. § 823 (mandating that the Attorney General register manufacturers, distributors, and
dispensers of controlled substances); 28 C.F.R. § 0.100 (delegating Attorney General’s authority
pursuant to CSA to DEA Administrator); 21 C.F.R. § 1301.11 (requiring “[e]very person who
manufactures, distributes, dispenses, imports, or exports any controlled substance or who
proposes to engage in the manufacture, distribution, dispensing, importation or exportation of
any controlled substance [to] obtain a registration”); 21 C.F.R. § 1301.31 (directing DEA
Administrator to review applications for registration); 21 C.F.R. § 1301.35 (directing DEA
Administrator to issue registrations when appropriate); Rannazzisi Dep. (Day 1) at 49:24-50:1
(“Q. It's true that DEA controls the closed system of drug distribution, right? A. Yes.”); Kyle
Wright (“Wright”) Dep. (Day 2) 297:6-14 (“[A.] I'll try to say it in a nutshell: to maintain,
oversee and protect the closed system of distribution at all levels. … Q. Was that the role of the
Drug Enforcement Agency [sic], as you understood it in your experience? A. Yes, sir.”);
Improving Predictability and Transparency in DEA and FDA Regulation, Hearing before the
Subcomm. on Health of the H. Comm. on Energy and Commerce, 113th Cong., 113-137 (2014)
(prepared statement of Joseph T. Rannazzisi, Deputy Assistant Administrator, Office of
Diversion Control, Drug Enforcement Administration) at 83 (“[T]he CSA requires the DEA to
establish and maintain a system that strictly controls and monitors the flow of controlled
substances in the United States, from the point of importation and manufacture, to distribution,
dispensing, and finally, disposal. This is the ‘closed system of distribution.’”).
26
  21 U.S.C. § 822 (requiring every person who manufactures, distributes, or dispenses controlled
substances, or proposes to do so, to register with the Attorney General); 28 C.F.R. § 0.100
(delegating Attorney General’s authority pursuant to CSA to DEA Administrator); 21 C.F.R. §
1301.11 (requiring “[e]very person who manufactures, distributes, dispenses, imports, or exports
any controlled substance or who proposes to engage in the manufacture, distribution, dispensing,
importation or exportation of any controlled substance [to] obtain a registration”); 21 C.F.R. §
1301.31 (directing DEA Administrator to review applications for registration); 21 C.F.R. §
1301.35 (directing DEA Administrator to issue registrations when appropriate); Rannazzisi Dep.

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DEA must approve the registration applications from manufacturers, distributors, pharmacies,
and doctors before they can handle controlled substances.27

        The Administrator of DEA is responsible for making the determination about whether to
grant a registrant’s application because the Attorney General delegated this task to the
Administrator of DEA.28 The Attorney General assigned his powers under the CSA to the
Administrator of DEA, including the authority to create or revise regulations to implement the
CSA.29

         B.      Registration Requirements under the Controlled Substances Act

        DEA is required by the CSA in 21 U.S.C. § 823 to grant the registration applications for
controlled substances unless the applications are inconsistent with the public interest (or U.S.
obligations under international treaties, conventions, or protocols).30 The CSA in 21 U.S.C. §
823 provides factors that DEA must consider when making a decision about whether granting the
registration application for controlled substances is consistent with the public interest.




(Day 1) at 51:2-8 (“Q. It's true the DEA registers all manufacturers, distributors, pharmacies and
doctors that handle Schedule II controlled substances? A. That's true.”); Prevoznik Rule 30(b)(6)
Dep. (Day 1) at 267:23-268:3 (testifying that the “closed system of distribution” is “the system
… which Congress enacted for the authorized handling of controlled substances. So it requires
… DEA registration; everybody needs to be registered”).
27
  21 C.F.R. § 1301.31 (directing DEA Administrator to review applications for registration); 21
C.F.R. § 1301.35 (directing DEA Administrator to issue registrations when appropriate);
Rannazzisi Dep. (Day 1) at 52:10-22 (confirming that “[w]hen deciding to grant registration
[applications] to a manufacturer, distributor, pharmacy or doctor, the DEA inspects
documentation from … potential registrants”); Prevoznik Rule 30(b)(6) Dep. (Day 1) at 267:23-
268:3 (testifying that the “closed system of distribution” is “the system … which Congress
enacted for the authorized handling of controlled substances. So it requires … DEA registration;
everybody needs to be registered”).
28
  21 U.S.C. § 823 (mandating that the Attorney General register manufacturers, distributors, and
dispensers of controlled substances); 28 C.F.R. § 0.100 (delegating Attorney General’s authority
pursuant to CSA to DEA Administrator); 21 C.F.R. § 1301.31 (directing DEA Administrator to
review applications for registration); 21 C.F.R. § 1301.35 (directing DEA Administrator to issue
registrations when appropriate).
29
   21 U.S.C. § 821 (authorizing Attorney General to “promulgate rules and regulations …
relating to the registration and control of the manufacture, distribution, and dispensing of
controlled substance”); 28 C.F.R. § 0.100 (delegating Attorney General’s authority pursuant to
CSA to DEA Administrator); Rannazzisi Dep. (Day 1) 58:21-24 (“The regulation change would
be under the authority of the administrator of the Drug Enforcement Administration and
Department of Justice.”), 59:1-3 (“the final decision [to change a CSA regulation] is [up to] the
Department of Justice and the Drug Enforcement Administration leadership”).
30
     21 U.S.C. § 823.


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        21 U.S.C. § 823 lists the factors that DEA must consider when deciding whether granting
the applications of manufacturer and distributor registrants is in the public interest. 21 U.S.C. §
823(b) and (e) list the factors for distributors and require DEA to consider “maintenance of
effective controls against diversion of particular controlled substances into other than legitimate
medical, scientific, and industrial channels.”31 21 U.S.C. § 823(a) and (d) list the factors for
manufacturers and include “maintenance of effective controls against diversion of particular
controlled substances and any controlled substance … compounded therefrom into other than
legitimate medical, scientific, research, or industrial channels.”32 Although DEA is required by
21 U.S.C. § 823 to consider the applicant’s “maintenance of effective controls against diversion”
when deciding whether to grant a registration,33 § 823 does not create separate obligations for
manufacturers or distributors to investigate whether their customers are maintaining effective
controls against diversion of controlled substances into illegitimate channels.34

        In addition to registering manufacturers, distributors, pharmacies, and doctors, DEA has
the authority to revoke or suspend the registrations.35 DEA has the authority to issue an “order to
show cause why a registration should not be revoked or suspended.”36 DEA also has the
authority to immediately suspend [a] registration where it “finds that there is an imminent danger
to the public health or safety.”37

          C.      Requirements for “Effective Controls” Outlined in the Regulations

      The specific requirements for “maintenance of effective controls” are identified in DEA’s
implementing regulations, 21 C.F.R. §§ 1301.71-76. 21 C.F.R. § 1301.71(a) explains “[a]ll

31
  21 U.S.C. § 823(b)(1) (relating to distributors of controlled substances in schedule I or II),
(e)(1) (relating to distributors of controlled substances in schedule III, IV, or V).
32
  21 U.S.C. § 823(a)(1) (relating to manufacturers of controlled substances in schedule I or II),
(d)(1) (relating to manufacturers of controlled substances in schedule III, IV, or V).
33
     21 U.S.C. § 823(a)(1), (b)(1), (d)(1), (e)(1).
34
  Rannazzisi Dep. (Day 2) 526:19-527:3 (“Q. Okay. Now, within the Controlled Substances Act
… the words ‘know your customer’ does not appear, correct? A. The words ‘know your
customer’ is not in the Controlled Substances Act. Q. And the words ‘due diligence’ are not in
the Controlled Substances Act either, right? A. That is correct.”); Demetra Ashley (“Ashley”)
Dep. 159:20-160:3 (“Q. … Going back to know your customer's customer, to your knowledge, is
there any language in the Controlled Substances Act that states that a manufacturer is required to
know its customer's customer? A. In the Controlled Substances Act, no. Q. Is that phrase
anywhere in the CSA to your knowledge? A. To my knowledge, no.”); Prevoznik Rule 30(b)(6)
Dep. (Day 1) 209:1-7 (“Q. Now, did the Controlled Substances Act in this time period state that
the registrants must know their customer to decide whether an order is suspicious or not? A. It
does not have that specific language.”); 21 U.S.C. § 823.
35
  21 U.S.C. § 824 (providing for denial, revocation, or suspension of registrations); 21 C.F.R. §
1301.36 (describing DEA’s authority to suspend or revoke registrations”).
36
     21 C.F.R. § 1301.37.
37
     21 C.F.R. § 1301.36.


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applicants and registrants shall provide effective controls and procedures to guard against theft
and diversion of controlled substances.”38 The regulation goes on to explain that, “[i]n order to
determine whether a registrant has provided effective controls against diversion, the
Administrator shall use the security requirements set forth in Secs. 1301.72-1301.76 as standards
for the physical security controls and operating procedures necessary to prevent diversion.”39
The security requirements identified in 21 C.F.R. §§ 1301.72-1301.76 primarily focus on making
sure that controlled substances are safe and secure while the controlled substances are in a
registrant’s custody and control.40 This focus is consistent with my experiences supervising a
diversion unit in El Paso from 2000 to 2002. As reported to me, the diversion unit’s primary
focus was on inspecting pharmacies to ensure they were secured against theft and had accounted
for their inventory of controlled substances. The diversion unit also inspected the registrants’
suspicious order monitoring programs.41 I briefly describe 21 C.F.R. §§ 1301.72, .73, .75, and
.76 below, before turning to 21 C.F.R. § 1301.74.

                 1.      Section 1301.72

        Section 1301.72 describes the secured areas where controlled substances must be stored
in extensive detail. For example, the regulation requires: “A vault constructed after September 1,
1971 … [shall have] walls, floors, and ceilings … constructed of at least 8 inches of reinforced
concrete or other substantial masonry, reinforced vertically and horizontally with \1/2\-inch steel
rods tied 6 inches on center, or the structural equivalent to such reinforced walls, floors, and
ceilings.”42 The regulation goes on to provide various other physical security requirements for
registrants who are not physicians.43


38
     21 C.F.R. § 1301.71(a).
39
     21 C.F.R. § 1301.71(a).
40
  21 C.F.R. §§ 1301.72 (describing secured areas where controlled substances must be stored
by); 1301.73 (describing safeguard to maintain the security of controlled substances during the
manufacturing process); 1301.74 (describing “good faith” registration check required before
sending controlled substances to a customer); 1301.75 (describing physical storage requirements
for practitioners).
41
  Prevoznik Rule 30(b)(6) Depo. Tr. (Day 1) 53:24-6 (“It would also be used in our scheduled
investigations. That's when we're out at the registrants and we use it to review the suspicious
ordering monitoring system that they have in place to ensure that they are actually doing what
they say they are going to do.”), 289:21-290:20 (“A. Schedule[d] investigation[s] are … a
diversion investigator's work plan. So they will be assigned certain registrants that we will go out
and inspect their facility, their registration. Q. And is that inspection or visit different from what
might be referred to as a DEA audit or are they -- A. They're the same. Q. The same. Got it. And
during a scheduled investigation or audit, does the DEA review a registrant's written
policies? A. Their protocols? Q. Yes. A. Yes. Q. And if the DEA has concerns about those
policies, does it raise those concerns with the registrant? . . . A. To my -- yes, they do.”).
42
     21 C.F.R. § 1301.73(a)(3)(i).
43
     21 C.F.R. § 1301.72(a).


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                 2.     Section 1301.73

        Section 1301.73 describes various safeguards to maintain the security of controlled
substances during the manufacturing process.44 For example, it directs that “[a]ll in-process
substances shall be returned to the controlled substances storage area at the termination of the
process,”45 “[m]anufacturing activities with controlled substances shall be conducted in an area
or areas of clearly defined limited access which is under surveillance,”46 and “[d]uring the
production of controlled substances, the manufacturing areas shall be accessible to only those
employees required for efficient operation.”47

                 3.     Section 1301.75

       Section 1301.75 describes the physical storage rules that practitioners, such as
pharmacists, must follow with controlled substances.48 For example, it directs that controlled
substances “shall be stored in a securely locked, substantially constructed cabinet.”49

                 4.     Section 1301.76

        Section 1301.76 requires that practitioners not employ certain individuals that may be
likely to divert controlled substances (e.g., individuals convicted of felonies related to controlled
substances).50 It also requires practitioners to report the “theft or significant loss of any
controlled substance.”51 Finally, it requires that practitioners that act as distributors must comply
with certain regulations related to distributors.52

                 5.     Section 1301.74

                        a)         Requirements in Section 1301.74(a)

       Section 1301.74(a) requires a registrant to “make a good faith inquiry” to determine that
a customer “is registered to possess the controlled substance.”53 The regulation does not
reference “due diligence” or any other investigation that a registrant is required to perform on a
customer prior to completing a transaction beyond the “good faith inquiry” as to the customer’s

44
     21 C.F.R. § 1301.73.
45
     21 C.F.R. § 1301.73(a).
46
     21 C.F.R. § 1301.73(b).
47
     21 C.F.R. § 1301.73(c).
48
     21 C.F.R. § 1301.75
49
     21 C.F.R. § 1301.75(a) & (b).
50
     21 C.F.R. § 1301.76(a).
51
     21 C.F.R. § 1301.76(b).
52
     21 C.F.R. § 1301.76(c)-(d).
53
     21 C.F.R. § 1301.74(a).


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registration status.54 For example, there is no requirement set forth in § 1301.74 requiring a
registrant to “know your customers” to “know your customer’s customer,” or to know who is
ultimately prescribing the medications.55 The regulation also does not require any additional due
diligence by registrants other than a good faith inquiry to determine that the customer is
registered to handle controlled substances.56 The regulation also does not require registrants to
create or maintain “due diligence” files on their customers.57

       The scope of the regulatory requirements I describe above is consistent with my
experience supervising a diversion unit prior to 2006. While I was Assistant Special Agent in

54
     21 C.F.R. § 1301.74(a).
55
  21 C.F.R. § 1301.74; Rannazzisi Dep. (Day 2) 534:4-9 (“Q. Okay. Now, in that section [21
C.F.R. § 1301.74], does the word or words ‘know your customer’ appear? A. No, ma'am. Q. Do
the words ‘due diligence’ appear in this regulation? A. No, ma'am.”); Prevoznik Rule 30(b)(6)
Dep. (Day 1) 212:1-4 (“Q. Today, does the regulation explicitly reference knowing your
customer? A. No.”), 325:1-12 (“Q. But neither the statute nor the regulation says explicitly that
manufacturers need to know their customers' customers, do they? A. It does not say that
explicitly. But it does say that you need to guard against diversion. Q. Has the DEA ever
provided guidance to the industry in writing informing registrants that they are to know their
customers' customers? A. Not that I'm aware of.”).
56
   Rannazzisi Dep. (Day 2) 534:4-24 (“Q. Okay. Now, in that section [21 C.F.R. § 1301.74],
does the word or words ‘know your customer’ appear? A. No, ma'am. Q. Do the words ‘due
diligence’ appear in this regulation? A. No, ma'am. Q. Do the words ‘dispensing data’ appear in
this regulation? A. No, ma'am. Q. Do the words ‘customer questionnaire’ appear in this
regulation? A. No, ma'am. Q. Do the words ‘electronic order monitoring system’ appear in this
regulation? A. No, ma'am. Q. Do the words ‘do not ship’ appear in this regulation? A. No,
ma'am. Q. Do the word ‘dispensing data’ appear in this regulation? A. No, ma'am.”); Ashley
Dep. 215:12-216:4 (“Q. Is [due diligence] explained in the federal regulation, [21 C.F.R.
1301.74]? … A. No.”); Wright Dep. (Day 2) 496:8-14 (“Q. So the due diligence that got
referenced in your discussion this morning, that is not required by the statute or the regulation,
correct? . . . THE WITNESS: It is not mentioned specifically.”); 21 C.F.R. §§ 1301.71-.76.
57
   21 C.F.R. §§ 1301.71-.76; Prevoznik Rule 30(b)(6) Dep. (Day 3) 1218:17-1219:10 (“Q. The
DEA has certainly never issued any sort of guidance indicating that registrants must hold on to
due diligence files for 15 years, correct? A. Yes. The only guidance I know is it's two years, two
years for recordkeeping for the registrant. … Q. But there's no requirement that a due diligence
file even be maintained, correct? A. Correct. Q. So the two-year rule does not apply to any due
diligence files, per se, correct? A. Correct. I was just pointing out that within the regs, there is
records for a two-year period.”); Rannazzisi Dep. (Day 2) 555:7-11 (“Q. Is there any requirement
in the DEA regulations or guidance to maintain due diligence documentation for a certain period
of time? A. There's no requirements.”); Wright Dep. (Day 1) 143:2-12 (“Okay. And the exercise
that the registrant goes through to do some due diligence to really bear out whether the order is,
in fact, truly a suspicious order or not, that due diligence exercise, is there a regulatory
requirement to document that due diligence? . . . THE WITNESS: No.”); Wright Dep. (Day 2)
496:23-497:4 (Q. And it is the documentation of -- whatever due diligence is done by a
company, that may be a best practice, but it is not required by statute or regulation, correct? . . .
THE WITNESS: Yes, ma’am.”).


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Charge of the El Paso Field Office, I supervised a diversion unit and reviewed any law
enforcement activities they proposed. In my experience, the focus of diversion units prior to
2006 was on physically inspecting pharmacies to ensure that they were properly securing and
accounting for prescription drug medications.

                        b)     Requirements in Section 1301.74(b)

        Section 1301.74(b) provides that a registrant “shall design and operate a system to
disclose to the registrant suspicious orders of controlled substances.”58 The regulation states that
the “registrant shall inform the Field Division Office of the Administration in his area of
suspicious orders when discovered by the registrant.”59 While neither the CSA nor its
regulations provide a definition for “suspicious order,” § 1301.74(b) states that a “suspicious
order may include “orders of unusual size, orders deviating substantially from a normal pattern,
and orders of unusual frequency.”60

        It is important to understand what is not required by § 1301.74. There is no requirement
in § 1301.74 that a registrant make a decision regarding the likelihood that a specific order will
be diverted into illegitimate channels.61 There is no requirement in the regulation that a
registrant decide if an order is actually “suspicious” as the public understands that word. It is
also critical to understand that the regulation does not require registrants to stop or “block”
orders that are “suspicious” under § 1301.74.”62 Nor does the regulation require a registrant to


58
     21 C.F.R. § 1301.74(b).
59
     21 C.F.R. § 1301.74(b).
60
  21 C.F.R. § 1301.74(b). DEA witnesses have acknowledged that this is a subjective
requirement and have been unable to provide comprehensive definitions for suspicious orders.
Prevoznik Rule 30(b)(6) Dep. (Day 1) -185:2 (“Q. [I]s it fair to say then that the identification of
suspicious orders can be a subjective process. … A. Yeah, it can be subjective.”). At least one
expert for Plaintiffs has agreed. James Rafalski (“Rafalski”) Dep. (Day 1) 404:23-405:2 (“Q.
Can reasonable minds disagree about whether or not a particular order is suspicious? A. I think,
yes, I would answer yes to that question.”).
61
  21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 2) 534:4-24 (“Q. Okay. Now, in that section
[21 C.F.R. § 1301.74], does the word or words ‘know your customer’ appear? A. No, ma'am. Q.
Do the words ‘due diligence’ appear in this regulation? A. No, ma'am. Q. Do the words
‘dispensing data’ appear in this regulation? A. No, ma'am. Q. Do the words ‘customer
questionnaire’ appear in this regulation? A. No, ma'am. Q. Do the words ‘electronic order
monitoring system’ appear in this regulation? A. No, ma'am. Q. Do the words ‘do not ship’
appear in this regulation? A. No, ma'am. Q. Do the word ‘dispensing data’ appear in this
regulation? A. No, ma'am.”); Ashley Dep. 215:12-216:4 (“Q. Is [due diligence] explained in the
federal regulation, [21 C.F.R. 1301.74]? … A. No.”)
62
  21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 2) at 534:19-21 (“Q. Do the words ‘do not ship’
appear in this regulation? A. No, ma'am.”); Prevoznik Rule 30(b)(6) Dep. (Day 3) 1154:7-11
(“Q. Mr. Prevoznik, I think we’ve already established that the regulation does not explicitly say
do not ship orders that you report as suspicious, right? A. I agree with that….”).


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use any particular system,63 such as a manual or automated system,64 or even have written
policies or procedures with respect to that system.65

        There is also no requirement in § 1301.74(b) that a registrant must investigate orders that
are “suspicious” under § 1301.74.66 The regulation does not require or even mention “due
diligence” or “investigation” of orders from customers that meet the regulatory definition of
suspicious orders.67 There is also no requirement in the regulation that a registrant must create or
maintain “due diligence” files from any investigations that a registrant conducts on orders that a
registrant identifies as meeting the definition of suspicious order.68 The regulation makes no
mention of “due diligence” files and it does not impose a requirement on how long any existing
“due diligence” files must be retained by the registrant.69 Other DEA retention requirements for

63
  21 C.F.R. § 1301.74(b); Prevoznik Rule 30(b)(6) Dep. (Day 1) 180:7-10 (“Q. And the DEA
leaves it up to the registrant to design a system that works with its own business model and
customer base, correct? A. Correct.”)
64
   21 C.F.R. § 1301.74(b); Prevoznik Rule 30(b)(6) Dep. (Day 1) 180:12-15 (“Q. Does it matter
to the DEA whether a registrant reviews orders manually or uses an automated system? A. No, it
doesn’t matter.”); Ashley Dep. 88:11-89:4 (“Q. To your knowledge, does a legally compliant
system need to be automated? A. No, it does not.”).
65
  21 C.F.R. § 1301.74(b); Prevoznik 30(b)(6) Dep. (Day 1) 358:21-359:1 (“Q. Does it say
anywhere in the relevant regulations that registrants are required to have a written policy with
respect to suspicious order monitoring? A. No.”).
66
     21 C.F.R. § 1301.74(b).
67
  21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 2) 534:4-24 (“Q. Okay. Now, in that section
[21 C.F.R. § 1301.74], does the word or words ‘know your customer’ appear? A. No, ma'am. Q.
Do the words ‘due diligence’ appear in this regulation? A. No, ma'am. Q. Do the words
‘dispensing data’ appear in this regulation? A. No, ma'am. Q. Do the words ‘customer
questionnaire’ appear in this regulation? A. No, ma'am. Q. Do the words ‘electronic order
monitoring system’ appear in this regulation? A. No, ma'am. Q. Do the words ‘do not ship’
appear in this regulation? A. No, ma'am. Q. Do the word ‘dispensing data’ appear in this
regulation? A. No, ma'am.”); Ashley Dep. 215:12-216:4 (“Q. Is [due diligence] explained in the
federal regulation, [21 C.F.R. 1301.74]? … A. No.”); Prevoznik Rule 30(b)(6) Dep. (Day 1)
212:1-4 (“Q. Today, does the regulation explicitly reference knowing your customer? A. No.”).
68
   21 C.F.R. § 1301.74(b); Prevoznik Rule 30(b)(6) Dep. (Day 3) 1218:17-1219:10 (“Q. The
DEA has certainly never issued any sort of guidance indicating that registrants must hold on to
due diligence files for 15 years, correct? A. Yes. The only guidance I know is it's two years, two
years for recordkeeping for the registrant. … Q. But there’s no requirement that a due diligence
file even be maintained, correct? A. Correct. Q. So the two-year rule does not apply to any due
diligence files, per se, correct? A. Correct. I was just pointing out that within the regs, there is
records for a two-year period.”); Rannazzisi Dep. (Day 2) 555:7-11 (“Q. Is there any requirement
in the DEA regulations or guidance to maintain due diligence documentation for a certain period
of time? A. There's no requirements.”).
69
  21 C.F.R. § 1301.74(b); Prevoznik Rule 30(b)(6) Dep. (Day 3) 1218:17-1219:10 (“Q. The
DEA has certainly never issued any sort of guidance indicating that registrants must hold on to
due diligence files for 15 years, correct? A. Yes. The only guidance I know is it's two years, two

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registrants, found in the CSA70 and in 21 C.F.R. § 1304.04,71 are limited to retaining inventory
and other records related to inventory for two years.

                 6.     Lack of Clarity Regarding What Constitutes a Suspicious Order
                        under Section 1301.74(b).

        Under § 1301.74(b), “[s]uspicious orders” are defined to “include orders of unusual size,
orders deviating substantially from a normal pattern, and orders of unusual frequency.”72 What
constitutes a suspicious order under § 1301.74(b) is unclear, and the regulation fails to provide
sufficient guidance to registrants.73 No definition of “unusual size” is offered in the regulation.74
The regulation also fails to provide guidance as to how a registrant can determine if an order is




years for recordkeeping for the registrant. … Q. But there's no requirement that a due diligence
file even be maintained, correct? A. Correct. Q. So the two-year rule does not apply to any due
diligence files, per se, correct? A. Correct. I was just pointing out that within the regs, there is
records for a two-year period.”); Rannazzisi Dep. (Day 2) 555:7-11 (“Q. Is there any requirement
in the DEA regulations or guidance to maintain due diligence documentation for a certain period
of time? A. There's no requirements.”).
70
  21 U.S.C. § 827(b) (“Every inventory or other record required under this section (1) shall be in
accordance with, and contain such relevant information as may be required by, regulations of the
Attorney General, … and (3) shall be kept and be available, for at least two years, for inspection
and copying by officers or employees of the United States authorized by the Attorney General.”).
71
   21 C.F.R. § 1304.04(a) (“… [E] every inventory and other records required to be kept under
this part must be kept by the registrant and be available, for at least 2 years from the date of such
inventory or records ….”).
72
     21 C.F.R. § 1301.74(b).
73
   Prevoznik Rule 30(b)(6) Dep. (Day 3) 897:10-23 (“Q. Okay. And I want to make sure that
your testimony is clear. When you say whether a suspicious order is subjective, do you mean that
it varies from case to case, or it depends on who's looking at it? … [A.] Both, really. It depends
who’s looking at it and what system do they have that's triggering the suspicious order. So it’s
whatever that registrant designed, which is specific to that registration.”).
74
   Ashley Dep. 146:21-147:11 (“[Q.] What about unusual in Section B, what is meant by unusual
size? A. It would be different from the norm of the size that that particular customer typically
orders. Q. Different from the norm. So how much of a deviation would make it unusual? A. That
would be determined by the distributor or the manufacturer. Q. So is there any threshold for
determining whether a deviation is unusual? A. Not that the DEA sets, no. Q. Based on your
experience, would you agree that there might be situations where an order is of an unusual size,
but the order is not suspicious? A. Yes.”).


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“unusual size.”75 Determining whether an order is of “unusual size” is a subjective
determination,76 and for example, the determination can vary depending on if the comparison is:

           “An order of unusual size compared to orders of other customers”;

          “An order of unusual size compared to orders of a certain subset of customers”; and

          “An order of unusual size compared to that particular customer’s historical orders.”

        DEA offers no guidance to registrants in the regulation on the comparison that should be
used by registrants in determining whether an order is of “unusual size.”77 “Unusual size” is also
ambiguous because DEA fails to provide guidance as to what level quantitative change
constitutes an order of unusual size.78 The regulation provides no guidance, for example, on
whether a 10% increase is “unusual,” a 50% increase is “unusual,” or if a 100% increase is




75
  21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 2) 535:11-18 (“Q. The phrase ‘unusual size,’
does this regulation do anything more to explain what ‘unusual size’ could mean? A. The
regulation is ‘of unusual size.’ That’s all it says. Q. So it doesn’t do anything to further explain
what ‘unusual size’ means, correct? A. No.”); Ashley Dep. 26:16-19 (“Q. Does the regulation …
provide guidance as to what constitutes an order of unusual size? A. No.”).
76
   Prevoznik Rule 30(b)(6) Dep. (Day 3) 897:10-23 (“Q. Okay. And I want to make sure that
your testimony is clear. When you say whether a suspicious order is subjective, do you mean that
it varies from case to case, or it depends on who's looking at it? … [A.] Both, really. It depends
who's looking at it and what system do they have that's triggering the suspicious order. So it's
whatever that registrant designed, which is specific to that registration.”).
77
   Rannazzisi Dep. (Day 2) 535:11-18 (“Q. The phrase ‘unusual size,’ does this regulation do
anything more to explain what ‘unusual size’ could mean? A. The regulation is ‘of unusual
size.’ That's all it says. Q. So it doesn't do anything to further explain what ‘unusual size’ means,
correct? A. No.”); Ashley Dep. 26:16-19 (“Q. Does the regulation … provide guidance as to
what constitutes an order of unusual size? A. No.”).
78
   Rannazzisi Dep. (Day 2) 535:11-18 (“Q. The phrase ‘unusual size,’ does this regulation do
anything more to explain what ‘unusual size’ could mean? A. The regulation is ‘of unusual
size.’ That’s all it says. Q. So it doesn’t do anything to further explain what ‘unusual size’
means, correct? A. No.”); Ashley Dep. 26:16-19 (“Q. Does the regulation … provide guidance
as to what constitutes an order of unusual size? A. No.”).


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“unusual.”79 DEA additionally offers no guidance in helping registrants determine whether an
order is suspicious.80 Furthermore, large orders are not necessarily indicative of diversion.81

        The same lack of clarity attaches to “orders deviating substantially from a normal
pattern” and “orders of unusual frequency.”82 The regulations and guidance do not define and
provide no explanation for how to determine if an order is “deviating substantially” from a
“normal pattern.”83 There is also no definition of or guidance regarding how a registrant should
define a “normal pattern,” including whether “normal” is defined in comparison of orders for
that particular customer, a subset of the registrant’s customers, or the registrant’s entire customer
base.84 The regulation also does not define what types of changes with respect to a customer
ordering “new” types of pharmaceutical products constitutes a substantial deviation from a
normal pattern.85




79
     21 C.F.R. § 1301.74(b).
80
   Prevoznik Rule 30(b)(6) Dep. 292:22-293 (“Q. …[I]f a registrant came to you today and said
I am trying to decide whether this order is suspicious, am I correct that the DEA's policy is that
the DEA will not provide a yes or no answer to that question? … A. I would be extremely
concerned if you as a registrant came to me and asked me to make that determination. Because
you are basically telling me that you -- you do not have the ability to effectively -- to maintain
effective guards against diversion if you're coming to us with that hypothetical. Which would be
grounds for us to revoke your registration.”); Rannazzisi Dep. (Day 1) 43:13-23 (“Q. So it was
DEA’s policy not to tell registrants that an order is suspicious? … A. It was a business decision
that would be made by the distributor whether an order was suspicious.”).
81
  Patrick Leonard (“Leonard”) Dep. (Day 3) 427:14-428:2 (“Q. Have you ever started an
investigation related to diversion based solely on the volume of prescription opioids being
dispensed. A. No. There’s always more factors that are looked at before an investigation is
opened. Q. Volume alone can’t tell you that something is necessarily wrong? A. No.”); Lori
Baker-Stella (“Baker-Stella”) Dep. (Day 2) 413:5-19 (“Q. My question is, the number of
prescriptions alone is not enough to reach a judgment on whether there’s overprescribing or not?
A. Yes. Q. Have you ever requested a search warrant for a doctor based solely on the amount of
prescriptions that the doctor was writing? A. I don’t believe I have”).
82
     21 C.F.R. § 1301.74(b).
83
  Rannazzisi Dep. (Day 1) 277:8-22 (“Q. So let me come back to -- to this -- so you gave me
your elaboration and further definition of some of the terminology in 21 C.F.R. 1301.74, right?
A. Yes. Q. But your elaboration, your further definition of unusual size, pattern, frequency,
that’s not in the regulation itself, right? … [A.] No. … No, it’s not in the regulation.”).
84
   21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 1) 277:8-22 (“Q. So let me come back to -- to
this -- so you gave me your elaboration and further definition of some of the terminology in 21
C.F.R. 1301.74, right? A. Yes. Q. But your elaboration, your further definition of unusual size,
pattern, frequency, that’s not in the regulation itself, right? … [A.] No. … No, it’s not in the
regulation.”).
85
     Rannazzisi Dep. (Day 1) 262:22-263:5.


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        Similarly, the DEA failed to provide sufficient guidance to determine “orders of unusual
frequency.” DEA again failed to explain whether “unusual frequency” involves a comparison to
prior orders of that particular customer, a certain subset of that registrant’s customers, or a
comparison to that registrant’s entire customer base. The regulation also fails to provide
guidance on what types of changes in order frequency rise to the level of “unusual frequency.”
DEA also failed to provide guidance as to the potential overlap between whether an order is of
“unusual size,” “deviating substantially” from a normal pattern, or an order of “unusual
frequency.”86 In fact, Mr. Rannazzisi testified that during his tenure as the head of the Office of
Diversion Control, DEA lacked internal guidance as to what orders constituted “suspicious
orders” under the regulation.87

        Around the time of the Distributor Initiative, the lack of clarity in the regulation and the
lack of guidance from DEA on the definition on “suspicious orders” resulted in confusion among
registrants and led to complaints from registrants on the lack of DEA guidance.88 This confusion
could have been alleviated but for, as discussed in the December 2007 letter from Mr.



86
     Rannazzisi Dep. (Day 1) at 272:22-273:9.
87
  Rannazzisi Dep. (Day 1) 317:12-22 (“Q. And for clarity, let me focus you on time periods with
that same question. Let's say from the 2005 through the time you left DEA in 2016, that is the
time period, in that time period of 2005 to 2016, yes or no, did DEA have internal guidance as to
what constitutes a suspicious order? …[A.] No.”).
88
   Ashley Dep. 58:23-59:6 (“Q. At any time during your tenure at the DEA, did you learn that
the distributors were confused about their suspicious order regulations and wanted more
guidance from the DEA? A. I can say in speaking with distributors, they expressed that they
wanted more clarification. Q. And so you heard that directly from the distributors? A. Yes.”);
Wright Dep. (Day 1) 120:12-121:3 (“Q. But you did recognize -- and I think your testimony at
trial supports this concept -- you recognized that this change from the Excessive Order System to
the Suspicious Order System, which was more fluid, would cause confusion in the industry,
correct? A. Yes. Q. And that was part of the reason you wanted to do these distributor
briefings and go one on one with distributors, right? A. Yes. Q. And there was also concern,
as I saw from your prior testimony, that your own DEA agents might be confused by the -- the
changes going on within the industry, correct? … A. Yes.”). United States Government
Accountability Office, “Prescription Drugs: More DEA Information about Registrants’
Controlled Substances Roles Could Improve Their Understanding and Help Ensure Access
(2015) (“2015 GAO Report”) at 43 (“… [A]dequate DEA communication with and guidance for
its registrants are essential to help ensure that registrants take actions that prevent abuse and
diversion but do not unnecessarily diminish patients’ access to controlled substances for
legitimate use because of their uncertainty about how to appropriately meet their CSA roles and
responsibilities. … [S]ome … stakeholders said they needed improved communication and
guidance regarding registrants’ roles and responsibilities for preventing abuse and diversion
under the CSA. … While providing additional guidance to registrants—particularly distributors
and pharmacies—about their CSA roles and responsibilities cannot ensure that registrants are
meeting them, by doing so DEA will have a greater assurance that registrants understand their
CSA responsibilities.”).


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Rannazzisi,89 DEA’s policy not to advise when to file a suspicious order90 and not to approve
suspicious order monitoring programs.91 Registrants repeatedly sought clarification concerning,
among other things, the meaning of “suspicious order,” due diligence, and how registrants should
“know your customer” from DEA.92 One reason why DEA did not provide clarification was
because of litigations involving registrants and/or investigation of registrants.93 Additionally,
because of the changing drugs of interest, diversion tactics and other variables, DEA did not
want to provide guidance.94 Despite requests from industry, DEA consistently refused to provide



89
  CAH_MDL_PRIORPROD_DEA12_00010980, 10980 (“DEA does not approve or otherwise
endorse any specific system for reporting suspicious orders. Past communications with DEA,
whether implicit or explicit, that could be construed as approval of a particular system for
reporting suspicious orders, should no longer be taken to mean that DEA approves a specific
system.”).
90
  Rannazzisi Dep. (Day 1) 45:19-46:7 (“A. It's DEA’s policy that they do not advise when to
ship or when to file a suspicious orders. That’s a business decision that, under the regulations, is
maintained by the .. distributor. Q. And this was the policy at DEA the entire time that you were
the head of the Office of Diversion Control, correct? … [A.] It was the policy of the agency.”)
91
   Rannazzisi Dep. (Day 1) 42:17-23 (“Q. But isn’t it true that you affirmatively stated that it was
DEA’s policy not to approve any suspicious order monitoring programs? A. That was the
position of the agency. And yes, that was stated in at least two of my letters to industry.”), 282:4-
8 (“Q. Well, let me ask it this way: Has DEA provided in written form your explanation and
elaboration of what a suspicious order is to registrants? A. Not as far as I’m aware.”).
92
   June 1, 2011 HDMA Letter to DEA, “Questions for the Drug Enforcement Administration
(DEA) Regarding Requirements for Suspicious Orders Monitoring and Reporting Submitted by
the Healthcare Distribution Management Association (HDMA) (US-DEA-00008565-76), at 1-2,
6, 9; July 2, 2013 HDMA Letter to DEA, “Questions for the Drug Enforcement Administration
(DEA) by the Healthcare Distribution Management Association (HDMA) Submitted July 2,
2013 for Discussion July 31, 2013,” (US-DEA-00008577-83), at 1-2, 5.
93
   Prevoznik Rule 30(b)(6) Dep. (Day 1) 200:24-201:15 (“Q. … This morning you told me that
for the 2010-2013 time period, because of litigation and other things, there were not necessarily
briefings or distributor conferences held in that time period correct? A. There were -- we had
stopped with the distributor initiative and we had stopped with the conferences with the
wholesalers, yes. Q. In 2010 to 2013? A. Right. Q. And you told me the main reason was
because of litigation and investigations, right? A. Correct.”).
94
   Wright Dep. (Day 1) 106:6-22 (“It couldn’t provide [guidance]. Because it is fluid, and there
are too many variables, too many anomalies, too many situations. And what is the drug
tomorrow? What is the problem tomorrow? Right now we started this internet with
Hydrocodone. You tell me what the problem is today . . .”), 118:11-119:3 (“Fentanyl. We went
from Hydrocodone to oxycodone, twice as potent, to fentanyl that is now dealing with
micrograms. It is just so in – small, extremely, extremely potent. Their system – what was in
Excessive was rigid. This is all you do. Under Suspicious this is the – there’s too many
variables. What is it? What is happening in Alaska? What’s the drug of choice? Why?
Compared to West Virginia, compared to Florida, compared to all the other – you have to look at
all of this. And I can’t. And DEA can’t sit there and say, ‘Oh, yeah. That works.’ And then

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additional guidance.95 This lack of guidance was particularly problematic given that registrants
were tasked with identifying suspicious orders during a time period when opioid prescriptions
and the DEA’s opioid quotas were increasing year after year.

                7.     Lack of Sufficient Guidance from DEA on Regulatory Requirements

        DEA’s refusal to provide guidance to industry on the definition of “suspicious order” and
other topics resulted in the US Government Accountability Office issuing a report critical of
DEA’s responsiveness. In the report, GAO’s “Recommendations for Executive Action”
included the instruction that DEA “[s]olicit input from distributors, or associations representing
distributors, and develop additional guidance for distributors regarding their roles and
responsibilities for suspicious orders monitoring and reporting.”96 The GAO further noted in its
report that “although DEA may not be able to provide guidance that will definitively answer the
question of what constitutes a suspicious order or offer advice about which customers to ship to,
DEA could, for example, provide guidance around best practices in developing suspicious orders
monitoring systems.”97

       The Acting Administrator Chuck Rosenberg of DEA recognized DEA’s lack of
responsiveness to the questions and concerns of registrants in testimony before Congress.
Specifically, Chuck Rosenberg testified “[a]nd we’ve been opaque. I think we’ve been slow. I
think we’ve been opaque. I think we haven’t responded to them. We’re trying to issue
guidelines more quickly. We’re trying to answer their questions.”98 Similarly, Keith Martin, the
ASAC in charge of the Cleveland DEA Office, testified that he would not know how a registrant
would detect a suspicious order.99 DEA’s refusal to provide requested guidance to registrants on
suspicious order monitoring and the definition of “suspicious order” hurt anti-diversion activities
and resulted in confusion among registrants.

VII.     THE EMERGENCE OF NEW DIVERSION TRENDS AND DEA’S RESPONSE

       While I served as the Deputy Special Agent in Charge of the DEA’s Miami Field
Division from 2006-2007, I received weekly reports from the diversion program manager,
commonly known as the DPM, of the DEA’s diversion control group in Florida. At the time, the

people migrate, economies change, so many factors coming. And if you’re not ready to adapt to
that, then you don’t have a system.”).
95
   June 22, 2016 Email from L. Milione to D. Ashley, “Follow-Up from HDA Board Meeting, at
1 (US-DEA-00008563-64); Wright Dep. (Day 1) 103:1-4 (“Q. Were you aware of some sort of
guidance that issued from DEA about the Suspicious Ordering System? A. Not to my
recollection.”).
96
     2015 GAO Report at 44.
97
     2015 GAO Report at 27.
98
  Tr. of Senate Judiciary Hearing on DEA Oversight, Testimony of Chuck Rosenberg at 30
(June 22, 2016).
99
     Martin Dep. 218:3-21.


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diversion control group’s primary focus was an unprecedented growth in diversion by rogue
internet pharmacies.100

        Some of the rogue internet pharmacies (and pill mills) were DEA registrants, and,
therefore, within the CSA’s “closed system.”101 The diversion control group and special agents
in Florida conducted investigations of internet pharmacies to determine whether they were
breaking the law and brought criminal charges or sought immediate suspension orders where
appropriate. I understand that rogue internet pharmacies were not unique to Florida, and the
scale of the problem placed pressure on DEA’s Office of Diversion Control to go outside the
normal investigative and enforcement methods to address the new diversion trends.

        On September 27, 2006, Joseph Rannazzisi, Deputy Assistant Administrator of the Office
of Diversion Control, sent a letter to distributor registrants.102 Mr. Rannazzisi stated, “DEA
recognizes that the overwhelming majority of registered distributors act lawfully and take
appropriate measures to prevent diversion.”103 This was consistent with DEA’s belief that the
major distributors were complying with their obligations. DEA recognized that “all registrants -
manufacturers, distributors, pharmacies, and practitioners - share responsibility for maintaining
appropriate safeguards against diversion.”104 Mr. Rannazzisi went on to write that the
“maintenance of effective controls against diversion” language found in 21 U.S.C. § 823 creates
a requirement that distributors “exercise due diligence to avoid filling suspicious orders that
might be diverted into other than legitimate medical, scientific, and industrial channels” and
“exercise due care in confirming the legitimacy of all orders prior to filling.”105 Mr. Rannazzisi

100
   Prevoznik Rule 30(b)(6) Dep. (Day 1) 151:13-17 (“So it really changed the dynamic of
diversion when it went to the internet.”), 281:16-21 (“[Y]ou can go back to the internet days
when … the pattern was all of the sudden products that were skyrocketing to the millions and
hundreds of thousands that were never there.”), 298:4-9 (“Back in 2005 when we started, that
was when we were addressing the internet.”); Rannazzisi Dep. (Day 1) 198:18-22 (“[W]e tried to
focus on where the threat was and at that point in time [2005-2008], we had threats but it just
seemed that the vast majority of the cases were Internet-based.”); US-DEA-00004802 at slides 3
(describing emergence of diversion via the internet), 8 (contrasting “Cyber [Pharmacy] vs. Brick
& Mortar [Pharmacy] Sales”); US-DEA-00020544, 20551 (“Between fiscal years 2006 and
2009, rogue Internet pharmacies were a major source of diversion.”).
101
   Rogue Online Pharmacies: The Growing Problem of Internet Drug Trafficking, Hearing
Before the S. Comm. on the Judiciary, 110th Cong., 110-472 (May 16, 2007) (testimony of
Joseph Rannazzisi, Deputy Assistant Administrator, Office of Diversion Control, Drug
Enforcement Administration) at 18 (“MR. RANNAZZISI: … I can tell you that we have been
shutting these [rogue internet] pharmacies down using our regulatory authority and immediate
suspension authority. We have gone after them and immediately taken their registration so they
cannot dispense and procure controlled substances.”)
102
      MCKMDL00478906
103
      MCKMDL00478906, 478907.
104
      MCKMDL00478906, 478907.
105
      MCKMDL00478906, 478907.


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further stated that a registrant “may not simply rely on the fact that the person placing the
suspicious order is a DEA registrant,” but must investigate any “suspicious circumstances.”106

        As discussed above, the CSA and its implementing regulations do not state that a
registrant must conduct “due diligence” or investigate their customers, or refrain from shipping
“suspicious orders” that they reported to DEA.107 Mr. Rannazzisi’s September 27, 2006 letter
did not change the regulations. Instead, it vaguely implied that DEA was interpreting the CSA to
require registrants to not ship some “suspicious orders” “that might be diverted into other than
legitimate medical, scientific, and industrial channels.” The letter also stated that registrants
should “exercise due diligence” and “exercise due care in confirming the legitimacy of all orders
prior to filling.”108 In other words, Mr. Rannazzisi’s letter began the process of shifting
expectations beyond the applicable regulations. This direction was not, however, expressed in
clear or formal guidance and the DEA’s primary focus, as expressed to registrants, was in
addressing rogue internet pharmacies.

         By its terms, the Controlled Substances Act imposed a duty on registrants within the
closed system to take appropriate steps, as specified by DEA regulations, to ensure the safety and
security of controlled substances while those substances are under the custody and control of the
registrant.109 Apart from requiring the registrant to make a good faith effort to ensure that its
customer was properly registered (and thus, part of the closed system over which DEA has
control),110 the CSA and its implementing regulations imposed no obligation on registrants to
prevent “downstream diversion” (i.e., diversion of controlled substances after such substances
left the custody and control of the registrant) by investigating other registrants.111 The regulation



106
      MCKMDL00478906, 478907.
107
    21 C.F.R. § 1301.74(b); Rannazzisi Dep. (Day 2) 534:4-9 (“Q. Do the words ‘due diligence’
appear in this regulation? A. No, ma'am.”), 534:19-21 (“Q. Do the words "do not ship" appear in
this regulation? A. No, ma'am.”); Ashley Dep. 215:12-216:4 (“Q. Is [due diligence] explained in
the federal regulation, [21 C.F.R. 1301.74]? … A. No.”); Prevoznik Rule 30(b)(6) Dep. (Day 3)
1154:7-11 (“Q. Mr. Prevoznik, I think we've already established that the regulation does not
explicitly say do not ship orders that you report as suspicious, right? A. I agree with that….”).
108
      MCKMDL00478906, 478907.
109
   21 U.S.C. § 823; 21 C.F.R. § 1301.71-.76; Rannazzisi Dep. (Day 2) 528:9-530:16 (testifying
that requirements identified in September 2006 and December 2007 letters are not contained in
the CSA).
110
      21 C.F.R. § 1301.74(a).
111
    21 U.S.C. § 823; 21 C.F.R. § 1301-71-76; Rannazzisi Dep. (Day 2) 534:4-24 (“Q. Okay.
Now, in that section [21 C.F.R. § 1301.74], does the word or words ‘know your customer’
appear? A. No, ma'am. Q. Do the words ‘due diligence’ appear in this regulation? A. No,
ma'am. Q. Do the words ‘dispensing data’ appear in this regulation? A. No, ma'am. Q. Do the
words ‘customer questionnaire’ appear in this regulation? A. No, ma'am. Q. Do the words
‘electronic order monitoring system’ appear in this regulation? A. No, ma'am. Q. Do the words
‘do not ship’ appear in this regulation? A. No, ma'am. Q. Do the word ‘dispensing data’ appear

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does not state that registrants must create or maintain “due diligence” files on any investigations
of “suspicious orders” they identify.112 The standards articulated in Mr. Rannazzisi’s letter are
not contained in the CSA or any DEA regulations interpreting the CSA.113

        The September 2006 letter also contains a list of questions that a distributor registrant
“may wish to inquire with the ordering pharmacy about.”114 These questions were focused on
issues that had arisen in the context of rogue internet pharmacies. The list of questions seek
information that DEA—in my experience—would attempt to obtain using law enforcement
powers while building a criminal case against a registrant. For example, while it is illegal for a
pharmacy “to sell controlled substances without a prescription,” it is very unlikely that another
registrant could determine whether a pharmacy was engaged in that conduct without using
informants or engaging in undercover work. Given this context, it appears that DEA was
attempting to shift its law enforcement role to registrants who did not have at their disposal the
many investigatory tools available to DEA, such as administrative subpoenas, search warrants,
wire taps, undercover personnel to conduct surveillance, or the ability to seize records and
computers.115

         On December 27, 2007, Mr. Rannazzisi sent a another letter to registrants.116 In the
letter, Mr. Rannazzisi referenced the suspicious order reporting requirement found in 21 C.F.R. §
1301.74(b) and wrote that “Registrants must conduct an independent analysis of suspicious
orders prior to completing a sale to determine whether the controlled substances are likely to be
diverted from legitimate channels.”117 Neither 21 U.S.C. § 823 nor 21 C.F.R. § 1301.71-76 state
that a registrant is required to conduct an “independent analysis” of “suspicious orders” prior to



in this regulation? A. No, ma'am.”); Prevoznik Rule 30(b)(6) Dep. (Day 1) 212:1-4 (“Q. Today,
does the regulation explicitly reference knowing your customer? A. No.”).
112
    21 C.F.R. §§ 1301.71-.76; Prevoznik Rule 30(b)(6) Dep. (Day 3) 1218:17-1219:10 (“Q. The
DEA has certainly never issued any sort of guidance indicating that registrants must hold on to
due diligence files for 15 years, correct? A. Yes. The only guidance I know is it's two years, two
years for recordkeeping for the registrant. … Q. But there's no requirement that a due diligence
file even be maintained, correct? A. Correct. Q. So the two-year rule does not apply to any due
diligence files, per se, correct? A. Correct. I was just pointing out that within the regs, there is
records for a two-year period.”); Rannazzisi Dep. (Day 2) 555:7-11 (“Q. Is there any requirement
in the DEA regulations or guidance to maintain due diligence documentation for a certain period
of time? A. There's no requirements.”).
113
      21 U.S.C. § 823; 21 C.F.R. § 1301.71-76
114
      MCKMDL00478906, 478908.
115
    Martin Dep. 221:15-224:3 (describing various law enforcement powers available to DEA and
confirming distributors and manufacturers are not empowered to use same because “[i]t’s the job
of law enforcement”).
116
      CAH_MDL_PRIORPROD_DEA12_00010980.
117
      CAH_MDL_PRIORPROD_DEA12_00010980, 10980.


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completing a sale of controlled substances to a DEA-registered customer.118 This was the first
time this guidance had been stated in a written communication to registrants from DEA, although
some of the concepts had been previewed to the industry by Michael Mapes, Chief, DEA,
Regulatory Section, and Chris Zimmerman, Vice President, Amerisource Bergin, at the DEA’s
Pharmaceutical Industry Conference on September 11-12, 2007.119 There, DEA introduced
“new customer due diligence” concepts, including “Know Your Customer” and “Do Not
Ship.”120 DEA explained that “[r]eporting suspicious orders to DEA does NOT relieve the
distributor of the responsibility to maintain effective controls to prevent diversion,” “DEA
cannot/will not tell a distributor: if an order is or is not legitimate; and/or if the distributor should
or should not ship an order,” and “Distributor must make a ‘business’ decision whether or not to
ship the order.”121 DEA further explained that “‘Know Your Customer’ Due Diligence
investigations [should be] completed on all new Retail and Wholesale Accounts” and “Retail
chain pharmacies are exempted.”122 Amerisource Bergin and DEA explained that “[h]istorically
Controlled Substance / Listed Chemical order monitoring has been based on a ship and report
process,” but new processes “[should] now [be] based on: identify, capture, investigate, and
report suspicious orders; all prior to shipment.”123

        Mr. Rannazzisi also wrote in the December 2007 letter that “registrants that routinely
report suspicious orders, yet fill these orders without first determining that order is not being
diverted into other than legitimate medical, scientific, and industrial channels, may be failing to
maintain effective controls against diversion.”124 Neither 21 U.S.C. § 823 nor 21 C.F.R. §
1301.71-76 state that a registrant is required to investigate a “suspicious order” prior to
shipping.125


118
   21 U.S.C. § 823; 21 C.F.R. § 1301.71-76; Rannazzisi Dep. (Day 2) 528:9-530:16 (testifying
that requirements identified in September 2006 and December 2007 letters are not contained in
the CSA).
119
      Prevoznik Rule 30(b)(6) Dep. (Day 3), Ex. 29.
120
  Prevoznik Rule 30(b)(6) Dep. (Day 3), Ex. 30 (ABDCMDL00037184 at
ABDCMDL00037190).
121
  Prevoznik Rule 30(b)(6) Dep. (Day 3), Ex. 30 (ABDCMDL00037184 at
ABDCMDL00037188).
122
  Prevoznik Rule 30(b)(6) Dep. (Day 3), Ex. 30 (ABDCMDL00037184 at
ABDCMDL00037190) (emphasis added).
123
  Prevoznik Rule 30(b)(6) Dep. (Day 3), Ex. 30 (ABDCMDL00037184 at
ABDCMDL00037192) (emphasis in original).
124
      CAH_MDL_PRIORPROD_DEA12_00010980, 10981.
125
   21 U.S.C. § 823; 21 C.F.R. § 1301.71-76; Rannazzisi Dep. (Day 2) 528:9-530:16 (testifying
that requirements identified in September 2006 and December 2007 letters are not contained in
the CSA); Prevoznik Rule 30(b)(6) Dep. (Day 1) 167:5-12 (“Q. Did the Controlled Substances
Act contain any language that states whether or not a distributor could ship a suspicious order?
A. It doesn't say specifically that. It does say that it needs to be -- it has to maintain -- maintain
effective control against diversion.”), 303:19-304:1 (“Q. You would agree with me that the

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        Mr. Rannazzisi also used the December 2007 letter to disavow earlier guidance and
approvals that DEA had provided to registrants regarding their suspicious order monitoring by
including the following statement: “DEA does not approve or otherwise endorse any specific
system for reporting suspicious orders. Past communications with DEA, whether implicit or
explicit, that could be construed as approval of a particular system for reporting suspicious
orders, should no longer be taken to mean that DEA approves a specific system.”126

      As with the September 2006 letter, the standards articulated in Mr. Rannazzisi’s
December 2007 letter are not contained in the CSA or any DEA regulations interpreting the
CSA.127

         The investigatory standards articulated in both the September 2006 and December 2007
letters, including the shifting of investigatory responsibilities described above, are inconsistent
with my understanding of the role of DEA and registrants. Historically, DEA conducted
investigations to identify registrants that were diverting from the “closed system” and sought to
remove their registrations in order to maintain the integrity of the system. Registrants were not
expected to create private law enforcement teams—without actual law enforcement powers—to
replace DEA’s special agents and their enforcement powers.128

VIII. OPTIONS AVAILABLE TO ENHANCE DEA’S REGULATORY AND
      ENFORCEMENT EFFORTS

         There were multiple legitimate options for enhancing DEA’s regulatory and enforcement
efforts in response to emerging drug diversion trends that did not require introducing new
standards not contained within the CSA or DEA regulations interpreting the CSA.

         A.    DEA can request changes to laws

       Congress—on its own or at the request of DEA, the President, the Attorney General, or
another party—could have changed the CSA to expand the duties of registrants. DEA maintains
an Office of Congressional Affairs, whose sole purpose to be the “primary point of contact for all
communications and interactions with Members of Congress and their staffs.”129


statute itself does not contain the express instruction that a registrant should hold an order and
not ship it if it determines it to be suspicious, correct? A. Correct.”).
126
      CAH_MDL_PRIORPROD_DEA12_00010980, 10980.
127
   21 U.S.C. § 823; 21 C.F.R. § 1301.71-76; Rannazzisi Dep. (Day 2) 528:9-530:16 (testifying
that requirements identified in September 2006 and December 2007 letters are not contained in
the CSA).
128
    Martin Dep. 221:15-224:3 (describing various law enforcement powers available to DEA and
confirming distributors and manufacturers are not empowered to use same because “[i]t’s the job
of law enforcement”).
129
   Drug Enforcement Administration, Congressional Affairs,
https://www.dea.gov/congressional-affairs (last visited May 25, 2019).


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        Congress has acted before to change the CSA to address new drug abuse trends. For
example, in 2000, Congress passed the Hillory J. Farias and Samantha Reid Date-Rape Drug
Prohibition Act of 2000 in response to concerns that “[g]amma hydroxybuyric acid … [had]
become a significant and growing problem in law enforcement.”130 In the Bill, Congress
directed DEA to schedule gamma hydroxybuyric acid as a List I Chemical131 and amended the
CSA to grant DEA authority to write new regulations for the reporting of transactions by
registrants132 and to create “a special unit which shall assess abuse of and trafficking in gamma
hydroxybutyric acid, flunitrazepam, ketamine, other controlled substances, and other so-called
‘designer drugs’ whose use has been associated with sexual assault.”133

        As another example, in 2008, Congress passed the Ryan Haight Online Pharmacy
Consumer Protection Act of 2008 to address online pharmacies in response to the issues with
rogue internet pharmacies described above.134 This act amended portions of the CSA to address
concerns related to internet pharmacies.135 Within 6 months of passage of the act, DEA
implemented new interim regulations to advise registrants on the new requirements included in
the act.136

        As yet another example, in 1996, Congress passed the Comprehensive Methamphetamine
Control Act because “[t]he abuse of methamphetamine ha[d] increased dramatically since
1990.”137 This act amended portions of the CSA to address the manufacture, distribution, and
sale of precursor chemicals138 and directed the establishment of a “suspicious order task force” to
develop “proposals to define suspicious orders of listed chemicals, and particularly to develop




130
      H.R. 2130, 106th Cong. § 2 (2000).
131
      H.R. 2130, 106th Cong. § 3 (2000).
132
      H.R. 2130, 106th Cong. § 4 (2000).
133
      H.R. 2130, 106th Cong. § 8 (2000).
134
      H.R. 6253, 110th Cong. (2008).
135
   H.R. 6253, 110th Cong. (2008); Drug Enforcement Administration, Implementation of the
Ryan Haight Online Pharmacy Consumer Protection Act of 2008, 74 Fed. Reg. 15596, 15596
(Apr. 6, 2009) (“The Ryan Haight Online Pharmacy Consumer Protection Act, which was
enacted on October 15, 2008, amended the Controlled Substances Act and Controlled Substances
Import and Export Act by adding several new provisions to prevent the illegal distribution and
dispensing of controlled substances by means of the Internet.”).
136
   Drug Enforcement Administration, Implementation of the Ryan Haight Online Pharmacy
Consumer Protection Act of 2008, 74 Fed. Reg. 15596, 15596 (Apr. 6, 2009) (“DEA is hereby
issuing an interim rule to amend its regulations to implement the legislation and is requesting
comments on the interim rule.”).
137
      S. 1965, 104th Cong. § 2 (1996).
138
      S. 1965, 104th Cong. § 401 (1996).


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quantifiable parameters which can be used by registrants in determining if an order is a
suspicious order which must be reported to DEA.”139

       In response to concerns that prescription drug diversion was a significant and growing
problem in law enforcement, Congress could have, but did not, amend the CSA to introduce any
new standards regarding due diligence by registrants, reporting of suspicious orders, or shipping
of suspicious orders necessary to “maintain effective controls.”140

          B.     DEA can write new regulations

         To the extent DEA wanted the statements in the September 2006 and December 2007
letters to be new standards authorized by the existing CSA,141 the DEA could have written new
regulations that clearly described the rules to registrants.142 As part of writing new rules, the
rules would have been subject to notice and comment regarding their clarity and usefulness in
combating diversion,143 and if the regulations exceeded the statutory authority granted to DEA
by Congress, they could have been challenged in court by the affected parties. However, it is my
understanding that DEA has not released any new regulations regarding due diligence by
registrants, reporting of suspicious orders, or shipping of suspicious orders since the original
regulations were released in 1971.144 DEA never released any new regulations that incorporated
the standards set forth in the September 2006 and December 2007 letters.145

                 1.      Suspicious Activity Reports

        In contrast to the minimal guidance offered to registrants and the ever-changing
landscape of DEA expectations with respect to the SOM requirement, other regulated industries
benefit from clearer expectations and significant detail on what is required. By way of example,

139
      S. 1965, 104th Cong. § 504 (1996).
140
      21 U.S.C. § 823.
141
    MCKMDL00478906, 478907 (“to maintain effective controls against diversion as section
823(e) requires, the distributor should exercise due care in confirming the legitimacy of all
orders prior to filling”); CAH_MDL_PRIORPROD_DEA12_00010980, 10981 (“registrants that
routinely report suspicious orders, yet fill these orders without first determining that order is not
being diverted into other than legitimate medical, scientific, and industrial channels, may be
failing to maintain effective controls against diversion. Failure to maintain effective controls
against diversion is inconsistent with the public interest as that term is used in 21 USC 823 and
824”).
142
   21 U.S.C. § 821 (granting Attorney General authority to write rules regarding manufacture,
distribution, and dispensing of controlled substances); 28 C.F.R. § 0.100 (granting Administrator
of DEA authority to do same).
143
      Rannazzisi Dep. (Day 1) 310:24-25 (“A regulation goes through notice and comment.”).
144
   Prevoznik Rule 30(b)(6) Dep. (Day 1) 89:17-90:13 (“Q. And have either the statute or
regulation been amended or altered since 1971 to your knowledge? A. No, they have not.”).
145
      Prevoznik Rule 30(b)(6) Dep. (Day 1) 89:17-90:13.


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let us consider the financial industry, regulated by the Bank Secrecy Act, Patriot Act, Money
Laundering Control Act of 1986 and associated regulations. Together, these statutes and
regulations obligate financial institutions to monitor their accounts for money laundering and
other suspicious activity. They, along with their associated administrative guidance, detail the
type of monitoring banks must engage in to be compliant. Banks have an obligation to report
suspicious activity, but not to stop it. As long as a bank is generally compliant with the
regulation, it will not be penalized for failing to report any particular suspicious transaction.
There is no set definition of what constitutes suspicious activity; however, the agencies have
issued examples and lists of red flag activity that should be considered by banks in monitoring.

        The Bank Secrecy Act and related regulations require banks “to report any suspicious
transaction relevant to a possible violation of law or regulation.” 146 Banks must have policies
“that are reasonably designed to detect and report instances of money laundering through those
accounts.” 147 The section includes details about the requirements of such a due diligence policy.
These requirements include:

                 At a minimum: (A) the development of internal policies, procedures,
                 and controls; (B) the designation of a compliance officer; (C) an
                 ongoing employee training program; and (D) an independent audit
                 function to test programs.148

         Suspicious activity reports (SAR) are required to be filed within 30 days of detection of
suspicious activity.149 Unlike for suspicious order monitoring under 21 C.F.R. §1301.74(b),
there is a standard form for SAR reporting. Specifically, when transactions aggregate to at least
$5000 and the bank knows, suspects, or has reason to suspect one of the following, the bank
must report: 1) the funds are derived from illegal activity or intended to disguise funds from
illegal activity, 2) the transaction is designed to evade regulatory requirements, or 3) the
transaction has no apparent lawful purpose.150 This regulation’s outline of specific situations that
have to be reported is in stark contrast to 21 C.F.R. §1301.74(b), which only states that
suspicious orders include those of unusual size, pattern, or frequency without providing specific
examples of what those terms may mean.

        Similar specific guidance is offered to national banks, who must file a SAR in situations
involving a federal crime. These specific situations include: 1) when the bank knows or suspects
a federal criminal violation and the amount involved is $25000 or greater, 2) where a suspect can




146
      31 U.S.C. § 5318(g)(1)
147
      31 U.S.C. § 5318(i)(1)
148
      31 U.S.C. § 5318(h)(1)
149
      31 C.F.R. § 1020
150
      31 C.F.R. § 1020.320


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be identified and the amount involved is $5000 or greater, or 3) where the bank has substantial
basis that bank-affiliated parties aided in the crime.151

         Where transactions involve a foreign institution, bank are required to have risk-based
policies designed to detect money laundering.152 The regulation details specific factors that
should be considered in such policies, including the type of account, nature of the foreign
institution’s business, nature and duration of the relationship between the regulated bank and the
foreign bank, money laundering rules of the foreign jurisdiction, and the foreign banks record
with respect to laundering. A periodic review ensures that activity is consistent with the stated
purpose of the account.

         Special due diligence requirements are placed on accounts with more than $1 million.153
Regulation specifies details about the due diligence program, which must determine the identity
of account owners, source of deposited funds, purpose of account, and review activity to ensure
it is consistent with the stated purpose of the account.

        Guidance for this industry was also a priority during the regulation promulgation process.
The regulators stated that “determinations as to whether a report is required must be based on all
the facts and circumstances relating to the transaction and bank customer in question.”154
However, they went on to give specific examples of activity that would need to be reported, and
other examples where it would be more of a judgment call based on the specific facts.155 In
contrast under the CSA, DEA has refused to opine on whether activity is suspicious or whether a
company’s SOM program would meet DEA’s expectations.

        The Bank Secrecy Act is enforced by the Financial Crimes Enforcement Network
(FinCEN). Its website provides additional guidance regarding compliance, including a page
entitled Guidance with links to documents in which FinCEN has provided guidance on various
questions, links to administrative letter rules of general interest, and links to advisories
describing specific criminal schemes to look out for including specific red flags.156 FinCEN also
gives further guidance on what should be included on a SAR.157




151
      12 C.F.R. § 21.11
152
      31 C.F.R. § 1010.610
153
      31 C.F.R. § 1010.620
154
    Requirements to Report Suspicious Transactions; Final Rules, 61 Fed. Reg. 4326, 4329 (Feb.
5, 1996).
155
    Requirements to Report Suspicious Transactions; Final Rules, 61 Fed. Reg. 4326, 4329 (Feb.
5, 1996).
156
      https://www.fincen.gov/
157
  SAR Narrative Guidance; SAR Activity Review, Issue 22; SAR Instructions; Frequently
Asked questions regarding the FinCEN suspicious activity report (SAR).


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        Additionally, the federal financial institutions examination Council (FFIEC)158 puts out a
manual guiding compliance with Bank Secrecy Act and anti-money laundering examinations.
The manual provides further guidance on both SAR filing and customer identification
requirements. The section on suspicious activity reporting describes methods used to monitor
suspicious activity, including employee observation, responses to requests from law
enforcement, and systems to monitor transactions. Of note, the manual states: “The decision to
file an SAR is an inherently subjective judgment. Examiner’s should focus on whether the bank
has an affective SAR decision making process, not individual SAR decisions.” The manual
provides guidance on what constitutes an effective SAR decision making process, and notes that
“banks are not obligated to investigate or confirm the underlying crime . . . Investigation is the
responsibility of law enforcement.”

       The Patriot Act requires banks to “ascertain the identity of the nominal and beneficial
owners of, and the source of funds deposited into, such account159 . . .” Regulations set minimum
standards for identifying and verifying the identity of customers applying to open an account,
including consulting lists of known terrorists.160

        Instead of simply telling banks, “know your customer,” the regulation goes on to offer
specific guidance. The bank must have written procedures regarding identifying account owners.
The regulations specify that at a minimum, banks must have customers’ name, date of birth,
address, and tax ID number.161 The regulations include a form that can be used to ensure
compliance with the identity requirement.162 The rules also specify verification methods, such as
using a non-expired government ID or comparing provided information with a public
database.163

        Overall, and unlike suspicious order monitoring under the CSA, the combination of
statutes, regulations, regulatory history, administrative guidance and industry guidance serve to
equip those in the financial industry with the knowledge necessary to be in compliance. In
particular, they provide details about how to determine whether activity is suspicious and what
specific knowledge about customers is required.

          C.     DEA can offer specific guidance

       Once DEA purported to introduce new standards without changing regulations in the
December 2007 letter, DEA could have provided registrants with specific guidance on how it
expected registrants to identify suspicious orders, investigate suspicious orders, investigate their

158
  This institution includes members like the Federal Reserve, FDIC, OCC, National Credit
Union administration, and CFPB.
159
      31 U.S.C. §5318(i)(3).
160
      31 U.S.C. § 5318(l).
161
      31 C.F.R. 1020.220
162
      31 C.F.R. 1010.230
163
      31 C.F.R. 1010.230


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customers, and/or determine which suspicious orders or customers should be rejected. The need
for specific guidance was exacerbated by DEA’s rejection of all earlier express and implicit
guidance to registrants in the December 2007 letter.164 However, DEA did not provide specific
guidance. In fact, DEA did not even provide answers when registrants repeatedly sought
guidance from DEA on these issues.165 Instead, DEA instructed registrants that it was their
responsibility to fill in the details, and if they got it wrong, as determined by DEA, they would
face enforcement actions.166 Moreover, the December 2007 letter stated that DEA would “not
approve or otherwise endorse any specific system for reporting suspicious orders.”

        Members of the Office of Diversion Control have offered various reasons for their
unwillingness to provide specific guidance, including they were not allowed to answer
questions,167 that they did not provide information regarding suspicious pharmacies because they




164
   CAH_MDL_PRIORPROD_DEA12_00010980. 10980 (“Past communications with DEA,
whether implicit or explicit, that could be construed as approval of a particular system for
reporting suspicious orders, should no longer be taken to mean that DEA approves a specific
system.”).
165
   Ashley Dep. 71:23-72:13 (“Q. Okay. Let's go to the second point, the second bullet point.
HDA asked that the DEA update the, quote, letters to industry provided in 2006 and 2007. Do
you see that? A. Yes. . . . Q. To your knowledge, were there updated letters to industry provided
after 2007? A. I don't recall that.”); US-DEA-00008563 (email received by DEA in June 2016
describing questions from HDMA regarding suspicious order monitoring that were sent to DEA
in 2011 and 2013, but were never answered). June 1, 2011 HDMA Letter to DEA, “Questions for
the Drug Enforcement Administration (DEA) Regarding Requirements for Suspicious Orders
Monitoring and Reporting Submitted by the Healthcare Distribution Management Association
(HDMA) (US-DEA-00008565-76), at 1-2, 6, 9; July 2, 2013 HDMA Letter to DEA, “Questions
for the Drug Enforcement Administration (DEA) by the Healthcare Distribution Management
Association (HDMA) Submitted July 2, 2013 for Discussion July 31, 2013,” (US-DEA-
00008577-83), at 1-2, 5.
166
   MCKMDL00478906, 478908 (“Distributors should consider the totality of the circumstances
when evaluating an order for controlled substances, just as DEA will do when determining
whether the filling of an order is consistent with the public interest within the meaning of 21
U.S.C. 823(e).”).
167
    Wright Dep. (Day 1) 254:7-20 (“There -- there were questions about -- during the time frame
early on a distributor initiative time frame -- A. Yes, sir. Q. -- 2005, 2006, 2007, DEA, yourself
were receiving questions from distributors about how to set up their Suspicious Order
Monitoring programs, correct? A. Correct. Q. And you had mentioned, as I understand your
testimony, that you weren’t in position to provide them that type of information; is that fair? A.
Yes.”).


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were afraid of being sued,168 and that they did not offer guidance because they were engaged in
litigation with some registrants.169

        Nonetheless, as noted above, DEA’s refusal to provide guidance to industry resulted in
the U.S. Government Accountability Office issuing a report critical of DEA and led the Acting
Administrator of DEA to admit, “we’ve been opaque. I think we’ve been slow. I think we’ve
been opaque. I think we haven’t responded to them. We’re trying to issue guidelines more
quickly. We’re trying to answer their questions.”170 DEA has also represented in testimony
before the Senate Judiciary Committee that, “we recognize the importance of working with
registrants – not just at workshops and conferences – but in writing that they can count on – to
provide them all the information and, especially, the certainty that they need to be in full
compliance, as they want to be and as we expect them to be.”171

        Even after DEA admitted that it needed to be less opaque and provide better guidance, it
appears that the Office of Diversion Control remains unwilling to help some registrants who
approach the DEA in good faith to ensure compliance with the regulations. This reluctance was
highlighted in the testimony of Mr. Prevoznik, the Associate Section Chief of the Pharmaceutical
Investigations Section of the Diversion Control Division. Mr. Prevoznik testified that if a
registrant came to him and said, “I am trying to decide whether this order is suspicious,” and
asked DEA whether the order was suspicious, Mr. Prevoznik “would be extremely concerned …
[b]ecause you are basically telling me that you … do not have the ability to … maintain effective
guards against diversion if you’re coming to us with that hypothetical. Which would be grounds
for us to revoke your registration.”172 If Mr. Prevoznik’s testimony represents current DEA
policy, it means that registrants cannot ask questions about identifying suspicious orders without
risking losing their registrations.

IX.       THE LIMITED EFFECT OF INCREASED SUSPICIOUS ORDER REPORTING



168
   June Howard Rule 30(b)(6) Dep. 49:2-9 (“Q. Was the threat of litigation, was that threat too
scary for the DEA so that it decided it would stop sending the termination notices to distributors?
… [A.] I believe it contributed to ceasing sending out the notifications.”).
169
   Prevoznik Rule 30(b)(6) Dep. (Day 1) 200:24-201:15 (“Q. … This morning you told me that
for the 2010-2013 time period, because of litigation and other things, there were not necessarily
briefings or distributor conferences held in that time period correct? A. There were -- we had
stopped with the distributor initiative and we had stopped with the conferences with the
wholesalers, yes. Q. In 2010 to 2013? A. Right. Q. And you told me the main reason was
because of litigation and investigations, right? A. Correct.”).
170
   Tr. of Senate Judiciary Hearing on DEA Oversight, Testimony of Chuck Rosenberg at 30
(June 22, 2016).
171
   Oversight of the Ensuring Patient Access and Effective Drug Enforcement Act, Hearing
Before the S. Judiciary Comm. (2017) (statement of Demtra Ashely, Acting Assistant
Administrator, Diversion Control Division, Drug Enforcement Administration) at 8.
172
      Prevoznik Rule 30(b)(6) Dep. (Day 1) 292:22-293:18.


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       If registrants had filed more suspicious order reports it would not have had meaningful
impact on preventing diversion because DEA already possessed ARCOS data on controlled
substance transactions and DEA rarely made use of the suspicious order reports it did receive.

       A.      DEA Already Had Information on Potential “Suspicious Orders” in ARCOS

        Distributors reported all transactions involving purchase or sale of prescription opioid
medications to the ARCOS reporting system.173 Through ARCOS, DEA can see each and every
bottle of opioids that transferred from a manufacturer to a distributor174 and distributor to a
pharmacy, hospital or physician.175 It can also monitor downstream transactions all the way to
the retail level.176

        ARCOS reporting tools allowed DEA to identify pharmacies or physicians that were
receiving extraordinarily large volumes of narcotics; DEA did not need registrant’s suspicious
order reports to do that.177


173
   Prevoznik Rule 30(b)(6) Dep. (Day 1) 326:8-329:19 (describing scope of information
contained in ARCOS, and agreeing that it included “all of the distribution of prescription opioids
by manufacturers to distributors,” “all the distributions of prescription opioids from distributors
to pharmacies or other retail outlets,” and “each and every bottle of opioids that’s transferred
from a distributor to a pharmacy”); DEA, Automation of Reports and Consolidated Orders
System, https://www.deadiversion.usdoj.gov/arcos/index.html (last visited May 25, 2019)
(“ARCOS is an automated, comprehensive drug reporting system which monitors the flow of
DEA controlled substances from their point of manufacture through commercial distribution
channels to point of sale or distribution at the dispensing/retail level - hospitals, retail
pharmacies, practitioners, mid-level practitioners, and teaching institutions.”).
174
   Rannazzisi Dep. (Day 1) 24:23-25:1 (“Q. So, Mr. Rannazzisi, using ARCOS, DEA can see
the number of opioids sold by manufacturers to distributors? A. Yes.”); Prevoznik Rule 30(b)(6)
Dep. (Day 1) 326:18-23 (“Q. Would ARCOS contain all of the distributions of prescription
opioids by manufacturers to distributors? A. So the transactions for . . . manufacturer to a
distributor? Yes.”).
175
   Rannazzisi Dep. (Day 1) 25:2-25:5 (“Q. And using ARCOS, DEA can see the number of
opioids distributed by distributors to pharmacies, hospitals and doctors? A. Yes.”); Prevoznik
Rule 30(b)(6) Dep. (Day 1) 326:24-327:4 (Q. Would ARCOS contain all the distributions of
prescription opioids from distributors to pharmacies or other retail outlets? A. For those items,
yes.”).
176
   Rannazzisi Dep. (Day 1) 24:10-16 (“[A.] DEA can use that system to monitor transactions
downstream. Q. And that's downstream from the manufacturers all the way to the retail level,
correct? A. Yes. I believe so.”); Wright Dep. (Day 2) 538:16-19 (“Q. ARCOS tells you how
many pills have been distributed by a distributor to a pharmacy, doesn't it? A. Correct.”).
177
   Wright Dep. (Day 2) 544:1-11 (“Q. -- you were using these ARCOS reporting tools to
identify pharmacies having extraordinarily large prescriptions in narcotics, and you present that
data to the distributors, correct? A. Yes, sir. Q. You didn't -- you didn't need distributors'
suspicious order reports to do that analysis, did you? … [A.] No, sir.”); Wright Dep. (Day 2)
541:3-543:6 and Ex. 49; DEA Announces Enhanced Tool for Registered Drug Manufacturers

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        Moreover, up until February 2018, registrants did not have any access to other
registrants’ ARCOS data.178 Although this had been requested by registrants, DEA declined to
share it.179 Further, except for individual meetings with registrants, such as during the
Distributor Initiative briefings, when DEA identified potential internet pharmacies using ARCOS
data, DEA did not share with distributors when it learned of suspicious pharmacies through
ARCOS.180 For a brief period after the distributor briefing, DEA informed distributors when
another distributor terminated or restricted sales of controlled substances to a particular
registrant.181 However, DEA ceased this practice in 2007.182 DEA decided to stop sharing this
information because it did not want to risk being sued by the identified registrants and because
field office personnel were concerned that legitimate pharmacies were being identified as


and Distributors to Combat Opioid Crisis (2019), https://www.dea.gov/press-releases/2019/
02/26/dea-announces-enhanced-tool-registered-drug-manufacturers-and (last visited May 25,
2019) (describing DEA’s implementation of an amendment to the CSA requiring DEA “to
provide drug manufacturers and distributors with access to anonymized information through the
Automated Reports and Consolidated Orders System (ARCOS) to help drug manufacturers and
distributors to identify, report and stop suspicious orders of opioids and reduce diversion on sales
to ultimate users”).
178
   Wright Dep. (Day 2) 554:11-25 (“Q. But DEA, up until 2018, did not permit other
distributors to see the ARCOS data so that they could determine how much of a … controlled
substance was being shipped into a pharmacy by another distributor; isn't that correct? … [A.]
Yes, sir.”); DEA Announces Enhanced Tool for Registered Drug Manufacturers and Distributors
to Combat Opioid Crisis (2019), https://www.dea.gov/press-releases/2019/02/26/dea-announces-
enhanced-tool-registered-drug-manufacturers-and (last visited May 25, 2019) (describing DEA’s
implementation of an amendment to the CSA requiring DEA “to provide drug manufacturers and
distributors with access to anonymized information through the Automated Reports and
Consolidated Orders System (ARCOS) to help drug manufacturers and distributors to identify,
report and stop suspicious orders of opioids and reduce diversion on sales to ultimate users”).
179
   Rannazzisi Dep. (Day 1) 26:3-13 (“Q. Registrants requested ARCOS data from DEA at
various times, but DEA declined to share it, correct? … [A.] Just answering the question in order
… registrants have requested access to ARCOS … for that data. And they have been declined,
yes.”).
180
   Wright Dep. (Day 1) 96:23-97:4 (“Q. And you looked for these outliers and the anomalies in
the registrants' ARCOS data? A. Yes. Q. Did you use any other resource to find these outliers
and anomalies? A. Not to my recollection.”); Wright Dep. (Day 2) 550:12-25 (“Q. After
identifying a suspicious pharmacy is in the ARCOS data, did you ever inform distributors of the
identification of that pharmacy? … [A.] No.”).
181
   Howard Depo. 28:17-1 (“Q. Following the first of the distributor briefings in 2005, DEA
established an e-mail group to announce actions taken by distributors to either discontinue or
limit supply to customers. A. Yes. Q. And these termination notices identified customers
distributors had discontinued or restricted business with, correct? A. Correct.”).
182
   Howard Depo. 45:9-13 (“Q. And do you know when the DEA stopped sending termination
notices to distributors? A. Based on the DEA records that I reviewed, it appears that it ceased in
December 2007.”).


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suspicious.183 Thus, DEA was in the unique position to combine information from multiple
sources to see potential diversion at pharmacies in a way that no distributor could.

For example, if one distributor cut off a particular pharmacy, the pharmacy could start ordering
from another. DEA could see this from the ARCOS data, but distributors could not.
Accordingly, one way to stop a rogue pharmacy or pill mill from continuing to divert opioids
would be for DEA to suspend its registration so distributors would know to stop business with
that pharmacy or pill mill.

       B.      Suspicious Orders Reports Rarely—If Ever—Led to DEA Actions Against
               Registrants

        Only a small fraction of suspicious order reports ever result in DEA actions against
registrants. DEA received 1.2 million suspicious order reports from 2007-2018.184 Between
2007 and 2017, DEA had 9,851 actions leading to registration revocation, including 254
immediate suspension orders and 638 orders to show cause.185 Not all of these revocations were
related to suspicious order reports, but even assuming that they were, it would still be the case
that less than 1% of SORs result in revocation.186 There are many possible reasons why

183
   Howard Depo. 47:2-13 (“Q. Why did DEA stop sending the termination notices to
distributors? A. Based on my review of the DEA records, it appears the notification process
ceased because diversion investigators in the field expressed concern about the notification, and
individuals on the listing were legitimate pharmacies or doctors and needed their product for
legitimate medical purposes. Also, the threat of potential litigation. And -- that's it for now, if I
can -- yeah.”), 47:14-18 (“Q. And what were the concerns of the diversion investigators? A. That
registrants that were identified had legitimate purposes for ordering product and they should not
be blacklisted.”), 47:19-48:3, 49:2-9 (“Q. Was the threat of litigation, was that threat too scary
for the DEA so that it decided it would stop sending the termination notices to distributors? …
[A.] I believe it contributed to ceasing sending out the notifications.”).
184
   The Drug Enforcement Administration’s Role in Combating the Opioid Epidemic, Hearing
Before the Subcomm. on Oversight and Investigations of the H. Comm. on Energy and
Commerce, 115th Cong., 115-110 (2018) (Questions for the Record for Drug Enforcement
Administration) at 93 (“DEA headquarters received 1,204,400 electronic SORs from 135 distinct
registrants from 2007 to 2018.”); Prevoznik Rule 30(b)(6) Dep. (Day 2) 556:7-11 (“Between
2007 and 2018 DEA received over 1.2 million electronic suspicious order reports from
registrants, true? A. Yes.”).
185
   Combatting the Opioid Crisis: Exploiting Vulnerabilities in International Mail, Hearing
Before the Subcomm. on Investigations of the S. Comm. on Homeland Security and
Governmental Affairs, 115th Cong., 115-317 (2018) (Questions for the Record for Drug
Enforcement Administration) at 275 (containing chart of “Actions Leading to Registration
Revocation”).
186
   Compare The Drug Enforcement Administration’s Role in Combating the Opioid Epidemic,
Hearing Before the Subcomm. on Oversight and Investigations of the H. Comm. on Energy and
Commerce, 115th Cong., 115-110 (2018) (Questions for the Record for Drug Enforcement
Administration) at 93 (“DEA headquarters received 1,204,400 electronic SORs from 135 distinct
registrants from 2007 to 2018.”) with Combatting the Opioid Crisis: Exploiting Vulnerabilities in

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suspicious order reports may not yield action: (1) DEA is not obligated to investigate suspicious
order reports,187 (2) the suspicious order reports contain many false positives because DEA has
only provided vague guidance on how to identify suspicious orders; (3) normal ordering patterns
by a pharmacy that is not responsible for diversion of controlled substances may result in “orders
of unusual size, orders deviating substantially from a normal pattern, and orders of unusual
frequency”;188 (4) exigent circumstances such as natural disasters may lead to “orders of unusual
size, orders deviating substantially from a normal pattern, and orders of unusual frequency”;189
(5) human error, including typos in orders or “fat fingers,” may result in “orders of unusual size,
orders deviating substantially from a normal pattern, and orders of unusual frequency,”190 and (6)
determining whether an order reflects actual diversion is particularly challenging during a time
period when DEA quotas were being increased and legitimate prescriptions were increasing. In
addition, I understand from my experience and the testimony in this case that some enforcement
agents as well as diversion investigators did not use suspicious order reports.191 Instead,
diversion investigators used ARCOS data that contained all transactions from a distributor or
manufacturer.



International Mail, Hearing Before the Subomm. on Investigations of the S. Comm. on
Homeland Security and Governmental Affairs, 115th Cong., 115-317 (2018) (Questions for the
Record for Drug Enforcement Administration) at 275 (containing chart of “Actions Leading to
Registration Revocation” for years 2007 to 2017 that add up to 9,851); Press Release, DEA,
DEA Surge in Drug Diversion Investigations Leads to 28 Arrests and 147 Revoked Registrations
(Apr. 2, 2018), https://www.dea.gov/press-releases/2018/04/02/dea-surge-drug-diversion-
investigations-leads-28-arrests-and-147-revoked (“During that period, the DEA surged the
efforts of special agents, diversion investigators, and intelligence research specialists to analyze
80 million transaction reports from DEA-registered manufacturers and distributors, as well as
reports submitted on suspicious orders and drug thefts and information shared by federal
partners, such as the Department of Health and Human Services. This resulted in the
development of 366 leads to DEA field offices, 188 of (51 percent) resulted in active
investigations by DEA’s 22 field divisions.”); Martin Dep. 228:21-229:11 (confirming that the
press release noted that DEA analysis of 80 million transaction reports led to only 188
investigations).
187
   Wright Dep. (Day 1) 164:11-15 (“Does DEA have an obligation to investigate a suspicious
order after it is reported by a distributor? … THE WITNESS: No.”).
188
      21 C.F.R. § 1301.74(b).
189
      21 C.F.R. § 1301.74(b).
190
      21 C.F.R. § 1301.74(b).
191
    Martin Dep. 131:17-25 (“Q. As ASAC of DEA Cleveland and through other work that you’ve
done at DEA, you’re familiar with what a suspicious order report is? A. Actually, no, because
that is on the diversion side. . . . I’ve never seen a suspicious order report”); And the DEA’s
diversion investigators did not use such reports; Baker-Stella Dep. (Day 2) at 466:17-20 (“Q. In
your work at TDS on any investigation have you ever used a suspicious order report? A. Not that
I can recall.”); Leonard Dep. (Day 3) at 399:18-20 (testifying that Leonard doesn’t use
suspicious order data).


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        Given DEA’s limited historical use of suspicious order reports to initiate actions against
registrants, there is no basis to conclude that registrants filing additional suspicious order reports
would have resulted in a meaningful decrease in diversion. Indeed, Mr. Rafalski, a former
diversion investigator, has testified that failing to report a suspicious order does not cause
diversion.192

         However, it is difficult to conclusively answer why suspicious order reports did not and
still do not lead DEA to take actions against registrants; indeed, DEA does not even keep
statistics about what percentage of suspicious order reports DEA converts into criminal
indictments or convictions.193 In contrast, it does maintain such statistics on its OCDETF
cases.194

X.     CONTRIBUTORS TO THE DRUG CRISIS OUTSIDE THE CONTROL OF
       REGISTRANTS

        Drug abuse existed in the United States prior to the diversion of prescription opioids and
will continue in the future regardless of the availability of prescription opioids. The current
opioid epidemic is best understood in the context of a decades-long drug overdose epidemic that
began at least as early as the 1970s. The drug overdose epidemic is fueled by drug trafficking
organizations that have long distributed illicit drugs, including illicit opioids, outside the “closed
system of distribution”; the introduction of highly potent and dangerous illicit fentanyl from
international sources; and the decisions of individual bad actors that trafficked illicit opioids or
diverted prescription opioids outside the controls of the defendant registrants.

       A.      Drug Abuse Existed Prior to Prescription Opioids.

        Before OxyContin was released in 1996, illicit drugs were causing considerable
nationwide problems. When I worked for the St. Louis Police Department in the 1970s and
1980s, illicit drug abuse caused major public problems that forced the City of St. Louis to devote
substantial public resources to combatting and treating drug abuse. When I worked for the DEA
in the 1980s, the 1990s, and the 2000s, the same illicit drug problems applied on a broader
national scale.

         As a result of the widespread problems posed by illicit drugs, during my time at DEA,
illicit drugs were always the DEA’s primary focus and prescription drugs were never a top

  Rafalski Dep. (Day 1) 371:20-23 (“You'd agree that not reporting the suspicious order to
192

DEA is not what causes diversion? A. That's correct.”).
193
   Prevoznik Rule 30(b)(6) Dep. (Day 2) 583:16-584:9 (“Q. Okay. Do you know what
percentage of suspicious order reports DEA converted into criminal indictments between 2007
and 2017? … [A.] I do not. Q. … So between 2007 and 2017, would you know what percentage
of suspicious order reports DEA converted into criminal convictions? … [A.] I do not. … Q.
Does DEA keep those kind of statistics? A. No, we don't.”).
194
   Prevoznik Rule 30(b)(6) Dep. (Day 2) 584:10-16 (“ Q. … You're aware that DEA keeps those
kind of statistics, investigations initiated, indictments returned, convictions obtained on all of
their OCDETF cases and reports them. Are you aware of that? A. Correct, yes.”).


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priority. This remained the case even after OxyContin was released in the 1990s because the
addiction, the crime, and the violence associated with drugs has always centered on the drug
dealers and the cartels who traffic illicit substances.

       B.      The Illicit Drugs and Drug Trafficking Organizations That Are Causing
               Problems Today Have Existed For Decades.

        Since I first joined the St. Louis Police Department in the 1970s, heroin has posed
problems throughout the United States and drug cartels have trafficked heroin across the
Southwest Border.195 Since I joined the St. Louis Police Department in the 1970s, drug dealers,
drug traffickers, and international drug cartels have existed and distributed illicit drugs.

        Throughout my entire career at the DEA, the focus of the DEA’s enforcement efforts has
been on international drug cartels, such as the Sinaloa Cartel in Mexico and the Cali Cartel in
Colombia. The DEA’s focus has always been on these international drug trafficking
organizations because they are responsible for the majority of the illicit drug trade in the United
States.

         The cartels that distribute drugs to the United States typically sell many different types of
illicit drugs. For example, the same Mexican drug trafficking organizations that traffic heroin,
traffic methamphetamine, cocaine, and marijuana.196 In addition, for as long as I can recall,
cartels have manufactured counterfeit prescription drugs and diverted prescription drugs.

        In many instances, foreign drug regulation is much looser than American drug regulation,
which is why foreign drug regulations can have a substantial impact on the trafficking of
prescription drugs into the United States. During my time at DEA, loose prescription drug
regulation was a problem with pseudoephedrine, a common cold medicine which is often
diverted to be used to manufacture drugs like meth. In Mexico and Canada, you could buy
pseudoephedrine in bulk, unlike in the United States, which has restrictive regulations governing
how much you can purchase.

       Summit and Cuyahoga County have problems with heroin and Mexican drug trafficking
organizations today and they have had those problems for decades.197 This is unsurprising

195
   Leonard Dep. (Day 3) 444:8-10 (testifying that there “was heroin prior to my birth”). And as
several of Plaintiffs witnesses testified, it would exist whether or not another opioid was ever
prescribed in the United States; Leonard Dep. (Day 3) 446:18-447:7 (“Q. And whether or not
another prescription opioid is-- were ever prescribed, dispensed, again, in the United States, there
would still be an issue with fentanyl and heroin? A. Yes. Heroin has been her for a century. I
mean, heroin has been a problem for a long time.”).
  OH-HIDTA_000989, 1001 (indicating that ”Mexican DTOs remain the greatest threat to the
196

Ohio HIDTA region" because they traffic ”heroin, cocaine, marijuana, and . . .
methamphetamine.”)
197
   SUMMIT_000023567, 23607-23609 (describing heroin as a “high” threat to Summit County
in 2005 and indicating that “Mexican Drug Trafficking Organizations are the primary
transporters and distributors of Mexican Black Tar, and Brown powdered heroin into Ohio“);

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because it is consistent with my experience and my understanding of the longstanding drug
trafficking problems along the Southwest Border.198

       C.      The Characteristics of the Illicit Drug Market

        In my 23 years at DEA, I kept myself informed of drug trafficking trends and drug abuse
trends so that I could identify priorities and threats and allocate resources effectively. During
that time, I observed the following:

        The rates of drug trafficking and drug abuse have been increasing for decades.199 There
are many reasons for this, including (1) the introduction of drugs that provide a relatively
inexpensive and intense high, such as crack cocaine and heroin, (2) economic depression in
specific parts of the country, (3) advances in technology including features such as encrypted
internet servers and development of the “dark net” making trafficking easier and more difficult to
detect, and (4) the increasing sophistication and organization of drug trafficking networks.200

       Drug abuse is cyclical. It is common for a particular drug to surge, then disappear, and
then spike again. For example, heroin was the dominant drug of abuse in the 1970s, crack and




OH-HIDTA_003501, 003503 (defining heroin as “a significant drug threat to the Ohio HIDTA
region“ in 2002 and explaining that “Mexican black tar, Mexican brown powdered, and South
American heroin are the most prevalent in Northern Ohio.”); Martin Dep. 213:21-214:7 (“Q.
And is it also common knowledge that it is the drug cartels that are moving those -- the heroin
across that southwest border into the United States? . . . A. Yes. Q. And it’s those same cartels or
drug trafficking organizations that further move the heroin into the state of Ohio? A. Yes.”),
320:20-321:3 (“Q. What’s the second question? A. ‘How are illegal opioids coming into the
Cleveland area?’ Q. And what was your response? A. ‘The most known or common way is the
Mexican cartels are bringing it up. They are using the same routes that they’ve been using for the
last hundred years, same routes, different methods of concealment.’”)
198
   Sheehan Hannan, Our Epidemic, Fighting the Opioid Problem, Cleveland Magazine (Sept, 8,
2018, https://clevelandmagazine.com/in-the-cle/our-epidemic/articles/our-epidemic-fighting-
the-opioid-problem) (reporting that “Mexican cartels” are bring drugs up to Cleveland “using the
same routes that they’ve been using for the last hundred years.”).
199
   Hawre Jalal et al., Changing dynamics of the drug overdose epidemic in the United States
from 1979 through 2016, SCIENCE MAGAZINE, Vol. 361 Issue 6408 (September 21, 2018)
(concluding that the “U.S. drug overdose epidemic has been inexorably tracking along an
exponential growth curve since at least 1979.”).
200
    OH-HIDTA_003369, 3371-3372 (attributing Northeast Ohio’s drug issues to “economic
depression” and the “introduction of ‘crack’ cocaine in the mid-1980s, which allowed for a
relatively inexpensive and intense high”); Sheehan Hannan, Our Epidemic, Fighting the Opioid
Problem, Cleveland Magazine (Sept, 8, 2018, https://clevelandmagazine.com/in-the-cle/our-
epidemic/articles/our-epidemic-fighting-the-opioid-problem) (reporting that cartels are
employing different methods of concealment as well as increasingly utilizing the dark web).


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cocaine were the dominant drugs of abuse in Northeast Ohio the 1980s and 1990s,201
methamphetamine and cocaine were dominant drug of abuse in Northeast Ohio in the early
2000s,202 heroin became the dominant drug in Northeast Ohio in the 2010s,203 and there have
been recent shifts towards cocaine and methamphetamine.204 A prime example of the cyclical
nature of drug abuse is fentanyl, which has come and gone in cycles in the early 1990s and the
mid-2000s.205

       Drug cartels drive drug availability and are sophisticated business enterprises that
frequently adapt to increase their profitability. For example, traffickers have taken aggressive
measures to push heroin, like offering free methamphetamine to dealers, in order to expand the
market for heroin, which is a more profitable and potent drug.206 Likewise, cartels are known to
push particular drugs to address oversupplies.207 To increase their profits, traffickers also market

201
   OH-HIDTA_003369, 3371-3372 (highlighting the introduction of crack cocaine in the mid-
1980s and 1990s as a reason to designate Ohio as a high intensity drug trafficking area)
202
   OH-HIDTA_003501, 3503 (identifying cocaine as “the greatest drug threat in the major
metropolitan areas that comprise the five designated Ohio High Intensity Drug Trafficking Area
(HIDTA) Counties.”); Law Enforcement and the Fight against Methamphetamine: Improving
Federal, State, and Local Efforts, Hearing Before the H. Comm. on Government Reform, 109th
Cong., 109-103 (2005) (statement of John Sommer, Director, Ohio High Intensity Drug
Trafficking Area (HIDTA)) at 23-24 (describing the situation in Ohio with methamphetamines as
an “epidemic”).
203
   OH-HIDTA_000701, 708 (identifying heroin as the greatest drug threat in Northeast Ohio in
2011).
204
   AKRON_000236206 (identifying an increased supply of cocaine and an increased use of
methamphetamine in 2017 as possible causes for a dramatic reduction in opioid overdoses); OH-
HIDTA_000989, 999 (reporting that the “Ohio HIDTA is experiencing an increase in the use,
seizure and prescribing of stimulants.”); Shane Hoover, Has the opioid drug crisis peaked?
Overdose deaths drop in Stark, Summit Counties, AKRON BEACON JOURNAL, November 16, 2018
(reporting an increase in stimulants and quoting the Executive Director of the Ohio High
Intensity Drug Trafficking Area as predicting that stimulants will be the next crisis).
205
   AKRON_001143207 (DEA bulletin discussing a 2005-2006 “fentanyl overdose epidemic”);
SUMMIT_000023567, 23630 (discussing a fentanyl scare that occurred on the eastern coast in
the 1990s); Martin Dep. 186:10-19 (expressing the opinion that cocaine, heroin, illicit fentanyl
and carfentanyl, and methamphetamines are the greatest drug threats to Summit and Cuyahoga
counties).
206
   OH-HIDTA_003369, 3373 (reporting a “growing tendency of . . . gang related groups, to
supplement their cocaine shipments with heroin, in an obvious attempt to create a greater market
for this poison.”); CUYAH_012915194, 12915203 (reporting that heroin use is increasing
because of “pressure from dealers to switch from crack and prescription drugs to more-profitable
heroin”); OH-HIDTA_00989, 1001 (reporting that “Mexican DTOs in parts of Ohio are
providing methamphetamine to dealers for free in order to sell them heroin.”).
207
   AKRON_000236206 (reporting that “Mexican cartels have an oversupply of cocaine and are
flooding the market with it.”).


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products that are cheaper to produce, easier to smuggle, and more profitable. Pressures like these
are common when traffickers are looking to offload inventories of particular drugs, target new
drug abusers, or market more potent and profitable products.208

        It is common for drug traffickers to target the same clients with multiple different
substances. Since traffickers’ business model revolves around getting their clients high, cartels
can change pricing and supply to affect what their clients purchase, which can have a substantial
impact on the broader drug market and influence which drug is the dominant drug of abuse at a
given time. This is especially so because it is common for drug abusers to abuse multiple drugs
and switch between different substances.209

         To increase profits, dealers often mix drugs with cheaper fillers to increase the weight of
their drug for resale.210 But fillers may alter the taste, texture, or effects of the drug.211 To
counteract that effect, dealers may mix the diluted drug with a more potent substance.212 As a
result, there is an extraordinarily wide variance in potency amongst the same illicit drugs sold by
different dealers.

       D.      Cyclical Illicit Drug Choices

       The fact that heroin is abused in Summit County and Cuyahoga County today is
unsurprising. Although its prevalence has ebbed and flowed over time, heroin existed in
Cleveland in the early 1990s213 and has been abused for as long as I have worked in law
enforcement. There was a heroin epidemic in the 1970s and I confronted heroin as a narcotics
208
   CLEVE_2288891 (indicating that lacing marijuana with fentanyl “may be the next step
cartels are taking to target new users to become fentanyl users.”); CUYAH_012915194,
12915203 (reporting that heroin use is increasing because of “pressure from dealers to switch
from crack and prescription drugs to more-profitable heroin”)
209
   AKRON_001102789 (reporting that 88% of drug abusers use more than one substance);
AKRON_000236206 (indicating that users are switching from opioids to non-opioids based on
the availability of cocaine and meth); Shane Hoover, Has the opioid drug crisis peaked?
Overdose deaths drop in Stark, Summit Counties, Akron Beacon Journal, November 16, 2018
(reporting that “[m]any individuals who die from overdoses . . . test positive for a mixture of
prescription and street drugs, including cocaine, benzodiazepines, methamphetamine and
opioids, such as fentanyl and carfentanil.”).
210
   AKRON_001143207, 001143215 (reporting that “[d]rug traffickers typically mix a diluent
with narcotics to increase the weight for resale”).
211
   AKRON_001143207, 001143215 (“A side effect of a diluent is reducing the potency of the
original substance, which may alter the ‘taste,’ texture, or effects of the drug.”).
212
   AKRON_001143207, 001143215 (explaining that when fentanyl is being added to heroin,
“fentanyl is so powerful that the heroin is being enhanced”). Martin 188:8-10 (noting that
fentanyl can be made to look like Oxy 30’s, Percocet).
213
    Douglas Montero, The Comeback Drug; Police, Social Workers Fear Heroin ‘Epidemic’,
PLAIN DEALER, November 15, 1992 (reporting that use of “heroin . . . in Greater Cleveland and
in the United States is on the rise, and there is fear it may become the drug of the ‘90s.”).


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detective in St. Louis the 1970s. Heroin use receded while crack and cocaine use grew in the
1980s and 1990s,214 but cycled back and supplanted crack and cocaine use in the late 2000s.215
The trend is now moving towards cocaine and meth becoming the dominant drugs of abuse
today, underscoring that the problem communities are facing today is an illicit drug problem and
not just an opioid problem.216

        Heroin distribution and purity increased throughout the 1980s, 1990s, and 2000s.217
During that time, traffickers also reduced prices and pressured dealers both directly and through
incentives to switch from other drugs like crack and meth to more profitable heroin.218 Increased
heroin trafficking, increased heroin potency, pressure from dealers, and decreased heroin prices
have all contributed to a rise in heroin abuse and heroin-related crime.219 Potency contributes to
a drug’s addictiveness, and lower pricing makes the drug more accessible and more appealing to
drug users. In particular, the DEA observed in the 1990s that heroin’s “increase in purity led to

214
   OH-HIDTA_003369, 3371-72 (highlighting the introduction of crack cocaine in the mid-
1980s and 1990s as a reason to designate Ohio as a high intensity drug trafficking area).
215
   OH-HIDTA_000701, 708 (identifying heroin as the greatest drug threat in Northeast Ohio in
2011).
216
   AKRON_000236206 (identifying an increased supply of cocaine and an increased use of
methamphetamine in 2017 as possible causes for a dramatic reduction in opioid overdoses); OH-
HIDTA_000989, 999 (reporting that the “Ohio HIDTA is experiencing an increase in the use,
seizure and prescribing of stimulants.”); Shane Hoover, Has the opioid drug crisis peaked?
Overdose deaths drop in Stark, Summit Counties, Akron Beacon Journal, November 16, 2018
(reporting an increase in stimulants and quoting the Executive Director of the Ohio High
Intensity Drug Trafficking Area as predicting that stimulants will be the next crisis).
217
   OH-HIDTA_003501, 3503 (reporting that the “distribution of heroin of all types . . . is
increasing along with quantitates trafficked, purity levels, and reduced prices.”);
CLEVE_001484132, 1484133-1484135 (reporting that heroin is available in larger quantities
and that heroin abuse has grown since 2007).
218
   OH-HIDTA_003501, 3503 (reporting reduced heroin pricing); Douglas Montero, The
Comeback Drug; Police, Social Workers Fear Heroin ‘Epidemic’, Plain Dealer, November 15,
1992 (reporting that the “reasons for the growing popularity of heroin are that its cheaper and
more potent, and that its availability in the streets has increased”); CUYAH_012915194,
12915203 (reporting that heroin use is increasing because of “pressure from dealers to switch
from crack and prescription drugs to more-profitable heroin”); OH-HIDTA_00989, 1001
(reporting that “Mexican DTOs in parts of Ohio are providing methamphetamine to dealers for
free in order to sell them heroin.”).
219
   OH-HIDTA_000701, 708 (reporting that “[i]ncreased heroin trafficking has resulted in a rise
in heroin abuse and heroin related crime”); OH-HIDTA_003501, 3503 (reporting that the heroin
user population is growing and that heroin availability is growing at reduced prices);
CLEVE_001484132, 1484133-1484135 (reporting that heroin is available in larger quantities,
that heroin abuse has grown since 2007, and that there are “high purity batches of heroin solid in
certain markets”); CUYAH_012915194, 12915203 (reporting that heroin use is increasing
because of “pressure from dealers to switch from crack and prescription drugs to more-profitable
heroin”).


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an increase in the number of heroin users” because when “heroin is in higher purity, it can be
snorted or smoked which broadens its appeal” because it reduces “the stigma associated with
injecting.”220

        I am of the opinion to a reasonable degree of professional certainty that drug traffickers
and dealers all played a very important role in causing heroin use to grow. Whereas the
increased availability and purity of heroin directly caused increased heroin abuse, there is
evidence that few non-medical prescription opioid users go on to use heroin and that few non-
medical prescription opioid users started with a medically necessary opioid prescription.221 And
the vast majority of individuals who reported transitioning from prescription opioids or heroin,
reported the misuse of another drug before prescription opioids.222 It is consistent with my
experience that is common for drug addicts to abuse and switch amongst various drugs.223 It is
also consistent with my experience that many heroin abusers initiate their use with heroin.



220
   CLEVE_001484132, 1484139 (explaining that heroin’s appeal broadened when heroin
became pure enough that it could be snorted because many people “who would never consider
injecting a drug were introduced to heroin by inhalation”).
221
    CUYAH_002048206 (several treatment providers reporting that it is “rare for one of our
clients to have started with a medically necessary opioid”); CLEVE_001484132, 1484139
(reporting that “only a small number (approximately 4 percent) of CPD abusers initiate heroin
use”); CUYAH_001670519 (reporting “[i]ncreased use of heroin as an initiating opioid of
abuse”).
222
    Reduce Prescription Drug Abuse, INSTITUTE FOR BEHAVIOR AND HEALTH,
https://www.ibhinc.org/reduce-prescription-drug-abuse (“Among 4,493 individuals treated for
opioid addiction whose first exposure to opioids was through a prescription from their physician,
notably 94.6% reported prior or coincident use of other psychoactive drugs. Alcohol was used by
92.9%, nicotine by 89.5% and marijuana by 87.4%, and excluding these top substances, fully
70.1% reported other prior or coincident drug use.”); Pradip Muhuri, Joseph Gfroerer, and M.
Christine Davies, Associations of Nonmedical Pain Reliever Use and Initiation of Heroin Use in
the United States, CBHSQ Data Review (SAMSA) (Aug. 2013, https://www.samhsa.gov/data/
sites/default/files/DR006/DR006/nonmedical-pain-reliever-use-2013.htm (reporting that 86.1
percent of prior nonmedical pain reliever users have a history of prior illicit drug abuse); Deni
Carise et al, Prescription OxyContin Abuse Among Patients Entering Addiction Treatment,
AMERICAN JOURNAL OF PSYCHIATRY (Nov. 1, 2007), https://ajp.psychiatryonline.org/
doi/full/10.1176/appi.ajp.2007.07050252?url_ver=Z39.88-2003&rfr_id=ori%3Arid%3
Acrossref.org&rfr_dat=cr_pub%3Dpubmed&) (reporting that 77% of OxyContin abusers had
also taken cocaine).
223
   AKRON_001102789 (reporting that 88% of drug abusers use more than one substance);
AKRON_000236206 (indicating that users are switching from opioids to non-opioids based on
the availability of cocaine and meth); Shane Hoover, Has the opioid drug crisis peaked?
Overdose deaths drop in Stark, Summit Counties, Akron Beacon Journal, November 16, 2018
(reporting that “[m]any individuals who die from overdoses . . . test positive for a mixture of
prescription and street drugs, including cocaine, benzodiazepines, methamphetamine and
opioids, such as fentanyl and carfentanil.”).


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Since drug dealers and drug traffickers, not pharmaceutical manufacturers and distributors,
manufacture and distribute heroin in the United States, drug dealers and drug traffickers are a
major contributor to heroin abuse in Northeast Ohio today. In particular, the Mexican drug
trafficking organizations that ship heroin across the Southwest border are the primary source of
the heroin in Summit County and Cuyahoga County.224

       E.      Drug Cartels and Dealers, Not Demand, Drive the Illicit Fentanyl Market.

         Illicit fentanyl and carferntanil are the main cause of opioid problems in Northeast Ohio
today.225 Indeed, several reports describe fentanyl as the primary drug trafficking threat to
Northeast Ohio,226 while coroner reports show that fentanyl and carfentanil have been driving
drug overdose deaths since 2014.227 DEA has also publicly stated that “[w]hile a number of
factors appear to be contributing to this public health crisis, chief among the causes is the sharp
increase in recent years in the availability of illicitly produced, potent substances structurally
related to fentanyl.”228 In fact, DEA has gone so far as to state in its drug information sheet on
fentanyl that “[i]llicitly manufactured fentanyl is chiefly responsible for the current domestic
crisis.”229 During my time at DEA, I had heard of fentanyl, but I had never heard of carfentanil,
which was not on anyone’s radar as a possible drug of abuse until its sudden appearance in
2016.230


224
   SUMMIT_000023567, 23609 (reporting “Mexican Drug Trafficking Organizations” as the
“primary transporters and distributors of Mexican Black Tar, and brown powdered heroin into
Ohio” in 2005); OH-HIDTA_000937, 944 (reporting that the “primary source of the heroin being
transported and sold in Ohio is Mexican DTOs in 2016); Sheehan Hannan, Our Epidemic,
Fighting the Opioid Problem, Cleveland Magazine (Sept, 8, 2018,
https://clevelandmagazine.com/in-the-cle/our-epidemic/articles/our-epidemic-fighting-the-
opioid-problem) (explaining that the “most common way” drugs are coming into Cleveland is
from :Mexican cartels”).
225
   Martin Dep. 186:10-19 (agreeing that cocaine, heroin, illicit fentanyl, meth and carfentanil are
the greatest drug threats to Ohio today); Kenneth Ball Dep. 247:23-248:2 (testifying that fentanyl
and carfentanil tipped the Akron’s drug problems over the edge).
226
   OH-HIDTA_000989, 997 (identifying “[f]entanyl and its analogues” as “the primary drug
threat in the Ohio HIDTA Region” in 2017).
227
   AKRON_000206798 (overdose death investigation spreadsheet from 2014-2018 identifying
fentanyl or carfentanil as the cause of death in the vast majority of drug overdose cases).
228
   Drug Enforcement Administration; Schedules of Controlled Substances Temporary
Placement of Fentanyl-Related Substances in Schedule I, 83 Fed. Reg. 5188, 5188 (Feb. 6,
2018).
229
   Drug Enforcement Administration, Fentanyl Drug Information Sheet (2018),
https://www.deadiversion.usdoj.gov/drug_chem_info/fentanyl.pdf (last visited May 27, 2019).
230
   Martin Dep. 282:4-11 (testifying that he first “became aware of carfentanil in approximately
July of 2016”); SUMMIT_00132316 (reporting that the DEA in Cleveland’s first carfentanil
arrest occurred in November 2016); Greta Johnson (“Johnson”) Rule 30(b)(6) Dep. 91:16-18 (“I
don’t know that any of us had heard of carfentanil until about 2016”); Derek Siegle (“Siegle”)

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        Nonmedical fentanyl use in Summit County and Cuyahoga County is driven by illicit
fentanyl use, not pharmaceutical fentanyl use,231 and the source of illicit fentanyl is drug dealers,
not pharmaceutical manufacturers and distributors.232 A huge reason for the rise in fentanyl
abuse is that it is being seen mixed in other drugs, including methamphetamine, cocaine, heroin,
and counterfeit prescription drugs laced with fentanyl.233

       Mexican drug cartels—the same cartels the DEA has historically investigated—are a
primary source of illicit fentanyl.234 The other principal source of fentanyl is China, where many
fentanyl analogues were legal, and web-based trafficking is growing.235

        Mexican fentanyl is generally shipped across the Southwest Border, and Chinese fentanyl
is most often shipped by postal carrier, which can make fentanyl difficult, if not impossible, to
interdict.236 Fentanyl traffickers actually prefer to use the United States Postal Service (“USPS”)

Dep. 121:5-23 (testifying that carefentanil caught the region by surprise and wasn’t seen in the
area until very recently.)
231
   CLEVE_000273623, 0273630 (November 2014 email in which the Commander of the
Cleveland Narcotics Unit states that Mexican cartels are shipping fentanyl over the border and he
does not believe the fentanyl problems are “coming from any kind of pharmaceutical
diversion.”); AKRON_001143207; 114208 (“DEA Reporting indicates that pharmaceutical
diversion of fentanyl normally does not result in bulk fentanyl distribution.”).
232
    Siegle Dep. 120:19-121:4 (reporting that the majority of fentanyl related problems are related
to the illicit fentanyl shipped by drug trafficking organizations).
233
      Martin Dep. 188:2-11.
234
   OH-HIDTA_000989, 997 (identifying “Mexican DTOs” as the “primary source of the
fentanyl being transported and sold in Ohio”); AKRON_001143207, 1143215 (identifying “at
least one Mexican DTO” as the source of the fentanyl coming into the United States since 2013).
235
   AKRON_000344115 (noting that “the Chinese . . . may be complicit in the sale” of
“carfentanil and fentanyl”); CLEVE_000189730 (explaining that the fentanyl “problem will
continue to grow due to WEB based trafficking out of China, Asian & European countries.”);
CLEVE_2289957 (explaining that all of Cleveland’s “fentanyl related cases point to Mexico or
China”); Martin Dep. 320:23-321:24 (explaining that China and Mexico are the two sources of
fentanyl into Northeast Ohio)
236
   Matt Paolino Dep. 109:5-11, 174:23-176:10 (discussing the shipment of fentanyl through the
mail, and the difficulties law enforcement has in interdicting drugs through mail); Sheehan
Hannan, Our Epidemic, Fighting the Opioid Problem, CLEVELAND MAGAZINE (Sept, 8, 2018,
https://clevelandmagazine.com/in-the-cle/our-epidemic/articles/our-epidemic-fighting-the-
opioid-problem) (discussing the difficulties of fentanyl interdiction, which is that you can order it
on the internet and there are thousands of packages every day coming from China). Tackling
Fentanyl: the China Connection, Hearing Before the Subcomm. on Africa, Global Health, Global
Human Rights, and Internal Organizations of the H. Comm. on Foreign Affairs, 115th Cong.,
115-169 (2016) (statement of Paule E. Knierim, Deputy Chief of Operations, Office of Global
Enforcement, Drug Enforcement Agency) at 21 (“It is extremely difficult for the Department of
Homeland Security (DHS), U.S. Customs and Border Protection (CBP), U.S. Immigration and
Customs Enforcement (ICE), and Homeland Security Investigations (HSI), and the U.S. Postal

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to send fentanyl because, unlike private carriers, USPS cannot collect advanced electronic data
(“AED”), which would assist in tracking and identifying traffickers, for packages distributed to it
from international sources.237 It is also impossible to stop and combat without the help of
Chinese authorities. China only recently began regulating fentanyl and its analogs as controlled
substances, but China’s new regulations will not have any practical impact on the drug’s
availability in the U.S. unless those laws are enforced.238

       Fentanyl is a popular drug among trafficking organizations and dealers because it is
cheap to produce, easy to smuggle, potent, and highly profitable.239 Cartels have an incentive to
market it and add it to other drugs because fentanyl is both cheaper and more potent than other
substances, including cocaine and heroin.240 Fentanyl also masks dilution, and is highly


Inspection Service (USPIS) to address the [fentanyl] threat at ports of entry, due to the
combination of: the questionable legal status of these substances, which are not specifically
named in the CSA itself or by DEA through scheduling actions; the enormous volume of
international parcel traffic by mail and express consignment couriers; and the technological and
logistical challenges of detection and inspection.”).
237
   Combatting the Opioid Crisis: Exploiting Vulnerabilities in International Mail, Hearing
Before the Subcomm. on Investigations of the S. Comm. on Homeland Security and
Governmental Affairs, 115th Cong., 115-317 (2018) (Staff Report) at 112 (describing AED);
114-115, 21 (noting that express consignment operators, such as UPS and DHL, are required to
collect AED by law); 113 (“Despite the benefits of using AED to identify suspicious packages,
the international postal community has failed to meaningfully adopt its use.”).
238
   Sasha Ingber, China To Close Loophold After U.S. Calls for Opioid Action, NPR (Apr. 1,
2019, https://www.npr.org/2019/04/01/708801717/china-to-close-loophole-on-fentanyl-after-u-s-
calls-for-opioid-action) (reporting that China had announced that it would begin regulating
fentanyl analogues but that China’s ability to enforce the law is a different question); How Did
Enough Fentanyl to Kill “Every Man, Woman, and Child in Cleveland” Reach the United
States?, 60 MINUTES (Apr. 25, 2019, https://www.cbsnews.com/news/how-did-enough-fentanyl-
to-kill-every-man-woman-and-child-in-cleveland-reach-the-united-states-60-minutes/) (reporting
on a criminal case in which U.S. authorities alerted China to an illegal fentanyl operation which
China refused to shut down).
239
    AKRON_001143207, 1143210 (explaining that fentanyl is “cheaper to produce, more potent,
highly profitable, and easier to smuggle across borders” than other drugs because you don’t need
fields to grow it).
240
   Drug Facts, What is fentanyl?, NATIONAL INSTITUTE OF HEALTH, https://www.drugabuse.gov/
publications/drugfacts/fentanyl (explaining that “drug dealers are mixing fentanyl with other
drugs . . . because it takes very little to produce a high with fentanyl, making it a cheaper
option”); AKRON_001143207, 1143210 (noting that “fentanyl is uniquely poised to become the
next ‘big idea’ on a criminal industrial scale” because it is “cheaper to produce, more potent,
highly profitable, and easier to smuggle across borders”); Maggie Fox, Why would anyone cut
heroin with fentanyl? It’s cheap, these researchers say, NBC News (Dec. 4, 2008,
https://www.nbcnews.com/storyline/americas-heroin-epidemic/why-would-anyone-cut-heroin-
fentanyl-it-s-cheap-these-n943796) (reporting that dealers are cutting fentanyl with other drugs
because its cheaper than heroin, smaller, lighter, and easier to smuggle).


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addictive, making it the perfect adulterant for cartels to add when cutting other drugs like
heroin.241

        The more fentanyl is pushed by the cartels, the more fentanyl causes problems. Many of
the dealers who sell cocaine also sell heroin, and cartels often chop and mix fentanyl and other
drugs. As a result, increased fentanyl distribution increases the risk of the unintentional
contamination of other drugs with fentanyl.242

        Buyers often do not know whether they are buying fentanyl and many drug users are
afraid of fentanyl because it poses a high risk of overdose.243 In fact, there is no slang term for
fentanyl, which indicates that consumers do not seek it out, and that the increased use fentanyl is
being driven by drug traffickers and cartels.244



241
   Drug Facts, What is fentanyl?, National Institute of Health, https://www.drugabuse.gov/
publications/drugfacts/fentanyl (explaining that “drug dealers are mixing fentanyl with other
drugs . . . because it takes very little to produce a high with fentanyl, making it a cheaper
option”); AKRON_001143207, 1143210 (noting that “fentanyl is uniquely poised to become the
next ‘big idea’ on a criminal industrial scale” because it is “cheaper to produce, more potent,
highly profitable, and easier to smuggle across borders”); AKRON_001143207, 1143215 (noting
that fentanyl is so powerful that it enhances heroin) Maggie Fox, Why would anyone cut heroin
with fentanyl? It’s cheap, these researchers say, NBC News (Dec. 4, 2008),
https://www.nbcnews.com/storyline/americas-heroin-epidemic/why-would-anyone-cut-heroin-
fentanyl-it-s-cheap-these-n943796 (reporting that dealers are cutting fentanyl with other drugs
because it is cheaper than heroin, smaller, lighter, and easier to smuggle).
242
   Max Daly, The Truth About Drug Dealers Lacing Cocaine with Fentanyl, VICE NEWS (Apr. 5,
2019, https://www.vice.com/en_us/article/8xyzkp/the-truth-about-drug-dealers-lacing-cocaine-
with-fentanyl) (explaining that cocaine is packaged and cut multiple times during the supply
chain so it is inevitable that fentanyl will be mixed with other powders like cocaine that are
packaged and cut alongside it); Annamarya Scaccia, How Fentanyl is Contaminating America’s
Cocaine Supply, ROLLING STONE (Oct. 9, 2018, https://www.rollingstone.com/culture/culture-
features/fentanyl-cocaine-how-contamination-happens-735155/) (noting that fentanyl laced
cocaine is likely the result of accidental cross contamination because sealers often package and
cut different products on the same substances without properly cleaning those substances).
243
   Maggie Fox, Why would anyone cut heroin with fentanyl? It’s cheap, these researchers say,
NBC News (Dec. 4, 2008, https://www.nbcnews.com/storyline/americas-heroin-epidemic/why-
would-anyone-cut-heroin-fentanyl-it-s-cheap-these-n943796) (reporting that many “opioid users
are actively afraid of fentanyl and don’t want it, because they know about the dangers of
overdose”); AKRON_000236206 (identifying a growing awareness of “dealers and users” about
fentanyl as a reason for decreases in drug overdoses.).
244
    Maggie Fox, Why would anyone cut heroin with fentanyl? It’s cheap, these researchers say,
NBC NEWS (Dec. 4, 2008, https://www.nbcnews.com/storyline/americas-heroin-epidemic/why-
would-anyone-cut-heroin-fentanyl-it-s-cheap-these-n943796) (reporting the absence of “any
street slang words for fentanyl” is an “indication that demand is not driving the increased use of
fentanyl”).


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Fentanyl has come and gone before, and cartels largely use the same illicit drug distribution
methods for fentanyl that they use for other drugs.245

       F.      Prescription Drug Trafficking Existed Before Prescription Opioids.

        Based on the documents I have reviewed in this case and my experience in law
enforcement, I am of the opinion to a reasonable degree of professional certainty that counterfeit
prescription drugs and illicitly trafficked prescription drugs are a contributor to the drug crisis in
Cuyahoga and Summit County today.

        Recent intelligence from the DEA confirms that international drug cartels are currently
manufacturing counterfeit prescription drugs containing fentanyl,246 and I understand that
Summit County and Cuyahoga County are having problems with counterfeit prescription drugs
laced with fentanyl that are coming from drug cartels today.247 In addition, I have reviewed
sources indicating that international drug trafficking organizations have started to manufacture
and sell counterfeit prescription opioid drugs, including OxyContin, to Northeast Ohio that are
manufactured overseas.248

        The fact that counterfeit prescription drugs and illicitly trafficked prescription drugs are
causing problems today is not new and does not surprise me. During my tenure at the DEA,
international drug cartels capitalized on loose prescription drugs laws in other countries to
counterfeit prescription drugs and traffic them to the United States. In particular, I remember



245
   AKRON_001143207 (DEA bulletin discussing a 2005-2006 “fentanyl overdose epidemic”);
SUMMIT_000023567, 23630 (discussing a fentanyl scare that occurred on the eastern coast in
the 1990s).
246
    Intelligence Brief, Counterfeit Prescription Pills Containing Fentanyls: A Global Threat,
DRUG ENFORCEMENT AGENCY, July 2016, at pg 1 (reporting that “[h]undreds of thousands of
counterfeit prescription pills, some containing deadly amounts of fentanyls have been introduced
into U.S. drug markets, exacerbating the fentanyl and opioid crisis.”); Martin Dep. 188:8-10
(testifying that the DEA has “seen pills that are in the form of Oxy 30s, Percocets, that are
actually fentanyl”), 252:6-252:18 (testifying that the counterfeit pills DEA is seizing are coming
from the cartels).
247
   Johnson Rule 30(b)(6) Dep. 263:2-14 (testifying that Summit County has had instances in
which drug dealers have sold counterfeit prescription drugs last with fentanyl); Siegle Dep.
122:5-122:17 (testifying that “we have had instances where our task forces have seized what
appear to be pharmaceuticals that are really fentanyl pressed to look like it.”); Leonard Dep.
(Day 3) 437:16-19 (testifying that counterfeit opioid pills are part of the opioid epidemic).
248
   Siegle Dep. 123:7-123:19 (“Q. Are there drug trafficking organizations that deal in
prescription opioids, as far as you are aware? A. Yes . . . It’s usually in combination with some
other narcotic. Q. So a source for some of the prescription opioids being abused in Ohio HIDTA
are drug trafficking organizations; is that fair? A. That’s fair to say, yes.”); Leonard Dep. (Day 3)
436:13-18 (testifying that drug trafficking organizations are trafficking and selling diverted
prescription drugs).


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cartels capitalizing on loose prescription drug laws in Mexico to manufacture methamphetamines
from cold medicine.

       For as long as I was in DEA, the prescription drug regulations in other countries have
contributed to drug abuse so it is neither new nor surprising that the drug regulations in other
countries are an important contributor to the problem of non-medical prescription opioid abuse in
the United States today.

       G.      Much Diversion of Prescription Opioids Occurs Outside the Closed System
               of Distribution

        The vast majority of registrants act lawfully and do not engage in diversion.249 However,
diversion can occur in many ways, including: thefts by employees from hospitals, doctors’
offices, or nursing homes; armed robberies of pharmacies; night-time burglaries of pharmacies;
hijackings of prescriptions in transit; use of forged or altered prescriptions; thefts from the home



249
    MCKMDL00478906, 478908 (“DEA recognizes that the overwhelming majority of
registered distributors act lawfully and take appropriate measures to prevent diversion.”);
Examining the Growing Problems of Prescription Drug and Heroin Abuse, Hearing Before the
Subcomm. on Oversight and Investigations of the H. Comm. on Energy and Commerce, 113th
Cong., 113-140 (2014) (testimony of Joseph T. Rannazzisi, Deputy Assistant Administrator,
Office of Diversion Control, Drug Enforcement Administration) at 76 (“I think that if you are
talking about 99.5 percent of the prescribers, no, they are not overprescribing, but our focus is in
rogue pain clinics and rogue doctors who are overprescribing.”); Challenges and Solutions in the
Opioid Crisis, Hearing Before the H. Comm. on the Judiciary, 115th Cong., 115-57 (2018)
(testimony of Robert Patterson, Acting Administrator, Drug Enforcement Administration) at 32
(“But I go back to the fact that I look at the vast majority of doctors: 99.99 percent are all trying
to do right by their patients.”); Prevoznik Rule 30(b)(6) Dep. (Day 1) 401:5-17 (“Q. As to
prescription opioids, DEA believes that the overwhelming majority of prescribing in America is
conducted responsibly? A. Yes, correct. Q. And DEA has stated that 99.5 percent of
prescribers do not overprescribe opioids? … A. I don’t know that we’ve said 99.5 percent. I’ve
heard the figure 1 to 2 percent.”); Prevoznik Rule 30(b)(6) Dep. (Day 1) 403:14-19 (“Q. So my
question for you, the initial question, was, DEA has publicly stated that 99.5 percent of
prescribers are not overprescribing, correct? A. Correct.”); Prevoznik Rule 30(b)(6) Dep. (Day
2) 445:1-446:1 (“THE WITNESS: With the pharmacy diversion awareness conferences, I was
with Mr. Rannazzisi at those conferences. And when we did the presentation, so that was from --
when I joined -- when I went to headquarters in April 2012, Atlanta was the first PDAC that I
went to. So from that point on, pretty much every time that we had a presentation, we would say
1 to 2 percent [of prescribers diverted opioids]. So that is the figure that I know of, 1 to 2
percent. … Q. Okay. Would you agree then that not all registrants distributed controlled
substance to the 1 or 2 percent of prescribers who diverted opioids from 2005 to 2018? ... [A.] I
would be speculating on that, but, yes.”); Ashley Dep. 329:14-22 (“Q. In your, frankly,
remarkable career of rising from a secretary all the way up to an executive at DEA, isn't it the
case, Ms. Ashley, that the vast majority of registrants with whom you dealt were trying to
comply with the CSA and the implementing regs? … [A.] I agree with that, yes.”).


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by family, friends, or strangers.250 All of these types of diversion happen outside the closed
system of distribution and outside of the control of registrants. In fact, DEA has repeatedly
acknowledged that the “most frequent method of obtaining a pharmaceutical controlled
substance for non-medical use” is from “friends and family … for free!!”251

       H.      Individual Bad Actors Responsible for Opioid-Related Problems in
               Cuyahoga County and Summit County

         As examples of the trends and factors I describe above, there are numerous individual
bad actors that are responsible for the opioid-related problems in Cuyahoga County and Summit
County—including employees of the plaintiffs themselves. Appendix A provides a summary of
individuals (who are not parties to this case) who have been indicted, convicted, sued,
disciplined, or otherwise found or allegedly found responsible for misconduct involving
prescription opioids or illicit opioids in Cuyahoga County or Summit County since 1996. This
includes at least 42 medical doctors, medical clinics, and other prescribers who have engaged or
allegedly engaged in conduct related to improperly prescribing or diverting prescription opioids;
at least 17 pharmacies, pharmacists, and pharmacy technicians who have engaged or allegedly
engaged in conduct related to improperly dispensing or diverting prescription opioids; at least
460 additional individuals who have engaged or allegedly engaged in conduct related to
diversion of prescription opioids, such as theft, forgery of prescriptions, re-sale or gifting of
prescription opioids received through a prescription, or the acquisition of multiple prescriptions
through “doctor-shopping”; and at least 701 individuals have engaged or allegedly engaged in
conduct related to trafficking of illegal opioids, including (among others) heroin, fentanyl, and
carfentanil. The documents cited in Appendix A therefore show widespread illegal and

250
   Drug Enforcement Administration, Controlled Substance and Legend Drug Diversion; A Law
Enforcement and Regulatory Perspective, https://www.deadiversion.usdoj.gov/mtgs/
pharm_awareness/conf_2014/sept_2014/rannazzisi.pdf (2014) (last visited May 29, 2019) at 162
(describing “Methods of Diversion” in presentation to pharmacists); Martin Dep. 191:3-196:19
(confirming that “theft of prescription opioids from a delivery truck,” theft from a pharmacy,”
“theft from a hospital,” “pill sharing,” “doctor shopping,” and “forged prescriptions” are all
forms of diversion).
251
   Drug Enforcement Administration, Drug Trends, https://www.deadiversion.usdoj.gov/
mtgs/pharm_awareness/conf_2012/march_2012/drug_trends_0329.pdf (2012) (last visited May
29, 2019) at 25; Drug Enforcement Administration, DEA Perspective: Pharmaceutical Use &
Abuse, https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/conf_2013/august_2013/
prevoznik.pdf (2013) (last visited May 29, 2019) at 14; Drug Enforcement Administration, DEA
Perspective: Pharmaceutical Use & Abuse, https://www.deadiversion.usdoj.gov/mtgs/
pharm_awareness/conf_2014/july_2014/prevoznik.pdf (last visited May 29, 2019) at 29; Drug
Enforcement Administration, DEA Trends & Update, https://www.deadiversion.usdoj.gov/mtgs/
pharm_awareness/conf_2017/aug5_2017/carrion.pdf (2017) (last visited May 29, 2019) at 27;
DEA’s 17th National Prescription Drug Take Back Day Yields Fruitful Results in Georgia
(2019), https://www.dea.gov/press-releases/2019/05/06/deas-17th-national-prescription-drug-
take-back-day-yields-fruitful (last visited May 29, 2019) (“Studies show that a majority of
abused prescription drugs are obtained from family and friends, including from the home
medicine cabinet.”);


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professionally improper conduct in Summit County and Cuyahoga County that is the direct cause
of abuse of prescription opioids. Here are just a few examples:

               1.     Prescribing Practitioners

                      a)      Dr. Gregory Ingram

        Dr. Gregory Ingram, a medical doctor working at Akron General Medical Center’s
Emergency Department in Akron, Ohio, was indicted on May 28, 2015 in the Northern District
of Ohio on charges including distributing oxycodone, hydromorphone, Roxicet, and tramadol
outside the usual course of professional practice and not for a legitimate medical purpose, in
violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). According to the indictment, Dr. Ingram
traded the illegal prescriptions for money and sexual favors, including with contacts that he met
at dancing and strip clubs, between November 2012 and October 2014. Dr. Ingram pled guilty to
all charges, and his own sentencing memorandum acknowledged that “he had become the
equivalent of a drug dealer.” He was then sentenced to one year in prison.252

                      b)      Dr. Lorenzo Lalli

         Dr. Lorenzo Lalli, a medical doctor practicing in Cleveland, Ohio, pled guilty on June 16,
2014 to offenses including trafficking, for operating a pill mill out of his medical office and for
selling prescriptions for powerful painkillers and other pharmaceutical drugs. On July 29, 2014,
Dr. Lalli was sentenced to one year in prison and ordered to forfeit $220,000. Dr. Lalli had
earlier (in November 2013) surrendered his medical license to the Medical Board in lieu of
further investigation or formal disciplinary charges.253 Dr. Lalli was identified in the 30(b)(6)
deposition of Cuyahoga County, through designee Assistant Cuyahoga County Prosecutor James
A. Gutierrez, as a doctor who was prosecuted for misconduct related to prescription opioids.

                      c)      The Medical Care Group

        The Medical Care Group, a medical clinic chain, which has had offices in Cleveland,
North Olmsted, Parma, Euclid, and Warrensville Heights, Ohio, was fined $12,500 in April 2017
for charges relating to a doctor-employee’s handing out prescription opioids without an
examination or monitoring of the individuals requesting them.254

               2.     Pharmacies, Pharmacists, and Pharmacy Technicians

                      a)      Michael Baker


252
      MCKPUB00000068; MCKPUB00000071; MCKPUB00000065; MCKPUB00024537.
253
  CLEVE_001486342; MCKPUB00000304; MCKPUB00000306; MCKPUB00024546;
Summit County & City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.
254
      MCKPUB00000362; MCKPUB00000365; MCKPUB00003647.


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        Michael Baker was licensed to practice pharmacy in Ohio. During an investigation,
video cameras recorded Mr. Baker stealing drugs at Heritage Square Pharmacy on two occasions
on January 28, 2015. When confronted by investigators, Mr. Baker had oxycodone pills that had
not been legally prescribed on his person and admitted that he had stolen hydrocodone and
oxycodone from the pharmacy for at least one year. On August 5, 2015, the Board of Pharmacy
indefinitely suspended Mr. Baker’s license to practice pharmacy.255 On September 12, 2017, Mr.
Baker’s license was reinstated subject to terms of probation.256 In an interrogatory response,
Plaintiffs Summit County and the City of Akron named Mr. Baker as a pharmacist who was
investigated in August 2015 for the diversion of prescription opioids, in relation to Heritage
Square Pharmacy.257

                      b)     Robert J. Roth

        Robert J. Roth was licensed to practice pharmacy in Ohio. Mr. Roth was indicted on
February 28, 2018 for offenses including intentionally creating and/or knowingly possessing a
false or forged prescription in violation of Ohio Rev. Code § 2925.25(B)(1). He was charged
with forging a prescription for hydrocodone homatropine cough syrup on May 13, 2014, while
he was a pharmacist at Parkway Pharmacy in Cleveland, Ohio. Mr. Roth pled guilty on June 26,
2018 in the Cuyahoga County Court of Common Pleas, and he was sentenced to six days of
community control and one hundred hours of community service. Under his plea agreement, Mr.
Roth also was required to surrender his pharmacy license and sell his interest in Parkway
Pharmacy.258

              3.      Individuals and Entities Involved in Diversion of Prescription Opioids

                      a)     Rebecca Jo Collen, R.N.

       Rebecca Jo Collen, R.N. had her license to practice nursing indefinitely suspended by the
Board of Nursing on July 31, 2015. While working as a nurse at the Cleveland Clinic in
Cleveland, Ohio, Ms. Collen diverted fentanyl by using a sterile syringe to remove fentanyl from
intravenous therapy (“IV”) bags that were hung for administration to patients.259

                      b)     Kathleen A. Burgan

      Kathleen A. Burgan of Cleveland, Ohio pled guilty on February 7, 2014 in the Cuyahoga
County Court of Common Pleas to offenses including deception to obtain a dangerous drug,

255
      SUMMIT_002053458.
256
      MCKPUB00000727.
257
    Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen,
at 5.
258
      CUYAH_000080214; MCKPUB00000807; MCKPUB00000808; MCKPUB00000810.
259
  OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076435;
MCKPUB00005188.


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namely Percocet. According to a police report, Ms. Burgan filled multiple fraudulent
prescriptions for Percocet at a pharmacy in Cleveland, all printed on stock copy paper with black
grease smudges; Detective John Prince noted his belief that the suspect or her co-conspirators
“intentionally attempted to corrupt the prescriptions in order to make them look worn and draw
less scrutiny from a diligent Pharmacist.” Ms. Burgan was sentenced to one year of community
control.260

                      c)      Lisa A. Rzeszotarski

       Lisa A. Rzeszotarski of New Franklin, Ohio pled guilty on March 16, 2015 in the Summit
County Court of Common Pleas to deception to obtain a dangerous drug, namely oxycodone.
She obtained controlled narcotics from at least 32 physicians in the Akron area over twelve
months. Ms. Rzeszotarski was sentenced to one year in prison, suspended provided that she
complete eighteen months of community control.261

                      d)      Alexander Linton

       Alexander Linton of Cuyahoga Falls, Ohio pled guilty on March 1, 2016 in the Summit
County Court of Common Pleas to robbery of oxycodone. Mr. Linton robbed pharmacies in
Stow, Cuyahoga Falls, and Akron, stealing oxycodone and oxymorphone pills at gunpoint.
Linton was sentenced to twelve years in prison.262 Plaintiffs Summit County and the City of
Akron identified Mr. Linton as someone under investigation for diversion.263

               4.     Individuals and Entities Involved in Distribution and Sale of Illegal
                      Opioids

                      a)      Stephen A. Thomas

        Stephen A. Thomas of Maple Heights, Ohio, a corrections officers at Cuyahoga County
Jail, was indicted on May 16, 2019 in the Cuyahoga County Court of Common Pleas on counts
including illegal conveyance of drugs of abuse onto grounds of a governmental facility,

260
      CLEVE_004083991; MCKPUB00024731; MCKPUB00024733; MCKPUB00024736.
261
  AKRON_001283454; MCKPUB00025234; MCKPUB00025235-25237;
MCKPUB00025238-25241.
262
  AKRON_000337173; AKRON_000337174; MCKPUB00025075; MCKPUB00025076;
MCKPUB00025078; MCKPUB00025079; MCKPUB00025081; MCKPUB00025082;
MCKPUB00025084; MCKPUB00025086; MCKPUB00025088.
263
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 240; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 28.


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trafficking in a fentanyl-related compound, trafficking in heroin, and corrupting another with
drugs.264 Mr. Thomas is accused of smuggling heroin and a fentanyl-related compound into
Cuyahoga County Jail for the purpose of selling it to inmates, and selling it to inmates including
to Kelly Angle on January 18, 2019, who overdosed but lived, and David Sowell on May 8,
2019.265 On May 8, 2019, Mr. Thomas was seen on surveillance video going into Mr. Sowell’s
cell and selling him the opioids; Mr. Thomas was arrested later that day.266 Cuyahoga County
Assistant Prosecutor Matthew Meyer said in a court hearing that investigators have evidence that
Mr. Thomas was part of a larger drug- and contraband-smuggling ring.267 The case against Mr.
Thomas is pending.268

                      b)      Antoin Austin

       Antoin Austin of Euclid, Ohio pled guilty on July 24, 2018 in the Northern District of
Ohio to conspiracy to distribute controlled substances, including fentanyl and fentanyl
analogues, attempted possession with intent to distribute fentanyl, distribution of a controlled
substance by means of the internet, advertising controlled substances by means of the internet,
maintaining a drug-involved premises, and maintaining a drug-involved premises near a
school.269 From August 1, 2017 through March 28, 2018, Mr. Austin sold fentanyl on the dark
web from his home.270 Mr. Austin ordered thousands of deadly doses of fentanyl from China.271
On November 5, 2018, Mr. Austin was sentenced to two years’ imprisonment.272

                      c)      Gerald Bowerman

       Gerald Bowerman of Cuyahoga Falls, Ohio pled guilty on August 17, 2018 in the
Northern District of Ohio to conspiracy to possess with intent to distribute fentanyl.273 On April
17, 2018, law enforcement officers surveilled Mr. Bowerman coming and going from an Akron,
Ohio residence. Law enforcement observed Mr. Bowerman carrying a package with him into the
home. They executed a search warrant at the residence later that day and recovered pills on the
kitchen counter next to an empty U.S. Postal Service package. The pills were stamped to look
like oxycodone but were fentanyl and cutting agents. In announcing the indictment, U.S.
Attorney Justin E. Herdman stated, “These arrests helped save at least 1,500 lives.” At the same

264
      CUYAH_002399328; MCKPUB00029992.
265
      MCKPUB00029986; MCKPUB00029992.
266
      MCKPUB00029988.
267
      Id.
268
      MCKPUB00029985.
269
      MCKPUB00006964; MCKPUB00006957.
270
      MCKPUB00006957.
271
      MCKPUB00006978.
272
      MCKPUB00006966; MCKPUB00006974; MCKPUB00006981.
273
      MCKPUB00013570.


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 time, Akron Police Chief Kenneth Ball described the defendants as "criminal predators[who]
 were willing to put so many at great risk by poisoning prescription drugs with fentanyl."^^"* Mr.
 Bowerman is awaiting sentencing.^^^
                        d)     Da'Nico D. Geter

          Da'Nico D."Dupree" Geter of Akron, Ohio has multiple convictions for trafficking
 illegal opioids. Mr. Geter pled guilty on August 12, 2014 in the Summit County Court of
 Common Pleas to trafficking in heroin, and he was sentenced to six months in prison. On April
 7, 2016, Mr. Geter was convicted of trafficking in heroin, and he was sentenced to eighteen
 months in prison. On October 6,2017, Mr. Geter was indicted in the Summit County Court of
 Common Pleas on multiple charges, including aggravated trafficking in drugs and possession of
 drugs, including fentanyl. The indictment was dismissed because Mr. Geter was indicted in the
 Northern District of Ohio on January 10, 2018. On March 23,2018, Mr. Geter pled guilty to
 possession with intent to distribute carfentanil and possession of a firearm in furtherance of drug
 trafficking.    During sentencing, the judge noted that Mr. Geter was a "career offender," and
 the "organizer, leader, manager, or supervisor" of his drug trafficking operations. Moreover,the
 sentencing judge observed that Mr. Geter's criminal history showed that "each time [he's] been
 incarcerated,[he's] turned back to the same type of dealing."^^^ Upon learning that Mr. Geter
 was pleading guilty, Akron ChiefofPolice Kenneth Ball said that"310 people have died as a
 result of drug overdoses in Akron since the start of 2016. Drug dealers like Da'Nico Geter are
 largely responsible."^^® Mr. Geter was sentenced on June 7,2018 to 300 months in prison,
 including 240 months for the carfentanil offense.




  Dated: May 31, 2019




    MCKPUB00013583.

    MCKPUB00013572; MCKPUB00013575; MCKPUBOOO13581.
   AKRON_000201619; MCKPUB00009238; MCKPUB00009240; MCKPUB00009241;
 MCKPUB00009242; MCKPUB00009244; MCKPUB00009245; MCKPUB00009246;
 MCKPUB00009248; MCKPUB00009249; MCKPUB00009250; MCKPUB00009252;
 MCKPUB00009254; MCKPUB00009235.
    MCKPUB00029398.

 27® AKRON_000325481.
 275 MCKPUB00026700; MCKPUB00009255; MCKPUB00009257; MCKPUB00009262;
 MCKPUB00009263.


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                     APPENDIX A
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                                           APPENDIX A


I.       Prescribers Involved In The Diversion Of Prescription Opioids

        At least 42 medical doctors, medical clinics, and other prescribers in Cuyahoga and
Summit Counties: (1) were indicted, with pending charges (4 individuals or entities); (2) were
convicted or pled guilty (13 individuals); (3) had their medical licenses suspended or revoked, or
otherwise faced investigatory or disciplinary action from Ohio state agencies (17 individuals or
entities); (4) were sued for medical malpractice (4 individuals); (5) were sued for civil
injunctions by the U.S. Department of Justice (2 individuals); and/or (6) were identified by
plaintiffs in this litigation as having faced prosecution or disciplinary action or as a contributor to
the alleged opioid crisis (13 individuals or entities), all for conduct related to improperly
prescribing or diverting prescription opioids.1

         Name                                  Sources
    1.   Dr. Syed Jawed Akhtar-Zaidi               MCKPUB00000431
                                                   MCKPUB00000506
                                                   MCKPUB00000508
                                                   MCKPUB00000509
                                                   MCKPUB00004599

    2.   Dr. Haitham Azem                             MCKPUB00000072
                                                      MCKPUB00000073
                                                      MCKPUB00000077
                                                      MCKPUB00000079

    3.   Dr. Stephen Bernie                           CUYAH_000071691
                                                      MCKPUB00000418
                                                      MCKPUB00000421
                                                      MCKPUB00000422
                                                      MCKPUB00000424
                                                      MCKPUB00000429
                                                      MCKPUB00003647
                                                      MCKPUB00029060

    4.   Dr. Toni Carman                              MCKPUB00000522
                                                      MCKPUB00000525
                                                      MCKPUB00004599
                                                      MCKPUB00024496



1
 The numbers provided for each category add up to more than the total because individuals or
entities sometimes fall into more than one category, e.g., the individual or entity both was
convicted and professionally disciplined.

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       Name                            Sources
 5.    Dr. Ronald Celeste                  MCKPUB00000393
                                           MCKPUB00000395
                                           MCKPUB00024498

 6.    Dr. Thomas L. Craig III                MCKPUB00000509
                                              MCKPUB00000513
                                              MCKPUB00000514
                                              MCKPUB00000519
                                              MCKPUB00024499

 7.    Dr. David Carl Ernst                   Ohio_State_Medical_Board_00018962
                                              MCKPUB00024501


 8.    Dr. Matthew Henry Evenhouse            Ohio_State_Medical_Board_00003769
                                              Ohio_State_Medical_Board_00009060
                                           

 9.    Dr. Bruce Feldman                      MCKPUB00000042
                                              MCKPUB00000044


 10.   Dr. Maged Fouad                        Summit County and the City of Akron,
                                               Ohio’s Amended Responses and
                                               Objections to the Manufacturer
                                               Defendants’ First Set of Interrogatories and
                                               the National Retail Pharmacy Defendants’
                                               First Set of Interrogatories

 11.   Dr. Gregory Gerber                     MCKPUB00024505
                                              Ohio BOPMDL044632
                                              City of Cleveland’s Amended and
                                               Supplemental Responses and Objections to
                                               Distributor Defendants’ Interrogatories
                                              Cuyahoga County’s Supplemental
                                               Response and Objections to Distributor
                                               Defendants’ Interrogatories
                                              Summit County and City of Akron, Ohio
                                               Plaintiff’s Supplemental Responses and
                                               Objections to Distributor Defendants’
                                               Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16,
                                               17, 23, 24, 27 & 29


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       Name                              Sources
 12.   Dr. Marcellus JaJuan Gilreath         MCKPUB00000307
                                             MCKPUB00000359


 13.   Dr. Aimee Haber                          MCKPUB00024509



 14.   Dr. Ghassan Haddad                       MCKPUB00000052
                                                MCKPUB00000056
                                                MCKPUB00000058
                                                MCKPUB00000059

 15.   Dr. Adolph Harper, Jr                    MCKPUB00000001
                                                MCKPUB00000004
                                                MCKPUB00000007
                                                MCKPUB00000024
                                                MCKPUB00024512
                                                MCKPUB00004923
                                                Summit County & City of Akron, Ohio
                                                 Plaintiff First Amended Responses and
                                                 Objections to Distributor Defendants’ First
                                                 Set of Interrogatories

 16.   Dr. Brian Heim                           MCKPUB00000033
                                                MCKPUB00000036
                                                MCKPUB00000039
                                                MCKPUB00000041
                                                MCKPUB00024532
                                                MCKPUB00024533
                                                Summit County & City of Akron, Ohio
                                                 Plaintiff First Amended Responses and
                                                 Objections to Distributor Defendants’ First
                                                 Set of Interrogatories
                                                Plaintiffs’ Responses to the Amended and
                                                 Clarified Discovery Ruling 12
                                                 Supplemental Interrogatory Issued to
                                                 Plaintiffs
                                                City of Cleveland’s Amended and
                                                 Supplemental Responses and Objections to
                                                 Distributor Defendants’ Interrogatories




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       Name                          Sources
                                         Cuyahoga County’s Supplemental
                                           Response and Objections to Distributor
                                           Defendants’ Interrogatories
                                         Cuyahoga County’s Replacement
                                           Supplemental Response and Objections to
                                           Manufacturer Defendants’ Interrogatories
                                         Summit County and City of Akron, Ohio
                                           Plaintiff’s Supplemental Responses and
                                           Objections to Distributor Defendants’
                                           Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16,
                                           17, 23, 24, 27 & 29

 17.   Dr. Juan Hernandez                  MCKPUB00000105



 18.   Dr. William Husel                   MCKPUB0002378




 19.   Dr. Gregory Ingram                  MCKPUB00000065
                                           MCKPUB00000068
                                           MCKPUB00000071
                                           MCKPUB00024537

 20.   Dr. John Kavlich III                MCKPUB00000097
                                           MCKPUB00000100
                                           MCKPUB00000103

 21.   Matthew D. Kellems                  Ohio_State_Medical_Board_00034118



 22.   Dr. William Balint Kerek            Ohio_State_Medical_Board_00005249
                                           Ohio_State_Medical_Board_00092678


 23.   Dr. Tony Lababidi                   Summit County and the City of Akron,
                                            Ohio’s Amended Responses and
                                            Objections to the Manufacturer
                                            Defendants’ First Set of Interrogatories and



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       Name                              Sources
                                               the National Retail Pharmacy Defendants’
                                               First Set of Interrogatories


 24.   Dr. Lorenzo Lalli                        CLEVE_001486342
                                                MCKPUB00000304
                                                MCKPUB00000306
                                                MCKPUB00024546
                                                Summit County & City of Akron, Ohio’s
                                                 Amended Responses and Objections to the
                                                 Manufacturer Defendants’ First Set of
                                                 Interrogatories and the National Retail
                                                 Pharmacy Defendants’ First Set of
                                                 Interrogatories

 25.   Dr. Frank Lazzerini                      Summit County and the City of Akron,
                                                 Ohio’s Amended Responses and
                                                 Objections to the Manufacturer
                                                 Defendants’ First Set of Interrogatories and
                                                 the National Retail Pharmacy Defendants’
                                                 First Set of Interrogatories

 26.   Dr. Joseph Francis Lydon, Jr.            Ohio_State_Medical_Board_00016487
                                                MCKPUB00024548


 27.   Dr. Mark S. McAllister                   Ohio_State_Medical_Board_00000830




 28.   The Medical Care Group                   MCKPUB00000362
                                                MCKPUB00000365
                                                MCKPUB00003647

 29.   Dr. John Nickels                         Summit County and the City of Akron,
                                                 Ohio’s Amended Responses and
                                                 Objections to the Manufacturer
                                                 Defendants’ First Set of Interrogatories and
                                                 the National Retail Pharmacy Defendants’
                                                 First Set of Interrogatories




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       Name                           Sources
 30.   Dr. Samuel Nigro                   CUYAH_000054406
                                          MCKPUB00000398
                                          MCKPUB00000401
                                          MCKPUB00000403
                                          MCKPUB00000406
                                          MCKPUB00000408

 31.   Dr. Charles Chiedo Njoku              Summit County and City of Akron, Ohio
                                              Plaintiffs’ First Amended Responses and
                                              Objections to the National Retail Pharmacy
                                              Defendants’ First Set of Interrogatories

 32.   Northeast Ohio Pain Clinic            Cuyahoga County (Gilson) Deposition
                                              Transcript


 33.   Dr. Jayati Gupta Rakhit               MCKPUB00000024




 34.   Dr. Ashis K. Rakhit                   MCKPUB00000030



 35.   Dr. Rakesh Ranjan                     SUMMIT_001444018
                                             Summit County and City of Akron, Ohio
                                              Plaintiff’s Supplemental Responses and
                                              Objections to Distributor Defendants’
                                              Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16,
                                              17, 23, 24, 27 & 29

 36.   Dr. George Smirnoff                   MCKPUB00000047
                                             Gutierrez Deposition Transcript


 37.   Dr. Kutaiba Tabaa                     MCKPUB00000294
                                             MCKPUB00000297
                                             MCKPUB00000300
                                             MCKPUB00000301




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       Name                                  Sources
 38.   Dr. Margy Temponeras                      CUYAH_009529668
                                                 MCKPUB00024559
                                                 City of Cleveland’s Amended and
                                                   Supplemental Responses and Objections to
                                                   Distributor Defendants’ Interrogatories
                                                 Cuyahoga County’s Supplemental
                                                   Interrogatory Responses and Objections to
                                                   Distributor Defendants’ Interrogatories
                                                 Summit County and City of Akron, Ohio
                                                   Plaintiff’s Supplemental Responses and
                                                   Objections to Distributor Defendants’
                                                   Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16,
                                                   17, 23, 24, 27 & 29

 39.   Dr. Michael P. Tricaso                       MCKPUB00000367
                                                    MCKPUB00000383
                                                    MCKPUB00000386
                                                    MCKPUB00000388

 40.   Dr. Herman Weaver                            MCKPUB00023800
                                                    MCKPUB00023801
                                                    MCKPUB00023806

 41.   Dr. Richard Mark Weil                        Ohio_State_Medical_Board_00034118
                                                    MCKPUB00024569


 42.   Dr. Jerome Yokiel                            Ohio_State_Medical_Board_00088369
                                                    Summit County and the City of Akron,
                                                     Ohio’s Amended Responses and
                                                     Objections to the Manufacturer
                                                     Defendants’ First Set of Interrogatories and
                                                     the National Retail Pharmacy Defendants’
                                                     First Set of Interrogatories


II.    Pharmacies, Pharmacists, And Pharmacy Technicians Involved In The Diversion Of
       Prescription Opioids

        At least 17 pharmacies, pharmacists, and pharmacy technicians in Cuyahoga and Summit
Counties: (1) were convicted or pled guilty (6 individuals); (2) had their licenses to practice
pharmacy suspended or revoked (16 individuals or entities); and/or (3) were identified by
plaintiffs in this litigation as the subjects of investigation (12 individuals or entities), all for
conduct related to improperly dispensing or diverting prescription opioids.

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      Name                     Sources
 1.   Michael Baker                MCKPUB00000727
                                   SUMMIT_002053458
                                   Summit County and City of Akron, Ohio
                                     Plaintiff’s Supplemental Responses and
                                     Objections to Distributor Defendants’
                                     Interrogatory Number 3 as Rewritten by Special
                                     Master David Cohen

 2.   Thomas Lawrence Bridge         SUMMIT_002053119
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 3.   Steven J. Brownsberger         MCKPUB00000814
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 4.   Chesterfield Pharmacy          MCKPUB00000551
                                     SUMMIT_002053165
                                     Plaintiff the City of Cleveland’s Supplemental
                                      Response and Objections to Distributor
                                      Defendants’ Interrogatory Number 3 as Rewritten
                                      by Special Master David Cohen
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 5.   Jill Kristen Caruso            MCKPUB00000634
                                     SUMMIT_002053360
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 6.   Kevin Chakos                   BOP_MDL053938
                                     Ohio BOP00003192




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      Name                     Sources
 7.   Emil Dontenville             MCKPUB00024575
                                   Ohio BOP00008824



 8.   William David Hipp             MCKPUB00000881
                                     SUMMIT_002053323
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 9.   John H. Lafferty               MCKPUB00000664
                                     SUMMIT_002053107
                                     SUMMIT_002053116
                                     Plaintiff the City of Cleveland’s Supplemental
                                      Response and Objections to Distributor
                                      Defendants’ Interrogatory Number 3 as Rewritten
                                      by Special Master David Cohen
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 10. Imogene Carol Maynard           MCKPUB00000577
                                     MCKPUB00000578
                                     MCKPUB00000580
                                     MCKPUB00000586
                                     SUMMIT_002052981
                                     SUMMIT_002052990
                                     Plaintiff the City of Cleveland’s Supplemental
                                      Response and Objections to Distributor
                                      Defendants’ Interrogatory Number 3 as Rewritten
                                      by Special Master David Cohen
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 11. George W. Mock                  BOP_MDL053938
                                     Ohio BOP00004100




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     Name                      Sources
 12. Suellen Ogden                 MCKPUB00000869
                                   MCKPUB00000871
                                   MCKPUB00000873
                                   SUMMIT_002052993
                                   SUMMIT_002053021
                                   Cuyahoga County’s Supplemental Response and
                                     Objections to Distributor Defendants’
                                     Interrogatory Number 3 as Rewritten by Special
                                     Master David Cohen

 13. Robert W. Przytulski            SUMMIT_002053080
                                     Cuyahoga County, Ohio Plaintiff Supplemental
                                      Response and Objections to Distributor
                                      Defendants’ Interrogatory Number 3 as Rewritten
                                      by Special Master David Cohen
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen

 14. Christopher A. Richard          AKRON_000338159
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29

 15. Robert J. Roth                  CUYAH_000080214
                                     MCKPUB00000807
                                     MCKPUB00000808
                                     MCKPUB00000810
                                     MCKPUB00000812

 16. Anthony Savoca                  MCKPUB00000527
                                     MCKPUB00000529
                                     MCKPUB00000531
                                     Ohio BOP00000690
                                     SUMMIT_002052964
                                     Cuyahoga County’s Supplemental Response and
                                      Objections to Distributor Defendants’
                                      Interrogatory Number 3 as Rewritten by Special
                                      Master David Cohen




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     Name                              Sources
 17. Michelle M. Solnosky                  MCKPUB00000759
                                           SUMMIT_002053029




III.   Individuals Involved In The Diversion of Prescription Opioids

         At least 460 individuals in Cuyahoga and Summit Counties: (1) were indicted, with
pending charges (5 individuals); (2) were convicted or pled guilty (312 individuals); (3) had their
licenses to practice nursing or dentistry suspended, revoked, or voluntarily inactivated/retired
(216 individuals); and/or (4) were identified by plaintiffs in this litigation as subjects of
investigation (10 individuals), all for conduct related to diversion of prescription opioids, such as
theft, forgery of prescriptions, re-sale or gifting of prescription opioids received through a
prescription, or the acquisition of multiple prescriptions through “doctor-shopping.”

       Name                          Sources
1.     Caitlin Ann Abramovich            MCKPUB00001625
                                         OBN_MDL 1st Production 11399
                                         OBN_MDL 1st Production 107561
                                         OBN_MDL 1st Production 161275

2.     Hether M. Adriano                    AKRON_001157373
                                            MCKPUB00024588
                                            MCKPUB00024589
                                            MCKPUB00024591

3.     Joana Agosta                         CUYAH_000038870
                                            MCKPUB00024595
                                            MCKPUB00024597
                                            MCKPUB00024601

4.     Sandra J. Alamo                      CLEVE_004084859
                                            MCKPUB00024603
                                            MCKPUB00024605
                                            MCKPUB00024608

5.     Jamie L. Aleck                       MCKPUB00024610
                                            MCKPUB00024612
                                            MCKPUB00024618




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      Name                        Sources
6.    Marchaz Alexander               CUYAH_000068893
                                      CUYAH_000073557
                                      MCKPUB00004185
                                      MCKPUB00004186
                                      MCKPUB00004188
                                      MCKPUB00004190
                                      MCKPUB00004191
                                      MCKPUB00004193

7.    Nikole M. Ambriola               MCKPUB00004861
                                       OBN_MDL 1st Production 016725



8.    Mychael Andrews                  AKRON_001237601
                                       MCKPUB00024620
                                       MCKPUB00024624
                                       MCKPUB00024625

9.    Michele J. Antonio               OBN_MDL 1st Production 160421
                                       OBN_MDL 1st Production 043086



10.   Catherina Marie Antonelli        MCKPUB00001789




11.   Tillman Appling                  CUYAH_000032685
                                       MCKPUB00006026
                                       MCKPUB00006027
                                       MCKPUB00006033

12.   Orville E. Arbogast              CUYAH_000034712
                                       MCKPUB00004882
                                       MCKPUB00004885
                                       MCKPUB00004886

13.   Julie M. Arnold                  OBN_MDL 1st Production 140843
                                       MCKPUB00003294




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      Name                     Sources
14.   Patricia Arnold              MCKPUB00004916
                                   MCKPUB00004919
                                   MCKPUB00024627
                                   MCKPUB00024663
                                   MCKPUB00024674

15.   Andrew K. Ashcraft            CUYAH_000073599
                                    MCKPUB00001112
                                    MCKPUB00001113
                                    MCKPUB00001117

16.   Nicole Maree Ashworth         OBN_MDL 1st Production 110764
                                    MCKPUB00004793


17.   Paul Aspery                   CUYAH_000036803
                                    MCKPUB00004930
                                    MCKPUB00004931
                                    MCKPUB00004935

18.   Michael Charles Atkins        MCKPUB00004469
                                    OBN_MDL 1st Production 059516
                                    OBN_MDL 1st Production 156153

19.   Gina Marie Atwood             MCKPUB00002718
                                    OBN_MDL 1st Production 107561



20.   Stacy Lynne Azbell            MCKPUB00005723
                                    OBN_MDL 1st Production 085996


21.   Christina Badinski            CUYAH_000073406
                                    MCKPUB00001894
                                    MCKPUB00001896
                                    MCKPUB00001900

22.   James L. Bailey               MCKPUB00024676
                                    MCKPUB00024678
                                    MCKPUB00024683



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      Name                    Sources
23.   Eric J. Baldridge           AKRON_001272589
                                  MCKPUB00024685
                                  MCKPUB00024688
                                  MCKPUB00024689

24.   Caren M. Ball                 AKRON_001216450
                                    MCKPUB00024690
                                    MCKPUB00024692
                                    MCKPUB00024693

25.   Susan Ballish                 CUYAH_000039318
                                    MCKPUB00005783
                                    MCKPUB00005784
                                    MCKPUB00005787

26.   Maegan Balog                  OBN_MDL 1st Production 132477




27.   Marvin Barrett                CUYAH_000040379
                                    MCKPUB00004234
                                    MCKPUB00004235
                                    MCKPUB00004238

28.   Eddie A. Bates                AKRON_000226538
                                    MCKPUB00002565
                                    MCKPUB00002568

29.   Susan Battaglia               CUYAH_000045101
                                    MCKPUB00005839



30.   Jon R. Bauer II               AKRON_000220427
                                    MCKPUB00003257
                                    MCKPUB00003260

31.   Kimberly Lynn Bauer           OBN_MDL 1st Production 001828
                                    OBN_MDL 1st Production 150868




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      Name                    Sources
32.   April Sharice Beasley       MCKPUB00001339
                                  OBN_MDL 1st Production 098951



33.   Jessie R. Bedocs              MCKPUB00003197
                                    OBN_MDL 1st Production 083864



34.   Jason E. Bell                 MCKPUB00002968
                                    MCKPUB00002969
                                    MCKPUB00002972
                                    MCKPUB00002974
                                    OBN_MDL 1st Production 074923

35.   Christy Belt                  CUYAH_000024200
                                    MCKPUB00001962



36.   Melissa K. Bentley            MCKPUB00004440
                                    MCKPUB00004441
                                    MCKPUB00004444
                                    OBN_MDL 1st Production 018725

37.   Sabrina L. Berkley            CUYAH_000039993
                                    MCKPUB00005437
                                    MCKPUB00005439
                                    MCKPUB00005442

38.   Brian D. Berlin               CUYAH_000068976
                                    MCKPUB00001580
                                    MCKPUB00001581
                                    MCKPUB00001584

39.   Tequilla Berry                MCKPUB00005900
                                    MCKPUB00005903
                                    Summit County & City of Akron, Ohio Plaintiff
                                     First Amended Responses and Objections to
                                     Distributor Defendants’ First Set of Interrogatories




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      Name                    Sources
40.   Cassandra Biddulph          CUYAH_000043206
                                  MCKPUB00001776
                                  MCKPUB00001777
                                  MCKPUB00001780

41.   Paul R. Blakeley              MCKPUB00004943
                                    OBN_MDL 1st Production 062107



42.   Susan Dawn Blazeff            OBN_MDL 1st Production 014736
                                    OBN_MDL 1st Production 021117
                                    MCKPUB00005790

43.   Kristen M. Boal               OBN_MDL 1st Production 023282




44.   Asher G. Bobrosky             MCKPUB00024694
                                    MCKPUB00024696
                                    MCKPUB00024699
                                    MCKPUB00024701
                                    MCKPUB00024703
                                    MCKPUB00024705

45.   William E. Booker             CUYAH_000042946
                                    MCKPUB00006185
                                    MCKPUB00006186
                                    MCKPUB00006188

46.   Kimberly Boino                CUYAH_000038080
                                    MCKPUB00003649
                                    MCKPUB00003650
                                    MCKPUB00003652

47.   Linroy Bottoson-Cox           CUYAH_000055865
                                    MCKPUB00004017
                                    MCKPUB00004018
                                    MCKPUB00004021




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      Name                    Sources
48.   David H. Bowins             CUYAH_000068976
                                  MCKPUB00002277
                                  MCKPUB00002280
                                  MCKPUB00002281

49.   Joseph Bowins                 CUYAH_000068976
                                    MCKPUB00003272
                                    MCKPUB00003273
                                    MCKPUB00003276

50.   Angela Kay Boyd               AKRON_001280817
                                    MCKPUB00024707
                                    MCKPUB00024708
                                    MCKPUB00024711

51.   Reid Christian Boyer          OBN_MDL 1st Production 085996
                                    MCKPUB00028911



52.   Bobbie Boylan                 CUYAH_000039531
                                    MCKPUB00001508
                                    MCKPUB00001509
                                    MCKPUB00001511

53.   Nathan Bozeman                CUYAH_000040415
                                    MCKPUB00004764
                                    MCKPUB00004765
                                    MCKPUB00004768

54.   James Brewer                  CLEVE_004086059
                                    MCKPUB00024713
                                    MCKPUB00024715
                                    MCKPUB00024720

55.   James Robert Brent            MCKPUB00002929
                                    OBN_MDL 1st Production 049841



56.   Michael D. Bretz              MCKPUB00004461
                                    MCKPUB00004462
                                    MCKPUB00004464
                                    OBN_MDL 1st Production 122353


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      Name                       Sources
                                     OBN_MDL 1st Production 161507




57.   Michael Robert Briggs           MCKPUB00004539
                                      OBN_MDL 1st Production 098951



58.   Amanda Brittain                 OBN_MDL 1st Production 038993




59.   Dennis M. Brody                 MCKPUB00028954
                                      OBN_MDL 1st Production 010874



60.   Ronald Brooks                   CUYAH_000047522
                                      MCKPUB00005325
                                      MCKPUB00005326
                                      MCKPUB00005329

61.   Jassmen M. Brown                CLEVE_004084859
                                      MCKPUB00024722
                                      MCKPUB00024724
                                      MCKPUB00024729

62.   Rudius Brown                    CUYAH_000047280
                                      MCKPUB00005388
                                      MCKPUB00005390
                                      MCKPUB00005393

63.   Christopher Lee Bruender        OBN_MDL 1st Production 080783
                                      OBN_MDL 1st Production 085996
                                      MCKPUB00001933

64.   Obie Bryant III                 CUYAH_000066532
                                      MCKPUB00004869
                                      MCKPUB00004870
                                      MCKPUB00004873




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      Name                      Sources
65.   Kristin E. Bucce              OBN_MDL 1st Production 140843
                                    MCKPUB00003722



66.   Charles E. Bullard Jr.         CUYAH_000075379
                                     MCKPUB00001849
                                     MCKPUB00001850
                                     MCKPUB00001855

67.   Kathleen A. Burgan             CLEVE_004083991
                                     MCKPUB00024731
                                     MCKPUB00024733
                                     MCKPUB00024736

68.   Judy Burrows                   MCKPUB00003287
                                     MCKPUB00003290



69.   David Adam Butler              OBN_MDL 1st Production 025249
                                     OBN_MDL 1st Production 025254
                                     OBN_MDL 1st Production 025268
                                     MCKPUB00002231

70.   Andrew Byrd                    CUYAH_000049377
                                     MCKPUB00001120
                                     MCKPUB00001121
                                     MCKPUB00001124

71.   James Byrge                    MCKPUB00002871
                                     MCKPUB00002874



72.   Brandon Lovell Campbell        AKRON_001282517
                                     MCKPUB00024743
                                     MCKPUB00024744
                                     MCKPUB00024747

73.   Robert Campbell                CUYAH_000043206
                                     MCKPUB00005274
                                     MCKPUB00005276
                                     MCKPUB00005284



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      Name                    Sources
74.   Mark Lee Cantrell Jr.       OBN_MDL 1st Production 107561
                                  MCKPUB00028962



75.   Nancy Capiccioni              OBN_MDL 1st Production 059516
                                    MCKPUB00004731



76.   Sabrina Carr                  CUYAH_000028937
                                    MCKPUB00005431
                                    MCKPUB00005432
                                    MCKPUB00005435

77.   Carol Carter                  CUYAH_000040415
                                    MCKPUB00001769
                                    MCKPUB00001770
                                    MCKPUB00001773

78.   Tammie Cartwright             CUYAH_014631107
                                    CUYAH_014631148
                                    MCKPUB00024482
                                    MCKPUB00024483
                                    MCKPUB00024486

79.   Stephanie Ann Cestnik         MCKPUB00005740
                                    OBN_MDL 1st Production 102044



80.   Roland Chambers               CUYAH_000036417
                                    MCKPUB00005309
                                    MCKPUB00005310
                                    MCKPUB00005313

81.   Jennifer S. Chan              CUYAH_014631381
                                    MCKPUB00024428
                                    MCKPUB00024429
                                    MCKPUB00024432

82.   Kevin M. Chanowski            MCKPUB00003640
                                    MCKPUB00003641
                                    OBN_MDL 1st Production 132477



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      Name                     Sources
83.   Samuel Clanton               CUYAH_000043206
                                   MCKPUB00005450
                                   MCKPUB00005452
                                   MCKPUB00005455

84.   Brandi R. Clark               AKRON_001158017
                                    MCKPUB00024749
                                    MCKPUB00024750
                                    MCKPUB00024752

85.   Chad E. Cloer                 AKRON_001126245
                                    MCKPUB00024754
                                    MCKPUB00024755
                                    MCKPUB00024757

86.   Lashar Camila Clay            OBN_MDL 1st Production 098951
                                    OBN_MDL 1st Production 102044
                                    MCKPUB00003793

87.   Sandra Colegrove              CUYAH_000041260
                                    MCKPUB00005457
                                    MCKPUB00005458
                                    MCKPUB00005461

88.   Rebecca Jo Collen             MCKPUB00005188
                                    OBN_MDL 1st Production 074923



89.   Jennifer Marie Collins        MCKPUB00003133
                                    OBN_MDL 1st Production 059516



90.   Johnnie Mae Collins           AKRON_001222775
                                    MCKPUB00024759
                                    MCKPUB00024760
                                    MCKPUB00024762

91.   Luis Colon                    CUYAH_000045217
                                    MCKPUB00004162
                                    MCKPUB00004163
                                    MCKPUB00004166



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      Name                    Sources
92.   Anthony Congeni             CUYAH_000027537
                                  CUYAH_000032999
                                  MCKPUB00001283
                                  MCKPUB00001285
                                  MCKPUB00001288
                                  MCKPUB00001290
                                  MCKPUB00001291
                                  MCKPUB00001293

93.   James D. Conley               AKRON_000290826
                                    MCKPUB00002876
                                    MCKPUB00002878

94.   Michael Connelly              MCKPUB00018716
                                    MCKPUB00018717
                                    MCKPUB00018722

95.   Lateris A. Cook               AKRON_001237601
                                    MCKPUB00024765
                                    MCKPUB00024767
                                    MCKPUB00024768

96.   Theodore Cook                 CUYAH_000039385
                                    MCKPUB00005918
                                    MCKPUB00005920
                                    MCKPUB00005923

97.   Tevin Copes                   CUYAH_000071879
                                    MCKPUB00005911
                                    MCKPUB00005914
                                    MCKPUB00005915

98.   Chad Covey                    CUYAH_000038461
                                    MCKPUB00001840
                                    MCKPUB00001841
                                    MCKPUB00001846

99.   Kristina L. Cox               MCKPUB00003740




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     Name                      Sources
100. Myron M. Crowder              CUYAH_000035231
                                   MCKPUB00004716
                                   MCKPUB00004718
                                   MCKPUB00004722

101. Angela Crum                    CUYAH_000039144
                                    MCKPUB00001133
                                    MCKPUB00001134
                                    MCKPUB00001136

102. Terrence L. Crumby             AKRON_001157890
                                    MCKPUB00024769
                                    MCKPUB00024770
                                    MCKPUB00024773

103. Laura Ruth Cupple              MCKPUB00003863
                                    OBN_MDL 1st Production 001828



104. Susan Renee Dalessandro        CLEVE_004084491
                                    MCKPUB00005866
                                    OBN_MDL 1st Production 085996

105. Lisa Marie Darus               MCKPUB00004074
                                    OBN_MDL 1st Production 083864



106. Morgan E. Dasilva              MCKPUB00004696
                                    OBN_MDL 1st Production 014736
                                    OBN_MDL 1st Production 023282

107. Ashley Rebecca Davis           MCKPUB00001417




108. Dorothy R. Davis               OBN_MDL 1st Production 000001




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     Name                        Sources
109. Elizabeth Davis                 MCKPUB00002591
                                     MCKPUB00002600



110. Francisco Davis                  CUYAH_000080300
                                      MCKPUB00002653
                                      MCKPUB00002654
                                      MCKPUB00002657

111. Lauren Marie Davis-Tissue        MCKPUB00003886
                                      OBN_MDL 1st Production 074923
                                      OBN_MDL 1st Production 154020

112. Susan Desimone                   OBN_MDL 1st Production 125822




113. Lamar Dixon                      CUYAH_000029718
                                      MCKPUB00003784
                                      MCKPUB00003785
                                      MCKPUB00003790

114. Audrey Marie Domzalski           OBN_MDL 1st Production 059516
                                      MCKPUB00001485



115. Jose Dones                       CUYAH_000072439
                                      MCKPUB00003266
                                      MCKPUB00003267
                                      MCKPUB00003270

116. Tiffany L. Dosztal               OBN_MDL 1st Production 031252
                                      MCKPUB00006015
                                      MCKPUB00006016
                                      MCKPUB00006019

117. Ashley Elizabeth Doyle           MCKPUB00001359




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     Name                       Sources
118. Gregory Dresko                 CUYAH_000045174
                                    MCKPUB00002756
                                    MCKPUB00002758
                                    MCKPUB00002762

119. Grace Genevieve Drouhard        MCKPUB00002734
                                     OBN_MDL 1st Production 085996
                                     OBN_MDL 1st Production 107561
                                     OBN_MDL 1st Production 152407

120. Dawn Marie Dupont               MCKPUB00002307




121. Crystal M. Dyer                 AKRON_001227274
                                     MCKPUB00024776
                                     MCKPUB00024777
                                     MCKPUB00024779

122. Thomas Eckel                    AKRON_001312626
                                     AKRON_001312627
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29

123. Troy Edgehouse                  AKRON_001247770
                                     AKRON_001247771
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29

124. Suzanne Lee Edwards             MCKPUB00005879
                                     OBN_MDL 1st Production 023282



125. Lindsay Marie                   MCKPUB00003976
     Eichenberger                    OBN_MDL 1st Production 11399




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     Name                     Sources
126. Amon Elliott                 CUYAH_006985926
                                  MCKPUB00001064
                                  MCKPUB00001065
                                  MCKPUB00001068

127. Daniel P. Ellis                MCKPUB00024781
                                    MCKPUB00024784
                                    MCKPUB00024785
                                    MCKPUB00024787
                                    SUMMIT_000519619

128. Amy C. Eloshway                OBN_MDL 1st Production 003315




129. Louis Eppinger                 MCKPUB00004152
                                    MCKPUB00004155



130. Asmar J. Epps                  AKRON_001275171
                                    MCKPUB00024790
                                    MCKPUB00024791
                                    MCKPUB00024793

131. Melissa Ermacora               CUYAH_000045106
                                    MCKPUB00004393
                                    OBN_MDL 1st Production 029049

132. Ashley Evans                   AKRON_001150411
                                    AKRON_001278322
                                    Summit County and City of Akron, Ohio
                                     Plaintiff’s Supplemental Responses and
                                     Objections to Distributor Defendants’
                                     Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                     24, 27 & 29

133. Tina Evans                     CUYAH_006985926
                                    MCKPUB00006043
                                    MCKPUB00006044
                                    MCKPUB00006046




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     Name                      Sources
134. Tiauna C. Farrow              CUYAH_000032131
                                   MCKPUB00006007
                                   MCKPUB00006008
                                   MCKPUB00006012

135. Darrin Fears                   CUYAH_000071356
                                    MCKPUB00002222
                                    MCKPUB00002223
                                    MCKPUB00002228

136. Christopher E. Feiteira        MCKPUB00024797
                                    MCKPUB00024800
                                    MCKPUB00024801
                                    MCKPUB00024804
                                    SUMMIT_000519619

137. Rachael J. Figuly              CUYAH_000045099
                                    MCKPUB00005053
                                    OBN_MDL 1st Production 083864

138. Morgan Elizabeth               CUYAH_000039060
     Fitzmaurice                    MCKPUB00004676



139. Michael J. Folczynski          OBN_MDL 1st Production 135369
                                    OBN_MDL 1st Production 150318



140. Pamela Ford                    OBN_MDL 1st Production 025450
                                    OBN_MDL 1st Production 025457
                                    MCKPUB00004897

141. Tammy S. Forrest               OBN_MDL 1st Production 001828
                                    OBN_MDL 1st Production 155386



142. Antwane L. Foster              AKRON_001280360
                                    MCKPUB00024835
                                    MCKPUB00024836
                                    MCKPUB00024839



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     Name                     Sources
143. Nyeisha Foster               CUYAH_006985926
                                  MCKPUB00004864
                                  MCKPUB00004865
                                  MCKPUB00004867

144. Thomas Lee Fowkes              MCKPUB00005981
                                    OBN_MDL 1st Production 010874



145. Martha Jane Fries              MCKPUB00004226
                                    OBN_MDL 1st Production 110764



146. Sonja Fulton                   MCKPUB00005595




147. Naisha C. Gardner              CUYAH_000032131
                                    MCKPUB00004724
                                    MCKPUB00004725
                                    MCKPUB00004728

148. Carmine J. Gargano             CUYAH_000043892
                                    MCKPUB00001763
                                    MCKPUB00001764
                                    MCKPUB00001767

149. John A. Gibson Jr.             AKRON_001157614
                                    MCKPUB00024842
                                    MCKPUB00024843
                                    MCKPUB00024845

150. Debra D. Gill                  MCKPUB00002342
                                    OBN_MDL 1st Production 021117



151. Gurkiran (Karen) Gill          MCKPUB00002765
                                    OBN_MDL 1st Production 025481
                                    OBN_MDL 1st Production 025489




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     Name                     Sources
152. Faith Elaine Gingerich       MCKPUB00002630
                                  OBN_MDL 1st Production 107561
                                  OBN_MDL 1st Production 156827

153. Brittany N. Glass              MCKPUB00001604
                                    MCKPUB00001607



154. Christopher Glatzer            MCKPUB00008973
                                    MCKPUB00008975
                                    MCKPUB00008977

155. Mark Glockner                  CUYAH_000039867
                                    MCKPUB00004216
                                    MCKPUB00004217
                                    MCKPUB00004219

156. Margaret Mariam Goetz          OBN_MDL 1st Production 132477
                                    OBN_MDL 1st Production 152729



157. Kandi Renee Gold               OBN_MDL 1st Production 072083
                                    MCKPUB00003314



158. Kristy Jean Goldrick           BN_MDL 1st Production 107561
                                    MCKPUB00003679


159. Richard A. Gomez               MCKPUB00024849
                                    MCKPUB00024852
                                    MCKPUB00024853
                                    MCKPUB00024855
                                    SUMMIT_000519619

160. Franklin Goodrich              CUYAH_000043206
                                    MCKPUB00002666
                                    MCKPUB00002668
                                    MCKPUB00002671



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     Name                     Sources
161. Elizabeth Ann Grabiec        MCKPUB00002602
                                  OBN_MDL 1st Production 033744



162. Michael D. Grant II            CUYAH_000057784
                                    MCKPUB00004512
                                    MCKPUB00004513
                                    MCKPUB00004516

163. David Graybill                 CUYAH_000043206
                                    MCKPUB00002270
                                    MCKPUB00002272
                                    MCKPUB00002275

164. Amanda C. Greene               MCKPUB00000952
                                    MCKPUB00000954
                                    MCKPUB00000957
                                    OBN_MDL 1st Production 135369
                                    OBN_MDL 1st Production 155070

165. Ashley Marie Greene            MCKPUB00001375




166. Amanda Griss                   MCKPUB00000959
                                    OBN_MDL 1st Production 026476



167. Jennifer A. Grubb              AKRON_001276829
                                    MCKPUB00024859
                                    MCKPUB00024860
                                    MCKPUB00024862

168. Anmarie Gum                    MCKPUB00001155
                                    OBN_MDL 1st Production 043086
                                    OBN_MDL 1st Production 054509
                                    OBN_MDL 1st Production 077501

169. Nicole M. Guzman               OBN_MDL 1st Production 132477
                                    OBN_MDL 1st Production 138020




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     Name                      Sources
170. Robert A. Halabica            CUYAH_000023705
                                   MCKPUB00005269
                                   MCKPUB00005270
                                   MCKPUB00005272

171. Aaron Hall                     CUYAH_006985926
                                    MCKPUB00000905
                                    MCKPUB00000906
                                    MCKPUB00000908

172. Peggy Lynn Hamilton            MCKPUB00005004
                                    MCKPUB00005005
                                    MCKPUB00005008
                                    OBN_MDL 1st Production 129446

173. William Luther Hamilton        MCKPUB00006190
                                    OBN_MDL 1st Production 026480
                                    OBN_MDL 1st Production 031252

174. Jamie L. Hammonds              AKRON_000216740
                                    MCKPUB00002947
                                    MCKPUB00002950

175. Tina Marie Hanish              MCKPUB00006048
                                    OBN_MDL 1st Production 107561



176. Adria Harper                   MCKPUB00000910
                                    MCKPUB00004923
                                    MCKPUB00024864
                                    MCKPUB00024939

177. David A. Harris Jr.            AKRON_001157676
                                    MCKPUB00025014
                                    MCKPUB00025015
                                    MCKPUB00025017

178. Lavelle Harris                 CUYAH_000051471
                                    MCKPUB00003922
                                    MCKPUB00003923
                                    MCKPUB00003925



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     Name                         Sources
179. Monique Harris                   MCKPUB00004634
                                      MCKPUB00004636
                                      MCKPUB00004640
                                      MCKPUB00004642
                                      OBNMDL 1st Production 095701
                                      OBN_MDL 1st Production 110764

180. Angela L. Harrison                CUYAH_000036140
                                       MCKPUB00001144
                                       MCKPUB00001145
                                       MCKPUB00001148

181. Sheila S. Harvey                  CUYAH_000047522
                                       MCKPUB00005537
                                       MCKPUB00005538
                                       MCKPUB00005541

182. Mary A. Havran                    MCKPUB00004241
                                       OBN_MDL 1st Production 003315
                                       OBN_MDL 1st Production 033744

183. Cynthia S. Hawkins                OBN_MDL 1st Production 000001




184. Karen L. Hawkins                  OBN_MDL 1st Production 016725




185. Christina Elizabeth Haynes        MCKPUB00001902
                                       OBN_MDL 1st Production 074923
                                       OBN_MDL 1st Production 154020

186. Timothy J. Haywood                CUYAH_000053407
                                       CUYAH_000053812
                                       MCKPUB00006036
                                       MCKPUB00006038
                                       MCKPUB00006041




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     Name                      Sources
187. Maureen Shannon Henry         MCKPUB00004316
                                   OBN_MDL 1st Production 010874



188. Nicholas Hershbach             CUYAH_000036937
                                    MCKPUB00019051
                                    MCKPUB00019052
                                    MCKPUB00019056

189. Lisa Ann Hickin                MCKPUB00004024
                                    OBN_MDL 1st Production 085996



190. Daniel C. Higgins              MCKPUB00002101
                                    OBN_MDL 1st Production 021117



191. Thomas S. Hilbert              MCKPUB00005944
                                    MCKPUB00005945
                                    MCKPUB00005947
                                    OBN_MDL 1st Production 135369
                                    OBN_MDL 1st Production 150318

192. Michael W. Hilditch            AKRON_001286931
                                    MCKPUB00025019
                                    MCKPUB00025020
                                    MCKPUB00025023

193. Howard H. Hills Jr.            AKRON_001157119
                                    MCKPUB00025025
                                    MCKPUB00025026
                                    MCKPUB00025028

194. Sean Christopher Hinkle        MCKPUB00005473
                                    MCKPUB00005474
                                    MCKPUB00005477
                                    OBN_MDL 1st Production 056992

195. Rosemary Anne Hite             MCKPUB00005363
                                    MCKPUB00005365
                                    MCKPUB00005369
                                    MCKPUB00005371

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      Name                    Sources
                                  OBN_MDL 1st Production 010874




196. Angela Holcepl                 CUYAH_000035541
                                    MCKPUB00001138
                                    MCKPUB00001139
                                    MCKPUB00001142

197. Tara Marie Holodnak            MCKPUB00005892
                                    OBN_MDL 1st Production 003315



198. Wayne Holt                     CUYAH_000026442
                                    MCKPUB00006178
                                    MCKPUB00006180
                                    MCKPUB00006183

199. Morrisa Hooker                 AKRON_001218850
                                    MCKPUB00025030
                                    MCKPUB00025031
                                    MCKPUB00025034

200. Jesse L. Ho Jr.                CUYAH_000038383
                                    MCKPUB00003187
                                    MCKPUB00003189
                                    MCKPUB00003194

201. Gayle Ellen Houdek             MCKPUB00002689
                                    OBN_MDL 1st Production 11399



202. Molly Sue Howard               MCKPUB00004602
                                    OBN_MDL 1st Production 098951



203. Amy Heather Hudson             MCKPUB00001071
                                    OBN_MDL 1st Production 107561




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     Name                     Sources
204. James Hudson-Bey             CUYAH_000032131
                                  MCKPUB00002879
                                  MCKPUB00002880
                                  MCKPUB00002885

205. Crystal Lynn Huffman           OBN_MDL 1st Production 069491




206. Shawn W. Hughes                CUYAH_000047665
                                    MCKPUB00005531
                                    MCKPUB00005532
                                    MCKPUB00005535

207. Theresa Impala                 CUYAH_000050322
                                    MCKPUB00005925



208. Anthony Jackson                CUYAH_000034367
                                    MCKPUB00001299
                                    MCKPUB00001300
                                    MCKPUB00001302

209. Gail Jackson                   CUYAH_000026442
                                    MCKPUB00002673
                                    MCKPUB00002674
                                    MCKPUB00002679

210. Russell R. James               CUYAH_000038775
                                    CUYAH_000039842
                                    MCKPUB00005403
                                    MCKPUB00005405
                                    MCKPUB00005408
                                    MCKPUB00005395
                                    MCKPUB00005397
                                    MCKPUB00005400

211. Thomas J. Janecko              MCKPUB00005949
                                    OBN_MDL 1st Production 010874
                                    OBN_MDL 1st Production 023282




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      Name                     Sources
 212. Alice V. Johnson             CUYAH_000048938
                                   MCKPUB00000913
                                   MCKPUB00000914
                                   MCKPUB00000917

 213. Jaime Lyn Johnson              MCKPUB00002951
                                     OBN_MDL 1st Production 059516



 214. Perry Johnson                  MCKPUB00005010
                                     MCKPUB00005017
                                     MCKPUB00005019
                                     MCKPUB00005025
                                     MCKPUB00005031
                                     MCKPUB00005032
                                     MCKPUB00005040
                                     MCKPUB00005042

 215. Vince R. Johnson Jr.           AKRON_001208468
                                     SUMMIT_000407368
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Replacement Supplemental Responses
                                      and Objections to Manufacturer Defendants’
                                      Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
                                      20, 21, 26, 27, 28 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to National Retail Pharmacy
                                      Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19

 216. Donte Jones                    CUYAH_006985926
                                     MCKPUB00002493
                                     MCKPUB00002495
                                     MCKPUB00002499
                                     MCKPUB00002501
                                     MCKPUB00002502
                                     MCKPUB00002504



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      Name                     Sources
 217. Jason Robert Jones           MCKPUB00003012
                                   OBN_MDL 1st Production 010874



 218. Robert Jones                   CUYAH_000038620
                                     MCKPUB00005286
                                     MCKPUB00005287
                                     MCKPUB00005289

 219. Krystyna L. Kaiser             CUYAH_000032131
                                     MCKPUB00003779
                                     MCKPUB00003780
                                     MCKPUB00003782

 220. Heather Kaput                  MCKPUB00024226
                                     MCKPUB00024229
                                     MCKPUB00024230
                                     MCKPUB00024233

 221. Frank J. Kasmerski             CUYAH_000043892
                                     MCKPUB00002659
                                     MCKPUB00002660
                                     MCKPUB00002663

 222. Jacob Jason Keaton             MCKPUB00002862
                                     OBN_MDL 1st Production 110764



 223. Melinda Louise Keirsey         MCKPUB00004384
                                     MCKPUB00004385
                                     MCKPUB00004390
                                     OBN_MDL 1st Production 056992
                                     OBN_MDL 1st Production 151566

 224. David Kelly                    CUYAH_000024067
                                     MCKPUB00002286
                                     MCKPUB00002287
                                     MCKPUB00002289

 225. Zachary Kennedy                CUYAH_000032325
                                     MCKPUB00003611
                                     MCKPUB00003612


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       Name                    Sources
                                   MCKPUB00003614




 226. Gary Keslar                    CUYAH_000037516
                                     MCKPUB00002682
                                     MCKPUB00002683
                                     MCKPUB00002686

 227. Brian Kins                     CUYAH_000048583
                                     MCKPUB00001591
                                     MCKPUB00001593
                                     MCKPUB00001596

 228. Cecilia C. Kinsinger           AKRON_001157371
                                     SUMMIT_000367169
                                     SUMMIT_000368090
                                     MCKPUB00025044
                                     MCKPUB00025045
                                     MCKPUB00025047
                                     MCKPUB00025050
                                     MCKPUB00025051
                                     MCKPUB00025054
                                     MCKPUB00025057
                                     MCKPUB00025058
                                     MCKPUB00025060

 229. Stacey M. Markelonis           MCKPUB00005675
      Kiscoe                         OBN_MDL 1st Production 035469


 230. Heather Knepper                OBN_MDL 1st Production 038993




 231. Angelique M. Kolcun            OBN_MDL 1st Production 129446
                                     OBN_MDL 1st Production 152729




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      Name                     Sources
 232. Donald Kopp                  CUYAH_000032722
                                   MCKPUB00002457
                                   MCKPUB00002458
                                   MCKPUB00002461

 233. Mary Korybko                   CUYAH_000038503
                                     MCKPUB00004287
                                     MCKPUB00004288
                                     MCKPUB00004291

 234. Renee Kovach                   CUYAH_000035773
                                     MCKPUB00005250
                                     MCKPUB00005251
                                     MCKPUB00005255

 235. Christopher M. Koviak          OBN_MDL 1st Production 083864




 236. Nicholas Kozanas               CUYAH_000032867
                                     MCKPUB00004787
                                     MCKPUB00004788
                                     MCKPUB00004791

 237. Christopher Kraus              CUYAH_000034282
                                     MCKPUB00001926
                                     MCKPUB00001927
                                     MCKPUB00001930

 238. Kelly Anne Krueger             MCKPUB00003616
                                     MCKPUB00003618
                                     MCKPUB00003620
                                     MCKPUB00023809
                                     OBN_MDL 1st Production 033744

 239. Troy David Kubincanek          MCKPUB00006080
                                     OBN_MDL 1st Production 074923
                                     OBN_MDL 1st Production 160964

 240. Kourtney N. Kubicina           OBN_MDL 1st Production 132477




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      Name                     Sources
 241. Majed Lababidi               CUYAH_000035754
                                   MCKPUB00004176
                                   MCKPUB00004177
                                   MCKPUB00004182

 242. Patricia Sue Lahm              OBN_MDL 1st Production 016725




 243. Patricia Laughman              MCKPUB00004921
                                     MCKPUB00004923
                                     Summit County & City of Akron, Ohio Plaintiff
                                      First Amended Responses and Objections to
                                      Distributor Defendants’ First Set of Interrogatories
                                     Summit County, Corrected Second Amended
                                      Complaint

 244. Brian J. Lawrence              CUYAH_000021940
                                     MCKPUB00001586
                                     MCKPUB00001587
                                     MCKPUB00001589

 245. Matthew Lawson                 CUYAH_000040016
                                     MCKPUB00004293
                                     MCKPUB00004294
                                     MCKPUB00004296

 246. Christine Anne                 OBN_MDL 1st Production 001828
      Leatherman                     OBN_MDL 1st Production 150987



 247. Karla R. Lebreton              MCKPUB00003420




 248. Jordan Levy                    CUYAH_000034119
                                     MCKPUB00003261
                                     MCKPUB00003262
                                     MCKPUB00003264




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      Name                     Sources
 249. Brooke Lewis                 CUYAH_000035737
                                   MCKPUB00001616
                                   MCKPUB00001617
                                   MCKPUB00001622

 250. Jeffrey Light                  AKRON_001312644
                                     MCKPUB00025068
                                     MCKPUB00025069
                                     MCKPUB00025072

 251. Cassandra T. Linden            OBN_MDL 1st Production 135369
                                     OBN_MDL 1st Production 159202



 252. Alexander Linton               AKRON_000337173
                                     AKRON_000337174
                                     MCKPUB00025075
                                     MCKPUB00025076
                                     MCKPUB00025078
                                     MCKPUB00025079
                                     MCKPUB00025081
                                     MCKPUB00025082
                                     MCKPUB00025084
                                     MCKPUB00025086
                                     MCKPUB00025088
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Replacement Supplemental Responses
                                      and Objections to Manufacturer Defendants’
                                      Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
                                      20, 21, 26, 27, 28 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to National Retail Pharmacy
                                      Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19




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      Name                      Sources
 253. Kimberly Marie Lockhart       MCKPUB00003654
                                    OBN_MDL 1st Production 102044



 254. Jason A. Loftus                MCKPUB00025090
                                     MCKPUB00025093
                                     MCKPUB00025094
                                     MCKPUB00025096
                                     SUMMIT_000519619

 255. Susan Lynn Longoria            MCKPUB00005826
                                     OBN_MDL 1st Production 033744



 256. Anthony Loporto                CUYAH_000049363
                                     MCKPUB00001304
                                     MCKPUB00001305
                                     MCKPUB00001308

 257. Senolia Love                   CUYAH_000048107
                                     MCKPUB00005480
                                     MCKPUB00005481
                                     MCKPUB00005486

 258. Devon L. Lovejoy               MCKPUB00002439
                                     OBN_MDL 1st Production 098951



 259. Jerrad Lunsford                CUYAH_000045217
                                     MCKPUB00003180
                                     MCKPUB00003181
                                     MCKPUB00003184

 260. Michael M. Lynard              CUYAH_000028522
                                     MCKPUB00004527
                                     MCKPUB00004528
                                     MCKPUB00004531

 261. Daniel Macalonan               CUYAH_000040722
                                     MCKPUB00002118
                                     MCKPUB00002119
                                     MCKPUB00002122

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      Name                      Sources
 262. Sandra Malave                 CUYAH_000079024
                                    MCKPUB00005463
                                    MCKPUB00005464
                                    MCKPUB00005466

 263. Andy Maldonado                 CUYAH_000034215
                                     MCKPUB00001126
                                     MCKPUB00001127
                                     MCKPUB00001130

 264. Michael J. Malys III           MCKPUB00004533
                                     MCKPUB00004535
                                     MCKPUB00004537
                                     OBN_MDL 1st Production 135369
                                     OBN_MDL 1st Production 159202

 265. Monica Lee Mandich             MCKPUB00004615
                                     OBN_MDL 1st Production 098951



 266. Matthew Michael Marasch        OBN_MDL 1st Production 031252
                                     MCKPUB00004298



 267. Carreese L. Martin             MCKPUB00001726
                                     OBN_MDL 1st Production 098951



 268. Rejina Lynn Martin             AKRON_001273406
                                     MCKPUB00025098
                                     MCKPUB00025099
                                     MCKPUB00025101

 269. Catherine Martz                CUYAH_000030641
                                     MCKPUB00001820



 270. Karen Lynn Massey              MCKPUB00003354
                                     MCKPUB00003372
                                     MCKPUB00003390
                                     OBN_MDL 1st Production 012869


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      Name                     Sources
 271. Georgia Ann Matos            MCKPUB00002711
                                   MCKPUB00002712
                                   MCKPUB00002714
                                   MCKPUB00028988
                                   OBN_MDL 1st Production 014736

 272. Lisa J. McAvinew               MCKPUB00004045
                                     OBN_MDL 1st Production 035469



 273. Denise Annette McCanna         MCKPUB00002382
                                     OBN_MDL 1st Production 023282
                                     OBN_MDL 1st Production 029049

 274. Darrian McCarroll              CUYAH_000043206
                                     MCKPUB00002215
                                     MCKPUB00002217
                                     MCKPUB00002220

 275. Alvin McCurdy                  MCKPUB00000945
                                     MCKPUB00000948
                                     MCKPUB00000949

 276. Ryan L. McManus                CUYAH_000038627
                                     MCKPUB00005417
                                     MCKPUB00005419
                                     MCKPUB00005422

 277. Shannon Davis McNamara         MCKPUB00023924
                                     OBN_MDL 1st Production 102044


 278. Donald McNea                   CUYAH_000020924
                                     MCKPUB00002463
                                     MCKPUB00002464
                                     MCKPUB00002466

 279. Ronald G. Mainor               CUYAH_000042658
                                     MCKPUB00005335
                                     MCKPUB00005336
                                     MCKPUB00005341


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      Name                         Sources
 280. Debra S. Medovic                 CUYAH_000024898
                                       MCKPUB00002366
                                       MCKPUB00002367
                                       MCKPUB00002372

 281. Javonnda M. Merchant              OBN_MDL 1st Production 064580




 282. Holly Marie Metz                  MCKPUB00002839




 283. Joseph Michael                    AKRON_001312637
                                        Summit County and City of Akron, Ohio
                                         Plaintiff’s Supplemental Responses and
                                         Objections to Distributor Defendants’
                                         Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                         24, 27 & 29

 284. Sabrina Mickel                    CUYAH_000075738
                                        MCKPUB00005444
                                        MCKPUB00005446
                                        MCKPUB00005448
                                        MCKPUB00024552
                                        MCKPUB00024555
                                        OSDB_MDL 1st Production _007517

 285. Christopher Mihalek               MCKPUB00024114
                                        MCKPUB00024121
                                        MCKPUB00024122
                                        MCKPUB00024127
                                        MCKPUB00024129

 286. Paul D. Millay                    CUYAH_000041123
                                        MCKPUB00004937
                                        MCKPUB00004938
                                        MCKPUB00004941

 287. Christine Elizabeth Miller        OBN_MDL 1st Production 021117
                                        MCKPUB00023758



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      Name                     Sources
 288. Derrick V. Miller Jr.        CUYAH_000032131
                                   MCKPUB00002412
                                   MCKPUB00002413
                                   MCKPUB00002415

 289. Kenneth Mills                  MCKPUB00024454
                                     MCKPUB00024455
                                     MCKPUB00024457

 290. Monica R. Mills                MCKPUB00004631
                                     MCKPUB00004633
                                     OBN_MDL 1st Production 125822
                                     OBN_MDL 1st Production 132477

 291. Christa Marie Mistak           MCKPUB00001881
                                     OBN_MDL 1st Production 021117
                                     OBN_MDL 1st Production 155623

 292. Heather R. Mitchell            MCKPUB00024322
                                     MCKPUB00024333
                                     MCKPUB00024334
                                     MCKPUB00024339
                                     MCKPUB00024341

 293. Linda Jeanne Moore             OBN_MDL 1st Production 054509




 294. Jennifer L. Moran              MCKPUB00003086
                                     OBN_MDL 1st Production 085996


 295. James Joseph Morris            MCKPUB00002888
                                     OBN_MDL 1st Production 085996



 296. Dustin Myers                   CUYAH_000023705
                                     MCKPUB00002508
                                     MCKPUB00002509
                                     MCKPUB00002511



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      Name                        Sources
 297. Jonell Alethea Neiswonger       OBN_MDL 1st Production 069491
                                      OBN_MDL 1st Production 160588



 298. Mary Neuman                      CUYAH_000028065




 299. Megan M. Neuman                  MCKPUB00004354
                                       MCKPUB00029001
                                       OBN_MDL 1st Production 056992
                                       OBN_MDL 1st Production 160421

 300. Helga Janine Nicastro            MCKPUB00002820
                                       OBN_MDL 1st Production 033744
                                       OBN_MDL 1st Production 155812

 301. Annette Nigro                    MCKPUB00001229
                                       OBN_MDL 1st Production 035469
                                       OBN_MDL 1st Production 059516
                                       OBN_MDL 1st Production 156153

 302. Shiyla A. Nix                    MCKPUB00005551
                                       OBN_MDL 1st Production 080783



 303. Edward Mugo Njoroge              CUYAH_000028138
                                       MCKPUB00002569



 304. Jeffrey Norman                   CUYAH_000041260
                                       MCKPUB00003033
                                       MCKPUB00003035
                                       MCKPUB00003037

 305. Andrew P. Norris                 AKRON_001139534
                                       SUMMIT_000633096
                                       SUMMIT_000633119
                                       Summit County and City of Akron, Ohio
                                        Plaintiff’s Replacement Supplemental Responses
                                        and Objections to Manufacturer Defendants’


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      Name                       Sources
                                       Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
                                       20, 21, 26, 27, 28 & 29
                                     Summit County and City of Akron, Ohio
                                       Plaintiff’s Supplemental Responses and
                                       Objections to Distributor Defendants’
                                       Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                       24, 27 & 29
                                     Summit County and City of Akron, Ohio
                                       Plaintiff’s Supplemental Responses and
                                       Objections to National Retail Pharmacy
                                       Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19

 306. Breane Jolan O’Brien             MCKPUB00001530
                                       MCKPUB00001531
                                       MCKPUB00001536
                                       MCKPUB00001539
                                       OBN_MDL 1st Production 098951
                                       OBN_MDL 1st Production 113399

 307. Lisa Offord                      AKRON_000205318
                                       MCKPUB00017633
                                       MCKPUB00017635
                                       MCKPUB00017636
                                       MCKPUB00029026
                                       MCKPUB00029028
                                       MCKPUB00029029

 308. Brandy Lee Olinger               AKRON_001142100
                                       MCKPUB00001513
                                       OBN_MDL 1st Production 021117

 309. Michael Christopher Oros         MCKPUB00004482




 310. Richard L. Overdorf              MCKPUB00005257
                                       MCKPUB00005259
                                       MCKPUB00025112




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      Name                     Sources
 311. Deborah Owens                CUYAH_006985926
                                   MCKPUB00002330
                                   MCKPUB00002331
                                   MCKPUB00002334

 312. Beth Marie Padulla             OBN_MDL 1st Production 018725




 313. Shalese Patterson              CUYAH_006985926
                                     MCKPUB00005489
                                     MCKPUB00005490
                                     MCKPUB00005493

 314. Domenick Patty                 CUYAH_000038876
                                     MCKPUB00002452
                                     MCKPUB00002453
                                     MCKPUB00002455

 315. Gina Marie Paugh               MCKPUB00002716




 316. Dan Paulk                      MCKPUB00025119
                                     MCKPUB00025120
                                     MCKPUB00025145
                                     MCKPUB00025148
                                     MCKPUB00025152

 317. Christina Lee Pearsall         OBN_MDL 1st Production 000001
                                     OBN_MDL 1st Production 155386



 318. Kelly Michelle Pelter          MCKPUB00003622
                                     OBN_MDL 1st Production 012869
                                     OBN_MDL 1st Production 035469

 319. Anthony H. Perry               MCKPUB00025177
                                     MCKPUB00001310
                                     MCKPUB00001313



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      Name                      Sources
 320. Nelson E. Perry               AKRON_001157926
                                    MCKPUB00025204
                                    MCKPUB00025205
                                    MCKPUB00025207

 321. Deirdre Anne Peters            OBN_MDL 1st Production 038993
                                     OBN_MDL 1st Production 153407



 322. Christopher M. Petersen        MCKPUB00001950
                                     MCKPUB00001951
                                     MCKPUB00001953
                                     OBN_MDL 1st Production 119052
                                     OBNMDL 1st Production 163503

 323. Rachel Joy Petti               MCKPUB00005145
                                     OBN_MDL 1st Production 035469



 324. Kevin Phan                     CUYAH_000035518
                                     MCKPUB00003642
                                     MCKPUB00003643
                                     MCKPUB00003645

 325. Denise M. Phelps               AKRON_000281601
                                     MCKPUB00002396
                                     MCKPUB00002398

 326. Ronald L. Phelps               AKRON_000287339
                                     MCKPUB00005332
                                     MCKPUB00005334

 327. Alisa M. Pitmon                MCKPUB00000919
                                     OBN_MDL 1st Production 098951



 328. Danielle Ann Pizzuli           MCKPUB00002200
                                     OBN_MDL 1st Production 107561
                                     OBN_MDL 1st Production 161275




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      Name                     Sources
 329. Anthony Pollard              CUYAH_000035737
                                   MCKPUB00001315
                                   MCKPUB00001316
                                   MCKPUB00001329

 330. Sharon Popil                   CUYAH_000036338
                                     MCKPUB00005501
                                     MCKPUB00005503
                                     MCKPUB00005506

 331. J’Nette Powe                   AKRON_001280294
                                     MCKPUB00025209
                                     MCKPUB00025210
                                     MCKPUB00025212

 332. Carl L. Powers                 CUYAH_000057440
                                     MCKPUB00001745
                                     MCKPUB00001746
                                     MCKPUB00001748

 333. Sarah Elizabeth Prem           MCKPUB00005468
                                     OBN_MDL 1st Production 085996



 334. Phillip L. Prince              CUYAH_000027745
                                     MCKPUB00005044
                                     MCKPUB00005045
                                     MCKPUB00005050

 335. David Race                     MCKPUB00002291
                                     OBN_MDL 1st Production 059516



 336. Destiny Ramos                  CUYAH_006985926
                                     MCKPUB00002426
                                     MCKPUB00002427
                                     MCKPUB00002430

 337. Oscar R. Ramos                 CUYAH_000028834
                                     MCKPUB00004891
                                     MCKPUB00004892
                                     MCKPUB00004895


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      Name                     Sources
 338. Donna Ratica                 MCKPUB00025214
                                   MCKPUB00029030
                                   MCKPUB00029032
                                   MCKPUB00029035
                                   OBN_MDL 1st Production 003315

 339. Shaun M. Ray                   CUYAH_000036238
                                     MCKPUB00005508
                                     MCKPUB00005510
                                     MCKPUB00005512

 340. Peggy Ann Rayer                OBN_MDL 1st Production 080783
                                     MCKPUB00004988


 341. Erin Elizabeth Reed            OBN_MDL 1st Production 035469




 342. Charmin Reeves                 CLEVE_000331192
                                     MCKPUB00001879
                                     MCKPUB00029044
                                     OBN_MDL 1st Production 154383
                                     OBN_MDL 1st Production 074923

 343. Jennifer Lynn Reilly           MCKPUB00003120
                                     OBN_MDL 1st Production 037202
                                     OBN_MDL 1st Production 160238

 344. Patrick R. Reinke              CUYAH_000043481
                                     MCKPUB00004925



 345. Nicole Leeanne Rese            MCKPUB00004806
                                     OBN_MDL 1st Production 021117
                                     OBN_MDL 1st Production 023282

 346. Linda Marie Reynolds           MCKPUB00003956
                                     OBN_MDL 1st Production 003315




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      Name                     Sources
 347. Anthony E. Rhodes            MCKPUB00025221
                                   MCKPUB00025222
                                   MCKPUB00025224
                                   MCKPUB00025227
                                   SUMMIT_000612623

 348. Richard A. Rice                AKRON_001280479
                                     MCKPUB00025228
                                     MCKPUB00025229
                                     MCKPUB00025232

 349. Laura Ann Ringenbach           MCKPUB00003822
                                     OBN_MDL 1st Production 021117


 350. Latonya S. Robinson            MCKPUB00003816
                                     MCKPUB00003820
                                     OBN_MDL 1st Production 119052
                                     OBN_MDL 1st Production 155502
                                     OBN_MDL 1st Production 122353

 351. Christopher John Roch          MCKPUB00001955
                                     MCKPUB00001956
                                     MCKPUB00001959
                                     OBN_MDL 1st Production 045533
                                     OBN_MDL 1st Production 157945

 352. John Roche                     CUYAH_000032325
                                     MCKPUB00003251
                                     MCKPUB00003252
                                     MCKPUB00003255

 353. Jason Roop                     CUYAH_000077025
                                     MCKPUB00003028
                                     MCKPUB00003029
                                     MCKPUB00003031

 354. Troy Roop                      CUYAH_000077025
                                     MCKPUB00006172
                                     MCKPUB00006173
                                     MCKPUB00006176




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      Name                      Sources
 355. Aimee Joanne Roscoe           OBN_MDL 1st Production 016725
                                    OBN_MDL 1st Production 021117
                                    OBN_MDL 1st Production 161901
                                    MCKPUB00023746

 356. Dennie Rowland                 MCKPUB00002399
                                     MCKPUB00002401



 357. Kayla L. Royko                 OBN_MDL 1st Production 122353
                                     OBN_MDL 1st Production 163503
                                     MCKPUB00003601
                                     MCKPUB00003602
                                     MCKPUB00003604
                                     MCKPUB00029044

 358. Asia Tanay Rucker              CUYAH_000066950
                                     MCKPUB00001476
                                     MCKPUB00001477
                                     MCKPUB00001482

 359. Daniel Michael Rush            MCKPUB00002125
                                     OBN_MDL 1st Production 072083



 360. Lisa A. Rzeszotarski           AKRON_001283454
                                     MCKPUB00025234
                                     MCKPUB00025235
                                     MCKPUB00025238

 361. Mohammad H. Saedi              MCKPUB00004599
                                     MCKPUB00004600



 362. Diane Marie Salak (also        OBN_MDL 1st Production 132477
      known as Diane Krupka)         OBN_MDL 1st Production 150318



 363. Michael D. Salo                CUYAH_000040713
                                     MCKPUB00004553
                                     MCKPUB00004554


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       Name                     Sources
                                    MCKPUB00004557




 364. Tricia Santangelo              MCKPUB00006066
                                     OBN_MDL 1st Production 140843



 365. Antonio Santiago               CUYAH_000034033
                                     MCKPUB00001332
                                     MCKPUB00001333
                                     MCKPUB00001336

 366. Amelia Frances Sartoski        MCKPUB00000991
      (former Amelia Housley)        OBN_MDL 1st Production 064580
                                     OBN_MDL 1st Production 107561

 367. Corey J. Schmidt               CUYAH_000057956
                                     MCKPUB00002023
                                     MCKPUB00002024
                                     MCKPUB00002027

 368. Ronald Schueneman Jr.          CUYAH_000054075
                                     MCKPUB00005344
                                     MCKPUB00005346
                                     MCKPUB00005351

 369. Meredith Jean Schuette         CUYAH_000070936
                                     MCKPUB00004446
                                     OBN_MDL 1st Production 107561
                                     OBN_MDL 1st Production 161275

 370. Susan Leigh Schur (also        MCKPUB00005811
      known as Susan Leigh           OBN_MDL 1st Production 059516
      Nugent)                        OBN_MDL 1st Production 162423

 371. Shannon Nicole                 OBN_MDL 1st Production 038993
      Schwoeble                      OBN_MDL 1st Production 153407




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      Name                     Sources
 372. Megan Elisa Scolaro          MCKPUB00004344
                                   OBN_MDL 1st Production 025835
                                   OBN_MDL 1st Production 025844

 373. Linda A. Sedivy                OBN_MDL 1st Production 135369
                                     OBN_MDL 1st Production 155070



 374. Lia M. Seeber                  MCKPUB00003950
                                     MCKPUB00003951
                                     MCKPUB00003955

 375. Karen Angela Seguin            CUYAH_000069179
                                     MCKPUB00029047
                                     MCKPUB00003341
                                     OBN_MDL 1st Production 098951
                                     OBN_MDL 1st Production 110764

 376. Kim Seltzer                    MCKPUB00003647
                                     MCKPUB00029060



 377. Erica Jean Seymour             OBN_MDL 1st Production 083864




 378. Ben Earl Sherbert              AKRON_001230790
                                     AKRON_001280930
                                     MCKPUB00001503
                                     MCKPUB00001506
                                     MCKPUB00001507

 379. Anthony F. Shue                AKRON_000294564
                                     MCKPUB00001295
                                     MCKPUB00001296
                                     MCKPUB00001298

 380. Luis Sierra                    CUYAH_000081521
                                     MCKPUB00004169
                                     MCKPUB00004171
                                     MCKPUB00004174


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      Name                        Sources
 381. Shawn Michael Sindelar          CUYAH_000028137
                                      OBN_MDL 1st Production 056992
                                      OBN_MDL 1st Production 162423
                                      MCKPUB00005514

 382. Carl Sisley                      CUYAH_000044020
                                       MCKPUB00001750
                                       MCKPUB00001751
                                       MCKPUB00001753

 383. Michael Joseph Slagle            CUYAH_009003041
                                       MCKPUB00004519
                                       MCKPUB00004520
                                       MCKPUB00004525

 384. Jodi Slider                      CUYAH_000034041
                                       MCKPUB00003244
                                       MCKPUB00003245
                                       MCKPUB00003248

 385. Nanette Theresa Smalcer          MCKPUB00004762




 386. Aryell Smith                     CUYAH_006985926
                                       MCKPUB00001352
                                       MCKPUB00001353
                                       MCKPUB00001356

 387. Christy A. Soltay                OBN_MDL 1st Production 125822
                                       OBN_MDL 1st Production 152729



 388. Angelo Isaiah Sommerville        AKRON_000296839
                                       MCKPUB00001150
                                       MCKPUB00001151
                                       MCKPUB00001154
                                       MCKPUB00001190
                                       MCKPUB00006873
                                       MCKPUB00006875
                                       MCKPUB00006876
                                       MCKPUB00006878
                                       MCKPUB00006881

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       Name                    Sources
                                   MCKPUB00006883




 389. Annamaria Somogyi              OBN_MDL 1st Production 059516
                                     OBN_MDL 1st Production 161275



 390. Heather Lynn Spirhanzl         MCKPUB00002792
      (also known as Heather         OBN_MDL 1st Production 012869
      Lynn Forinash)                 OBN_MDL 1st Production 029049

 391. Damien R. Stafford             AKRON_001278733
                                     MCKPUB00025242
                                     MCKPUB00025246
                                     MCKPUB00025247

 392. Edward States                  CUYAH_000039144
                                     MCKPUB00002585
                                     MCKPUB00002586
                                     MCKPUB00002589

 393. Rachelle R. Stawicki           MCKPUB00005175
                                     MCKPUB00005176
                                     MCKPUB00005178
                                     MCKPUB00005180
                                     OBN_MDL 1st Production 132477

 394. Reginald Stearns               CUYAH_000071561
                                     MCKPUB00019486
                                     MCKPUB00019487
                                     MCKPUB00019492

 395. Maureen R. Stith               OBN_MDL 1st Production 049841




 396. Jodi Ann Stokes                MCKPUB00003217
                                     MCKPUB00003218
                                     MCKPUB00003221
                                     MCKPUB00003224
                                     OBN_MDL 1st Production 014736

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       Name                     Sources
                                    OBN_MDL 1st Production 021117




 397. Pamela C. Stover               OBN_MDL 1st Production 135369
      (formerly known as             OBN_MDL 1st Production 150318
      Pamela Terry)


 398. Kathryn M. Struna              MCKPUB00003445
                                     OBN_MDL 1st Production 021117



 399. Karen Svoboda                  MCKPUB00003391
                                     OBN_MDL 1st Production 000001



 400. Shinita Rainette Swails        CUYAH_000081189
                                     MCKPUB00005544
                                     MCKPUB00005545
                                     MCKPUB00005547
                                     MCKPUB00005549
                                     OBN_MDL 1st Production 140843

 401. Brittany Sweeny                CUYAH_006985926
                                     MCKPUB00001609
                                     MCKPUB00001610
                                     MCKPUB00001613

 402. Nicole Lynn Szymczyk           MCKPUB00004841
      (also known as Nicole          OBN_MDL 1st Production 107561
      Lynn Tackett)

 403. Sanita Annmarie Taylor         OBN_MDL 1st Production 083864




 404. Michael Thies                  CUYAH_000038593
                                     MCKPUB00004560
                                     MCKPUB00004561
                                     MCKPUB00004564


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      Name                     Sources
 405. DeNeik Lashell Thoton        MCKPUB00002375
                                   OBN_MDL 1st Production 031252
                                   OBN_MDL 1st Production 162189

 406. Terry T. Thurman               CUYAH_000032210
                                     MCKPUB00005905
                                     MCKPUB00005906
                                     MCKPUB00005909

 407. Frances Torres                 CUYAH_000051819
                                     MCKPUB00002647
                                     MCKPUB00002648
                                     MCKPUB00002651

 408. Jessica L. Townsend            AKRON_000205584
                                     MCKPUB00015605
                                     MCKPUB00015607
                                     MCKPUB00015608

 409. Mark S. Townsend               AKRON_001228207
                                     MCKPUB00025250
                                     MCKPUB00025251
                                     MCKPUB00025253

 410. Amber D. Trusso                MCKPUB00000963
                                     OBN_MDL 1st Production 031252
                                     OBN_MDL 1st Production 151237

 411. Christine Turner               MCKPUB00001924
                                     OBN_MDL 1st Production 085996



 412. Dawn M. Turshon                MCKPUB00002309
                                     OBN_MDL 1st Production 012869



 413. Cortney Louise Tylicki         MCKPUB00002036




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      Name                     Sources
 414. Lauretta A. Umana-Kipp       MCKPUB00003915
                                   OBN_MDL 1st Production 018725



 415. Lisa Ann Urich                 OBN_MDL 1st Production 003315




 416. Dustin Thomas Van Der          MCKPUB00002513
      Voort                          OBN_MDL 1st Production 11399



 417. Robert Van Maele               MCKPUB00005291
                                     MCKPUB00005293
                                     MCKPUB00005295
                                     MCKPUB00005297
                                     OBN_MDL 1st Production 014736
                                     OBN_MDL 1st Production 018725

 418. Neidalyz Vazquez               CUYAH_000032685
                                     MCKPUB00004771
                                     MCKPUB00004772
                                     MCKPUB00004775

 419. Anthony M. Velleca             AKRON_001157344
                                     MCKPUB00025255
                                     MCKPUB00025256
                                     MCKPUB00025258

 420. Jessica Sara Velsor            OBN_MDL 1st Production 054509
                                     OBN_MDL 1st Production 156153



 421. Melissa K. Veverka             CUYAH_000052729
                                     MCKPUB00004424



 422. Randy Vodicka                  CUYAH_000039960
                                     MCKPUB00005181
                                     MCKPUB00005182
                                     MCKPUB00005185


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      Name                     Sources
 423. Justin C. Wagner             AKRON_001217713
                                   MCKPUB00025262
                                   MCKPUB00025263
                                   MCKPUB00025266

 424. Rachel H. Wallace              MCKPUB00005131
                                     MCKPUB00005133
                                     MCKPUB00005136
                                     MCKPUB00005138

 425. Luciano R. Waller              CUYAH_000052154
                                     MCKPUB00004157
                                     MCKPUB00004158
                                     MCKPUB00004160

 426. Melanie Anne Walter            MCKPUB00004356
                                     OBN_MDL 1st Production 037202



 427. Rachel Ann Walters             MCKPUB00005116
                                     OBN_MDL 1st Production 054509
                                     OBN_MDL 1st Production 156153

 428. Jamie Ward                     OBN_MDL 1st Production 003315




 429. Andre Warren                   MCKPUB00006597
                                     MCKPUB00006599
                                     MCKPUB00006606

 430. Carl Watkins                   CUYAH_000032685
                                     MCKPUB00001756
                                     MCKPUB00001757
                                     MCKPUB00001760

 431. Candi Webb                     MCKPUB00001721
                                     MCKPUB00001723




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      Name                     Sources
 432. Charles Webster              CUYAH_014631775
                                   MCKPUB00001858
                                   MCKPUB00001859
                                   MCKPUB00001864

 433. Herman Weaver                  MCKPUB00023800
                                     MCKPUB00023801
                                     MCKPUB00023806
                                     MCKPUB00024567

 434. Cassandra Welch                CUYAH_000034490
                                     MCKPUB00001782
                                     MCKPUB00001783
                                     MCKPUB00001786

 435. Joshua Weppelman               CUYAH_000038083
                                     MCKPUB00003278
                                     MCKPUB00003279
                                     MCKPUB00003284

 436. Robert West                    CUYAH_000035016
                                     MCKPUB00005299
                                     MCKPUB00005300
                                     MCKPUB00005307

 437. Derrick L. Whatley             AKRON_001160846
                                     SUMMIT_000467880
                                     SUMMIT_000467882
                                     SUMMIT_000467886
                                     SUMMIT_000467888
                                     SUMMIT_000467910
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Replacement Supplemental Responses
                                      and Objections to Manufacturer Defendants’
                                      Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
                                      20, 21, 26, 27, 28 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and


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       Name                    Sources
                                     Objections to National Retail Pharmacy
                                     Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19



 438. Philip Whited                  AKRON_001247770
                                     AKRON_001247771
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29

 439. Meagan Leigh Wickline          MCKPUB00004330
                                     OBN_MDL 1st Production 085996



 440. Rickeay Wilford                CUYAH_000036860
                                     MCKPUB00005262
                                     MCKPUB00005263
                                     MCKPUB00005266

 441. Charlie Williams Jr.           CUYAH_000054791
                                     MCKPUB00001872
                                     MCKPUB00001873
                                     MCKPUB00001876

 442. Felicia Williams               AKRON_001157883
                                     MCKPUB00025268
                                     MCKPUB00025269
                                     MCKPUB00025271

 443. Kenneth Williams               CUYAH_000028203
                                     MCKPUB00003629
                                     MCKPUB00003630
                                     MCKPUB00003637

 444. William Winca                  CUYAH_000036646
                                     MCKPUB00006205
                                     MCKPUB00006207
                                     MCKPUB00006210




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      Name                     Sources
 445. Calvin Winston               CUYAH_000038947
                                   MCKPUB00001714
                                   MCKPUB00001715
                                   MCKPUB00001718

 446. Robert Wiseman                 AKRON_000336020
                                     AKRON_000369539
                                     AKRON_000369555
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Replacement Supplemental Responses
                                      and Objections to Manufacturer Defendants’
                                      Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
                                      20, 21, 26, 27, 28 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to Distributor Defendants’
                                      Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23,
                                      24, 27 & 29
                                     Summit County and City of Akron, Ohio
                                      Plaintiff’s Supplemental Responses and
                                      Objections to National Retail Pharmacy
                                      Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19

 447. Clarissa Marie Witchey         MCKPUB00001997
                                     OBN_MDL 1st Production 102044



 448. Charles P. Wolfe               AKRON_001157223
                                     MCKPUB00025273
                                     MCKPUB00025275
                                     MCKPUB00025276
                                     MCKPUB00025279
                                     MCKPUB00025282
                                     MCKPUB00025284
                                     MCKPUB00025285
                                     MCKPUB00025287
                                     SUMMIT_000368345
                                     SUMMIT_000368383
                                     SUMMIT_000374372
                                     SUMMIT_000374414
                                     SUMMIT_000390394




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      Name                     Sources
 449. Julia Anne Workman           MCKPUB00003642
                                   OBN_MDL 1st Production 003315



 450. James A. Wooley                MCKPUB00003643
                                     OBN_MDL 1st Production 003315



 451. David Wright                   MCKPUB00003644
                                     OBN_MDL 1st Production 003315



 452. Courtney Irene Yates           MCKPUB00003645
                                     OBN_MDL 1st Production 003315



 453. Lottie Susan Yeager            MCKPUB00003646
                                     OBN_MDL 1st Production 003315



 454. Kristian D. Yingling           MCKPUB00029065
                                     OBN_MDL 1st Production 003315



 455. Charles Yonkings               CUYAH_000044641
                                     MCKPUB00008901
                                     MCKPUB00008902
                                     MCKPUB00008905

 456. Margaret Mary Zalar            OBN_MDL 1st Production 031252
                                     OBN_MDL 1st Production 160119
                                     MCKPUB00004195

 457. Jennifer R. Zarick             MCKPUB00003161
                                     OBN_MDL 1st Production 132477
                                     OBN_MDL 1st Production 152729




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      Name                             Sources
 458. Lee Alexander Zartman                MCKPUB00003927
                                           OBN_MDL 1st Production 031252



 459. Michael Zebrowski                          MCKPUB00004567
                                                 OBN_MDL 1st Production 059516



 460. Jenna Lynn Zolensky                        MCKPUB00003039
                                                 OBN_MDL 1st Production 074923
                                                 OBN_MDL 1st Production 080783


 IV.    Individuals Involved In The Distribution And Sale Of Illegal Opioids, Including
        Heroin, Illicit Fentanyl, And Carfentanil

         At least 701 individuals in Cuyahoga and Summit Counties: (1) were indicted, with
 pending charges (19 individuals or entities); and/or (2) were convicted or pled guilty (685
 individuals), all for conduct related to trafficking of illegal opioids, including (among others)
 heroin, fentanyl, and carfentanil.

        Name                            Sources
  1.    Vincente Acevedo                         CUYAH_000033836
                                                 MCKPUB00022712
                                                 MCKPUB00022714
                                                 MCKPUB00022719

  2.    Ismael Jacinto Acosta                    MCKPUB00014185
                                                 MCKPUB00014260
                                                 MCKPUB00014267
                                                 MCKPUB00014278
                                                 MCKPUB00025296
                                                 MCKPUB00025379
                                                 MCKPUB00025386
                                                 MCKPUB00029093

  3.    Valerio Adames                           CUYAH_000032923
                                                 MCKPUB00022433
                                                 MCKPUB00022434
                                                 MCKPUB00022436




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        Name                    Sources
  4.    Derrick A. Adams II           MCKPUB00010474
                                      MCKPUB00010482
                                      MCKPUB00010486

  5.    Clyde Adkins                  MCKPUB00009052
                                      MCKPUB00009054
                                      MCKPUB00009058

  6.    Kevin Adkins                  MCKPUB00016290
                                      MCKPUB00016296
                                      MCKPUB00016298
                                      MCKPUB00016316
                                      MCKPUB00016324
                                      MCKPUB00029096

  7.    Deandre S. Agree              MCKPUB00010361
                                      MCKPUB00010362
                                      MCKPUB00010364

  8.    Brittany Akers                AKRON_000201538
                                      MCKPUB00008224
                                      MCKPUB00008226
                                      MCKPUB00008227

  9.    Carl Akins                    MCKPUB00008268
                                      MCKPUB00008270
                                      MCKPUB00008474
                                      MCKPUB00008476
                                      MCKPUB00008283

  10.   Dantez D. Alexander           CUYAH_000028383
                                      MCKPUB00009580
                                      MCKPUB00009582
                                      MCKPUB00009586

  11.   Darnell Alexander             MCKPUB00009625
                                      MCKPUB00009816
                                      MCKPUB00009818
                                      MCKPUB00009829
                                      MCKPUB00009831



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        Name                    Sources
  12.   Donte Alexander               AKRON_000208641
                                      MCKPUB00011566
                                      MCKPUB00011568
                                      MCKPUB00011570
                                      MCKPUB00011571
                                      MCKPUB00011572
                                      MCKPUB00011576

  13.   Michael Alexander             MCKPUB00018614
                                      MCKPUB00018616
                                      MCKPUB00018618
                                      MCKPUB00018629

  14.   Tiffany M. Alston             CUYAH_000032751
                                      MCKPUB00022172
                                      MCKPUB00022174
                                      MCKPUB00022176

  15.   Luis Alvarez                  CUYAH_000034094
                                      MCKPUB00017689
                                      MCKPUB00017690
                                      MCKPUB00017693

  16.   Maycon Alvarez                AKRON_000207436
                                      AKRON_000220829
                                      MCKPUB00018560
                                      MCKPUB00018563
                                      MCKPUB00018567
                                      MCKPUB00018568

  17.   Jonnell L. Ammons             MCKPUB00015798
                                      MCKPUB00015792
                                      MCKPUB00015800
                                      MCKPUB00015809
                                      MCKPUB00015810
                                      MCKPUB00015813
                                      MCKPUB00015814
                                      MCKPUB00015815
                                      MCKPUB00015817
                                      MCKPUB00015819
                                      MCKPUB00015806
                                      MCKPUB00029097


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        Name                    Sources
  18.   Garrett L. Anderson           CUYAH_000079266
                                      MCKPUB00013524
                                      MCKPUB00013525
                                      MCKPUB00013527

  19.   John F. Anderson              CUYAH_000039975
                                      MCKPUB00015660
                                      MCKPUB00015661
                                      MCKPUB00015664

  20.   Alex Raysean Andrus           AKRON_000201567
                                      MCKPUB00006294
                                      MCKPUB00006295
                                      MCKPUB00006296

  21.   Efrain Anglero                CUYAH_000032221
                                      MCKPUB00012253
                                      MCKPUB00012254
                                      MCKPUB00012256

  22.   Robert Anglesino              CUYAH_000039490
                                      MCKPUB00019606
                                      MCKPUB00019607
                                      MCKPUB00019610

  23.   Terrance A. Anthony           AKRON_000289540
                                      MCKPUB00021603
                                      MCKPUB00021605
                                      MCKPUB00021606

  24.   Donnie R. Antoine             AKRON_001156524
                                      MCKPUB00025389
                                      MCKPUB00025390
                                      MCKPUB00025392

  25.   Flor Arroyo                   CUYAH_000043787
                                      MCKPUB00013022
                                      MCKPUB00013023
                                      MCKPUB00013028




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        Name                    Sources
  26.   Antoin Austin                 MCKPUB00006957
                                      MCKPUB00006964
                                      MCKPUB00006966
                                      MCKPUB00006974
                                      MCKPUB00006978
                                      MCKPUB00006981

  27.   Dustin C. Austin              MCKPUB00025394
                                      MCKPUB00025395
                                      MCKPUB00025397
                                      MCKPUB00025398

  28.   Lanell L. Austin              AKRON_000201657
                                      MCKPUB00017109
                                      MCKPUB00017110

  29.   Todd S. Austin                AKRON_000200898
                                      AKRON_000281858
                                      MCKPUB00022239
                                      MCKPUB00022241
                                      MCKPUB00022242

  30.   Joseph Aveni                  CUYAH_000025888
                                      MCKPUB00015926
                                      MCKPUB00015927
                                      MCKPUB00015931

  31.   Alvin D. Bailey               AKRON_000204690
                                      MCKPUB00006534
                                      MCKPUB00006536
                                      MCKPUB00006537

  32.   Reginald P. Baker             CUYAH_000028012
                                      MCKPUB00019479
                                      MCKPUB00019480
                                      MCKPUB00019484

  33.   Troy Baker                    MCKPUB00022345
                                      MCKPUB00022347
                                      MCKPUB00022349
                                      MCKPUB00022351



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        Name                     Sources
  34.   Octavio Barragan-Manzo         MCKPUB00019093
                                       MCKPUB00019100
                                       MCKPUB00019103
                                       MCKPUB00019110
                                       MCKPUB00019115
                                       MCKPUB00029099

  35.   Ricardo Barrett                CUYAH_000036066
                                       MCKPUB00019535
                                       MCKPUB00019536
                                       MCKPUB00019538

  36.   Kalvin O. Barry                CUYAH_000026289
                                       MCKPUB00016013
                                       MCKPUB00016015
                                       MCKPUB00016017

  37.   Brandon Bartoe                 AKRON_000286744
                                       MCKPUB00007669
                                       MCKPUB00007671
                                       MCKPUB00007673
                                       MCKPUB00007674
                                       SUMMIT_000645466

  38.   William R. Barton              AKRON_001277061
                                       MCKPUB00025400
                                       MCKPUB00025401
                                       MCKPUB00025403

  39.   Brandy M. Bates                MCKPUB00007926
                                       MCKPUB00007932
                                       MCKPUB00007945
                                       MCKPUB00007947
                                       MCKPUB00025405
                                       MCKPUB00025444

  40.   Keith Bearden                  CUYAH_000072825
                                       MCKPUB00016050
                                       MCKPUB00016051
                                       MCKPUB00016054




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        Name                      Sources
  41.   Tydon Beaver                    AKRON_000286744
                                        MCKPUB00022359
                                        MCKPUB00022360
                                        MCKPUB00022362
                                        MCKPUB00022363
                                        SUMMIT_000645542

  42.   Keith Beavers                   AKRON_000288039
                                        MCKPUB00016056
                                        MCKPUB00016058
                                        MCKPUB00016059

  43.   Jonathan Becker                 MCKPUB00015680
                                        MCKPUB00015683
                                        SUMMIT_000031572

  44.   Beneditto Belfiore              MCKPUB00007588
                                        MCKPUB00007590
                                        MCKPUB00007592
                                        MCKPUB00007604
                                        MCKPUB00007606

  45.   Robert Belk                     MCKPUB00019613
                                        MCKPUB00019804
                                        MCKPUB00019810
                                        MCKPUB00019821
                                        MCKPUB00019823
                                        MCKPUB00025635

  46.   Edguardo Beltran                CUYAH_000033768
                                        MCKPUB00011908
                                        MCKPUB00011909
                                        MCKPUB00011912

  47.   Timothy I. Benford, Jr.         AKRON_001126044
                                        MCKPUB00025671
                                        MCKPUB00025673
                                        MCKPUB00025674

  48.   Marlon L. Benn                  CUYAH_000031349
                                        MCKPUB00018261
                                        MCKPUB00018262


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        Name                    Sources
                                      MCKPUB00018265




  49.   Ernest Eugene Bennett         AKRON_001219892
                                      MCKPUB00025676
                                      MCKPUB00025677
                                      MCKPUB00025681

  50.   Timothy Bennett II            CUYAH_000044349
                                      MCKPUB00022178
                                      MCKPUB00022179
                                      MCKPUB00022183

  51.   Martin Bido                   CUYAH_000035319
                                      MCKPUB00018280
                                      MCKPUB00018281
                                      MCKPUB00018286

  52.   Todd B. Bittner               AKRON_000295612
                                      MCKPUB00022236
                                      MCKPUB00022238

  53.   Stevenson Black               MCKPUB00021193
                                      MCKPUB00021384
                                      MCKPUB00021389
                                      MCKPUB00021401
                                      MCKPUB00021404

  54.   Demetric Deshaun              AKRON_000204877
        Blackwell                     MCKPUB00010402
                                      MCKPUB00010404
                                      MCKPUB00010405

  55.   Dominique Blair               MCKPUB00011050
                                      MCKPUB00011241
                                      MCKPUB00011253
                                      MCKPUB00011256
                                      MCKPUB00029100




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        Name                    Sources
  56.   Carl J. Blake                 AKRON_000286465
                                      MCKPUB00008498
                                      MCKPUB00008500
                                      MCKPUB00008501

  57.   Latrice Blevins               MCKPUB00011256
                                      MCKPUB00017137
                                      MCKPUB00017328
                                      MCKPUB00017332
                                      MCKPUB00017345

  58.   Marcus Blue                   MCKPUB00017940
                                      MCKPUB00018131
                                      MCKPUB00018133
                                      MCKPUB00018147
                                      MCKPUB00018149

  59.   Anthony Board, Jr.            MCKPUB00006892
                                      MCKPUB00006901
                                      MCKPUB00006904
                                      MCKPUB00006906
                                      MCKPUB00006907
                                      MCKPUB00006914
                                      MCKPUB00025685
                                      MCKPUB00025692
                                      MCKPUB00029102

  60.   Delena Bolden                 CUYAH_000074377
                                      MCKPUB00010391
                                      MCKPUB00010392
                                      MCKPUB00010399

  61.   Joseph C. Bolinger            AKRON_00200794
                                      MCKPUB00015933
                                      MCKPUB00015935
                                      MCKPUB00015936

  62.   Elliott Bonner                CUYAH_000032528
                                      MCKPUB00012278
                                      MCKPUB00012279
                                      MCKPUB00012286




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        Name                    Sources
  63.   Christopher Bowen             MCKPUB00008923
                                      MCKPUB00008946
                                      MCKPUB00008951
                                      MCKPUB00008953
                                      MCKPUB00008955
                                      MCKPUB00008958
                                      MCKPUB00008960
                                      MCKPUB00008965
                                      MCKPUB00025716

  64.   Gerald Bowerman               MCKPUB00013570
                                      MCKPUB00013572
                                      MCKPUB00013575
                                      MCKPUB00013581
                                      MCKPUB00013583

  65.   Andrew R. Bowers              AKRON_000206068
                                      AKRON_000223279
                                      MCKPUB00006836
                                      MCKPUB00006837
                                      MCKPUB00006839
                                      MCKPUB00006840

  66.   Alexander J. Bowles           MCKPUB00025728
                                      MCKPUB00025732
                                      MCKPUB00025733
                                      MCKPUB00025736
                                      SUMMIT_000375431

  67.   Peter L. Boyd                 AKRON_000203371
                                      AKRON_001274723
                                      MCKPUB00025738
                                      MCKPUB00025739
                                      MCKPUB00025742
                                      MCKPUB00025744

  68.   Rodney Boyd                   MCKPUB00020239
                                      MCKPUB00020240
                                      MCKPUB00020242




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        Name                    Sources
  69.   Stuart J. Boykin              MCKPUB00021408
                                      MCKPUB00021410
                                      MCKPUB00021417
                                      MCKPUB00021418
                                      MCKPUB00021431
                                      MCKPUB00021433
                                      MCKPUB00025748
                                      MCKPUB00025757
                                      MCKPUB00029111

  70.   Germine Bradley               MCKPUB00013592
                                      MCKPUB00013604
                                      MCKPUB00013606
                                      MCKPUB00013607
                                      MCKPUB00013609
                                      MCKPUB00013611
                                      MCKPUB00013613
                                      MCKPUB00013615
                                      MCKPUB00013617
                                      MCKPUB00013620

  71.   Javion L. Brandon             AKRON_000221651
                                      MCKPUB00015367
                                      MCKPUB00015369
                                      MCKPUB00015370

  72.   Vernita Brent                 CUYAH_000033971
                                      MCKPUB00022446
                                      MCKPUB00022447
                                      MCKPUB00022450

  73.   Sharod J. Britt               AKRON_000205747
                                      AKRON_000286790
                                      MCKPUB00020904
                                      MCKPUB00020906
                                      MCKPUB00020907

  74.   Davell L. Brock               MCKPUB00009978
                                      MCKPUB00009980
                                      MCKPUB00009981
                                      MCKPUB00009984




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        Name                    Sources
  75.   Howard Brockman, Jr.          AKRON_001279859
                                      MCKPUB00025826
                                      MCKPUB00025827
                                      MCKPUB00025829

  76.   Lewis Brooks                  CUYAH_000024875
                                      MCKPUB00017628
                                      MCKPUB00017629
                                      MCKPUB00017631

  77.   Ricky Lamar Brooks            AKRON_000201799
                                      MCKPUB00019589
                                      MCKPUB00019591
                                      MCKPUB00019592

  78.   Adolph R. Brown, Sr.          AKRON_000205137
                                      MCKPUB00006243
                                      MCKPUB00006268
                                      MCKPUB00006272
                                      MCKPUB00006274
                                      MCKPUB00006275
                                      MCKPUB00006276
                                      MCKPUB00029112

  79.   Chad Brown                    CUYAH_000039490
                                      MCKPUB00008861
                                      MCKPUB00008862
                                      MCKPUB00008866

  80.   Diion J. Brown                CUYAH_000030101
                                      MCKPUB00010824
                                      MCKPUB00010825
                                      MCKPUB00010828

  81.   Melton J. Brown               AKRON_001273928
                                      MCKPUB00025831
                                      MCKPUB00025832
                                      MCKPUB00025834

  82.   Rudius Abijah Brown           CUYAH_000025876
                                      MCKPUB00005388
                                      MCKPUB00005390
                                      MCKPUB00005393

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        Name                       Sources
                                         MCKPUB00020588
                                         MCKPUB00020589
                                         MCKPUB00020591

  83.   Detroit Demorriss Brown-         AKRON_000290350
        Yates                            MCKPUB00010586
                                         MCKPUB00010588
                                         MCKPUB00010589

  84.   Tennille Bryant                  MCKPUB00021497
                                         MCKPUB00021580
                                         MCKPUB00021587
                                         MCKPUB00021595

  85.   Michael Buchanan                 MCKPUB00018631
                                         MCKPUB00018635
                                         MCKPUB00018646
                                         MCKPUB00018648
                                         MCKPUB00018633

  86.   Terri Buckner                    CUYAH_000070777
                                         MCKPUB00021862
                                         MCKPUB00021863
                                         MCKPUB00021865

  87.   James Buell                      AKRON_001151503
                                         MCKPUB00014991
                                         MCKPUB00014994
                                         MCKPUB00014996
                                         MCKPUB00014997

  88.   Vernon R. Buffington             CUYAH_000025876
                                         MCKPUB00022453
                                         MCKPUB00022454
                                         MCKPUB00022457

  89.   Barbara Burncheck                CUYAH_000036103
                                         MCKPUB00007566
                                         MCKPUB00007567
                                         MCKPUB00007569




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        Name                    Sources
  90.   Michael T. Butts              CUYAH_014631409
                                      CUYAH_014631435
                                      MCKPUB00024468
                                      MCKPUB00024470
                                      MCKPUB00024473

  91.   Jonah M. Byard                AKRON_001157001
                                      MCKPUB00025838
                                      MCKPUB00025839
                                      MCKPUB00025841

  92.   Roderick A. Byrd              MCKPUB00020218
                                      MCKPUB00020219
                                      MCKPUB00020220
                                      MCKPUB00020221
                                      MCKPUB00020222

  93.   Edwin O. Cain III             AKRON_000296704
                                      MCKPUB00012219
                                      MCKPUB00012226
                                      MCKPUB00012229
                                      MCKPUB00012231
                                      MCKPUB00012233
                                      MCKPUB00012239
                                      MCKPUB00012240
                                      MCKPUB00012249
                                      MCKPUB00012251
                                      MCKPUB00012252
                                      MCKPUB00025843

  94.   Reiko Calmese                 AKRON_000205036
                                      MCKPUB00019495
                                      MCKPUB00019497
                                      MCKPUB00019498

  95.   Tyrone Cammon                 MCKPUB00022370
                                      MCKPUB00022376
                                      MCKPUB00022380
                                      MCKPUB00022381
                                      MCKPUB00022384
                                      MCKPUB00022386
                                      MCKPUB00022387
                                      MCKPUB00022389

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        Name                    Sources
                                      MCKPUB00022391
                                      MCKPUB00022392
                                      MCKPUB00022394
                                      MCKPUB00022396
                                      MCKPUB00022397
                                      MCKPUB00022399
                                      MCKPUB00022401
                                      MCKPUB00022408
                                      MCKPUB00025873

  96.   Glenn Campbell                AKRON_001217583
                                      MCKPUB00025875
                                      MCKPUB00025876
                                      MCKPUB00025879

  97.   Pierre Campbell               MCKPUB00019299
                                      MCKPUB00019305
                                      MCKPUB00019306
                                      MCKPUB00019323
                                      MCKPUB00019325
                                      MCKPUB00019328
                                      MCKPUB00019329

  98.   Raymond L. Canales            CUYAH_000035145
                                      MCKPUB00019426
                                      MCKPUB00019427
                                      MCKPUB00019429

  99.   Alvin Caraballo               CUYAH_000043787
                                      MCKPUB00006539
                                      MCKPUB00006540
                                      MCKPUB00006543

  100. Bryan James Carney             AKRON_000201407
                                      MCKPUB00008174
                                      MCKPUB00008237
                                      MCKPUB00008238
                                      MCKPUB00008240
                                      MCKPUB00008241




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       Name                       Sources
  101. Sandra Carte                     CUYAH_000033229
                                        MCKPUB00020871
                                        MCKPUB00020872
                                        MCKPUB00020875

  102. Danielle M. Carter               AKRON_000205625
                                        AKRON_000288343
                                        MCKPUB00009511
                                        MCKPUB00009512
                                        MCKPUB00009515
                                        MCKPUB00009517
                                        MCKPUB00009520

  103. Genevus Carter                   AKRON_000290719
                                        MCKPUB00013558
                                        MCKPUB00013559
                                        MCKPUB00013563
                                        MCKPUB00013567
                                        MCKPUB00029114
                                        SUMMIT_000681607

  104. Gregory Brian Carter             AKRON_000228418
                                        MCKPUB00013666
                                        MCKPUB00013668
                                        MCKPUB00013669

  105. Tevin Carter                     CUYAH_000078887
                                        MCKPUB00021932
                                        MCKPUB00021933
                                        MCKPUB00021935

  106. James Carver                     MCKPUB00014998
                                        MCKPUB00015081
                                        MCKPUB00015090
                                        MCKPUB00015104
                                        MCKPUB00015118
                                        MCKPUB00025882
                                        MCKPUB00029116

  107. Claudia Cazarez-Quintero         MCKPUB00009021
                                        MCKPUB00009026
                                        MCKPUB00009029
                                        MCKPUB00009037

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       Name                     Sources
                                      MCKPUB00009043




  108. William A. Checo               CUYAH_000032629
                                      MCKPUB00022733
                                      MCKPUB00022734
                                      MCKPUB00022737

  109. David M. Cheeks                CUYAH_000021917
                                      MCKPUB00010201
                                      MCKPUB00010202
                                      MCKPUB00010209

  110. Deon Antonio Christian         AKRON_000206111
                                      AKRON_000296366
                                      MCKPUB00010426
                                      MCKPUB00010428
                                      MCKPUB00010429
                                      MCKPUB00010430
                                      MCKPUB00010432
                                      MCKPUB00010433

  111. Terry Lee Christian            MCKPUB00021886
                                      MCKPUB00021887
                                      MCKPUB00021890
                                      MCKPUB00021892
                                      MCKPUB00021893
                                      MCKPUB00021895

  112. Andre R. Clark                 AKRON_000292867
                                      MCKPUB00006593
                                      MCKPUB00006595
                                      MCKPUB00006596

  113. Bernard Clark                  CUYAH_000020975
                                      CUYAH_000032973
                                      CUYAH_000079139
                                      MCKPUB00007614
                                      MCKPUB00007615
                                      MCKPUB00007621
                                      MCKPUB00007624
                                      MCKPUB00007625

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       Name                     Sources
                                      MCKPUB00007632
                                      MCKPUB00007634
                                      MCKPUB00007635
                                      MCKPUB00007640

  114. Monique Sharay Clemons         CUYAH_000032751
                                      MCKPUB00018997
                                      MCKPUB00018998
                                      MCKPUB00019000

  115. Davonte Clepper                AKRON_001128716
                                      AKRON_001221663
                                      MCKPUB00025925
                                      MCKPUB00025926
                                      MCKPUB00025929
                                      MCKPUB00025932
                                      MCKPUB00025933
                                      MCKPUB00025935
                                      MCKPUB00025937

  116. Michael Cleveland              MCKPUB00018652
                                      MCKPUB00018656
                                      MCKPUB00018659
                                      MCKPUB00018666
                                      MCKPUB00018667
                                      MCKPUB00018669
                                      MCKPUB00018671
                                      MCKPUB00018673
                                      MCKPUB00029159

  117. Paul A. Cline, Jr.             CUYAH_000067870
                                      MCKPUB00019253
                                      MCKPUB00019254
                                      MCKPUB00019259

  118. Tonio Coffey                   AKRON_000205517
                                      MCKPUB00022250
                                      MCKPUB00022252
                                      MCKPUB00022253
                                      MCKPUB00022254
                                      MCKPUB00022257




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       Name                     Sources
  119. Dora L. Colbert (also          AKRON_001157134
       known as Dora Bingham)         MCKPUB00025940
                                      MCKPUB00025941
                                      MCKPUB00025944

  120. Tyler K. Colbert               AKRON_001216262
                                      MCKPUB00025947
                                      MCKPUB00025948
                                      MCKPUB00025950

  121. Royce A. Colburne              AKRON_000207131
                                      MCKPUB00020572
                                      MCKPUB00020575

  122. Granville Christopher          AKRON_000205596
       Collins                        MCKPUB00013661
                                      MCKPUB00013663
                                      MCKPUB00013664

  123. Reginald Collins               AKRON_001230697
                                      MCKPUB00025952
                                      MCKPUB00025953
                                      MCKPUB00025955

  124. Eric Cook                      CUYAH_000074939
                                      MCKPUB00012521
                                      MCKPUB00012522
                                      MCKPUB00012527

  125. George Cook                    AKRON_001144906
                                      MCKPUB00025957
                                      MCKPUB00025958
                                      MCKPUB00025960

  126. Da’zaun L. Coppinger           AKRON_000298571
                                      MCKPUB00010343
                                      MCKPUB00010345
                                      MCKPUB00010346

  127. Malik D. Corbin                AKRON_000297011
                                      MCKPUB00017924
                                      MCKPUB00017927


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       Name                     Sources
                                      MCKPUB00017928




  128. Kristopher Courtney            MCKPUB00016638
                                      MCKPUB00016652
                                      MCKPUB00016656
                                      MCKPUB00016662
                                      MCKPUB00016664
                                      MCKPUB00016666
                                      MCKPUB00025976

  129. Jadonta J. Cousins             AKRON_000220047
                                      MCKPUB00014764
                                      MCKPUB00014767
                                      MCKPUB00014768

  130. Jack D. Couts                  AKRON_000201538
                                      MCKPUB00014493
                                      MCKPUB00014494
                                      MCKPUB00014496
                                      MCKPUB00014497

  131. Wendell Cox                    CUYAH_000029676
                                      MCKPUB00022721
                                      MCKPUB00022722
                                      MCKPUB00022725

  132. Anfenee J. Crandall            AKRON_000203254
                                      SUMMIT_000788689
                                      MCKPUB00026014
                                      MCKPUB00026018
                                      MCKPUB00026020

  133. Erica M. Crawford              CUYAH_000070777
                                      MCKPUB00012777
                                      MCKPUB00012778
                                      MCKPUB00012780

  134. Amy L. Croft                   AKRON_000201101
                                      MCKPUB00006569
                                      MCKPUB00006571
                                      MCKPUB00006572

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       Name                     Sources
                                      MCKPUB00006575
                                      MCKPUB00006579



  135. Andres Cruz                    CUYAH_000043787
                                      MCKPUB00006608
                                      MCKPUB00006609
                                      MCKPUB00006618

  136. Efrain Cruz                    CUYAH_000036390
                                      MCKPUB00012253
                                      MCKPUB00012254
                                      MCKPUB00012256

  137. Melvin Cruz                    CUYAH_000032221
                                      MCKPUB00018569
                                      MCKPUB00018570
                                      MCKPUB00018572

  138. Vernell Curry                  MCKPUB00022444




  139. Willie Curry                   CUYAH_000020911
                                      MCKPUB00022764
                                      MCKPUB00022765
                                      MCKPUB00022768

  140. Daymere Marveeouns             AKRON_000201609
       Dabney                         MCKPUB00010331
                                      MCKPUB00010332
                                      MCKPUB00010334

  141. Michael D. “Mook”              MCKPUB00018688
       Dandridge                      MCKPUB00018679
                                      MCKPUB00018704
                                      MCKPUB00018711
                                      MCKPUB00029160
                                      MCKPUB00029186




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       Name                      Sources
  142. Gregory Carnell Daniels         AKRON_000201218
                                       MCKPUB00013670
                                       MCKPUB00013671
                                       MCKPUB00013674

  143. Steven D. Daniels               MCKPUB00021143
                                       MCKPUB00021144
                                       MCKPUB00021147
                                       MCKPUB00021155
                                       MCKPUB00021157
                                       MCKPUB00026047
                                       MCKPUB00029212
                                       MCKPUB00029213
                                       MCKPUB00029214
                                       MCKPUB00029240
                                       MCKPUB00029245
                                       MCKPUB00029247

  144. Frederick L. Darling            MCKPUB00013446
                                       MCKPUB00013452
                                       MCKPUB00013255
                                       MCKPUB00013469
                                       MCKPUB00013472
                                       MCKPUB00026073
                                       MCKPUB00026107

  145. Tevaughn Darling                CUYAH_000070777
                                       MCKPUB00021922
                                       MCKPUB00021923
                                       MCKPUB00021930

  146. Tiree S. Davenport              SUMMIT_001137532
                                       SUMMIT_001137540
                                       SUMMIT_001137541
                                       SUMMIT_001137610
                                       MCKPUB00022232
                                       MCKPUB00022234
                                       MCKPUB00022235

  147. Cortez L. Davis                 MCKPUB00009080
                                       MCKPUB00009097
                                       MCKPUB00009206


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       Name                     Sources
  148. Da’Quan Davis                  AKRON_000334646
                                      MCKPUB00026298
                                      MCKPUB00026299
                                      MCKPUB00026303
                                      MCKPUB00026307

  149. Devonte Deshawn Davis          AKRON_000201812
                                      MCKPUB00010801
                                      MCKPUB00010802
                                      MCKPUB00010804

  150. Rodney Sterling Davis          AKRON_000223079
                                      MCKPUB00020249
                                      MCKPUB00020251
                                      MCKPUB00020252

  151. Tamicka R. Davis               MCKPUB00021451
                                      MCKPUB00021456



  152. Tedre Davis                    MCKPUB00021485
                                      MCKPUB00021487
                                      MCKPUB00021488
                                      MCKPUB00021489
                                      MCKPUB00021495
                                      MCKPUB00029249

  153. Tyrone Davis                   CUYAH_000081328
                                      MCKPUB00022410
                                      MCKPUB00022411
                                      MCKPUB00022414

  154. Marcos Dejesus                 CUYAH_000027860
                                      MCKPUB00017934
                                      MCKPUB00017935
                                      MCKPUB00017938

  155. Darwyn de la Cruz              CUYAH_000032629
                                      MCKPUB00009911
                                      MCKPUB00009912
                                      MCKPUB00009915



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       Name                     Sources
  156. Zakiya Z. Delaney              AKRON_000213174
                                      MCKPUB00022814
                                      MCKPUB00022818

  157. Jacob Derrickson               MCKPUB00014544
                                      MCKPUB00014735
                                      MCKPUB00014737
                                      MCKPUB00014748
                                      MCKPUB00014751

  158. Luis Diaz                      CUYAH_000037639
                                      MCKPUB00017696
                                      MCKPUB00017698
                                      MCKPUB00017702

  159. Reynaldo Diaz-Guzman           MCKPUB00019512
                                      MCKPUB00019514
                                      MCKPUB00019521
                                      MCKPUB00019529
                                      MCKPUB00019534
                                      MCKPUB00026501

  160. Randall Keith Dickey           AKRON_000207384
                                      AKRON_001151503
                                      MCKPUB00019379
                                      MCKPUB00019382
                                      MCKPUB00019383
                                      MCKPUB00019386
                                      MCKPUB00019388
                                      MCKPUB00019389

  161. Danny Digregorio               CUYAH_000036638
                                      MCKPUB00009524
                                      MCKPUB00009525
                                      MCKPUB00009527

  162. Dante D. Dixon                 CUYAH_000056835
                                      MCKPUB00009569
                                      MCKPUB00009570
                                      MCKPUB00009577




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       Name                       Sources
  163. Gabriel H. Dixon                 AKRON_000288578
                                        MCKPUB00013482
                                        MCKPUB00013485
                                        MCKPUB00013486

  164. Karshif A. Dobson                AKRON_000200975
                                        MCKPUB00016040
                                        MCKPUB00016041
                                        MCKPUB00016042

  165. Antonio V. Dorman                MCKPUB00006999
                                        MCKPUB00007008
                                        MCKPUB00007010
                                        MCKPUB00026521

  166. Larry Dorsey                     MCKPUB00017111




  167. Larry P. Dorsey                  AKRON_000201096
                                        MCKPUB00017122
                                        MCKPUB00017127
                                        MCKPUB00017129
                                        MCKPUB00029250

  168. Edwin Dortch, Jr.                MCKPUB00012180
                                        MCKPUB00012189
                                        MCKPUB00012196
                                        MCKPUB00012202
                                        MCKPUB00012204
                                        SUMMIT_000071039

  169. Gibraun Y. Dowdell               AKRON_000205211
                                        AKRON_000281110
                                        MCKPUB00013622
                                        MCKPUB00013625
                                        MCKPUB00013627
                                        MCKPUB00013628

  170. Jonathan Madison Dowdell         AKRON_000204332
                                        AKRON_000287518
                                        MCKPUB00015688
                                        MCKPUB00015689

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       Name                     Sources
                                      MCKPUB00015690
                                      MCKPUB00015696



  171. Robert Dowdell                 CUYAH_000038772
                                      MCKPUB00019827
                                      MCKPUB00019829
                                      MCKPUB00019834

  172. Nashaun L. Drake               CUYAH_000031080
                                      MCKPUB00019027
                                      MCKPUB00019028
                                      MCKPUB00019031

  173. Victor S. Duckworth            CUYAH_000050405
                                      MCKPUB00022490
                                      MCKPUB00022491
                                      MCKPUB00022495

  174. Calvin L. Dudley               AKRON_000288474
                                      AKRON_000288727
                                      MCKPUB00008250
                                      MCKPUB00008254
                                      MCKPUB00008255

  175. Floyd J. Dunlap, Jr.           AKRON_000290464
                                      MCKPUB00013030
                                      MCKPUB00013039
                                      MCKPUB00013041

  176. Leron Dashawn Eady             AKRON_000220815
                                      MCKPUB00017595
                                      MCKPUB00017597
                                      MCKPUB00017598

  177. Antonia D. Easter              MCKPUB00006984
                                      MCKPUB00029253
                                      MCKPUB00029255




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       Name                     Sources
  178. Kevin Ecker                    MCKPUB00016339
                                      MCKPUB00016354
                                      MCKPUB00016356
                                      MCKPUB00016358
                                      MCKPUB00016360
                                      SUMMIT_000119150

  179. Mario Edmonds                  MCKPUB00018183
                                      MCKPUB00029258



  180. Melvin Edwards                 CUYAH_000020887
                                      CUYAH_000034686
                                      MCKPUB00018574
                                      MCKPUB00018575
                                      MCKPUB00018578

  181. Rayshawn Edwards               CUYAH_000049465
                                      MCKPUB00019461
                                      MCKPUB00019462
                                      MCKPUB00019466

  182. Dashawn Elder                  MCKPUB00009937
                                      MCKPUB00009943
                                      MCKPUB00009946
                                      MCKPUB00009953
                                      MCKPUB00009960
                                      MCKPUB00009962
                                      MCKPUB00009964
                                      MCKPUB00009971

  183. Richard D. Ellis               AKRON_000281294
                                      MCKPUB00019546
                                      MCKPUB00019548
                                      MCKPUB00019549

  184. Antwain Emory                  CUYAH_000040245
                                      MCKPUB00007014
                                      MCKPUB00007015
                                      MCKPUB00007020




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       Name                     Sources
  185. Dana M. Ervin                  MCKPUB00009295
                                      MCKPUB00009486
                                      MCKPUB00009488
                                      MCKPUB00009500
                                      MCKPUB00009502

  186. Antwon Evans                   MCKPUB00007031
                                      MCKPUB00007224
                                      MCKPUB00007235
                                      MCKPUB00007237
                                      MCKPUB00029264

  187. Aaron S. Farrey                MCKPUB00006222
                                      MCKPUB00029266
                                      MCKPUB00029268

  188. Frederick Ferrell              MCKPUB00013047
                                      MCKPUB00013238
                                      MCKPUB00013240
                                      MCKPUB00013251

  189. Deante R. Finney               AKRON_001221650
                                      MCKPUB00026523
                                      MCKPUB00026526
                                      MCKPUB00026527

  190. Harlen T. Finney               AKRON_001218583
                                      MCKPUB00026529
                                      MCKPUB00026530
                                      MCKPUB00026532

  191. Darelle D. Fischer             AKRON_000205051
                                      MCKPUB00009603
                                      MCKPUB00009606
                                      MCKPUB00009607

  192. William Fitzer                 CUYAH_000034468
                                      MCKPUB00022753
                                      MCKPUB00022754
                                      MCKPUB00022757




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       Name                     Sources
  193. Terrance L. Fletcher           MCKPUB00021607
                                      MCKPUB00021798
                                      MCKPUB00021800
                                      MCKPUB00021814
                                      MCKPUB00029271

  194. Tammi Vontella Flint           AKRON_000216595
                                      MCKPUB00021458
                                      MCKPUB00021460

  195. Dierre D. Folk                 AKRON_000220545
                                      MCKPUB00010820
                                      MCKPUB00010822
                                      MCKPUB00010823

  196. Terrance L. Ford               MCKPUB00021818
                                      MCKPUB00021819
                                      MCKPUB00021820
                                      MCKPUB00021822
                                      MCKPUB00021823
                                      MCKPUB00026535
                                      MCKPUB00029273

  197. James Foreman                  MCKPUB00015120
                                      MCKPUB00015121
                                      MCKPUB00015124
                                      SUMMIT_000064877

  198. Miranda B. Forsyth             AKRON_001125725
                                      MCKPUB00026625
                                      MCKPUB00026629
                                      MCKPUB00026630

  199. Tierra Fort                    MCKPUB00022161
                                      MCKPUB00022162
                                      MCKPUB00022169

  200. Tommie Lee Fortson             AKRON_00200617
                                      MCKPUB00022243
                                      MCKPUB00022246
                                      MCKPUB00022249



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       Name                     Sources
  201. Romando Foster                 AKRON_000208566
                                      MCKPUB00020513
                                      MCKPUB00020516
                                      MCKPUB00020517

  202. Robert L. Fowlkes, Jr.         MCKPUB00019965
                                      MCKPUB00020156
                                      MCKPUB00020162
                                      MCKPUB00020176
                                      MCKPUB00020178

  203. Lafayette M. Frazier           AKRON_000206247
                                      MCKPUB00016880
                                      MCKPUB00016883
                                      MCKPUB00016884
                                      MCKPUB00016889
                                      MCKPUB00016891

  204. Jermaine D. Freeman            MCKPUB00015371
                                      MCKPUB00029363
                                      MCKPUB00029365

  205. Cory W. Frogge                 AKRON_000289693
                                      MCKPUB00009223
                                      MCKPUB00009225
                                      MCKPUB00009226

  206. Nathan Fryberger               MCKPUB00026632
                                      MCKPUB00026633
                                      MCKPUB00026636

  207. Brenda Frye                    MCKPUB00007958
                                      SUMMIT_000119174



  208. Heather Frye                   MCKPUB00014171
                                      SUMMIT_000119174




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       Name                         Sources
  209. Aaron D. Fuqua                     AKRON_000213383
                                          MCKPUB00006218
                                          MCKPUB00006220
                                          MCKPUB00006221

  210. Ernest Gaines                      AKRON_000204400
                                          MCKPUB00012782
                                          MCKPUB00012789
                                          MCKPUB00012793
                                          MCKPUB00012794
                                          MCKPUB00012801
                                          MCKPUB00026638
                                          MCKPUB00029368

  211. Terrell D. Gaiter                  MCKPUB00026668
                                          MCKPUB00026669
                                          AKRON_001140139
                                          AKRON_001140140

  212. Josean Garcia-Rivera               CUYAH_000032221
                                          MCKPUB00015921
                                          MCKPUB00015922
                                          MCKPUB00015924

  213. Thomas Lanerr Garrett, Jr.         AKRON_000201071
                                          MCKPUB00022151
                                          MCKPUB00022152
                                          MCKPUB00022153
                                          MCKPUB00022155
                                          MCKPUB00022157

  214. Tammie Garver                      CUYAH_000040397
                                          MCKPUB00021461
                                          MCKPUB00021462
                                          MCKPUB00021467

  215. Ryan Gaston                        MCKPUB00020593
                                          MCKPUB00020602
                                          MCKPUB00020604
                                          MCKPUB00020611
                                          MCKPUB00020618
                                          MCKPUB00026674


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       Name                        Sources
  216. Da’Nico D. “Dupree” Geter         AKRON_000201619
                                         AKRON_000325481
                                         MCKPUB00009235
                                         MCKPUB00009238
                                         MCKPUB00009240
                                         MCKPUB00009241
                                         MCKPUB00009242
                                         MCKPUB00009244
                                         MCKPUB00009245
                                         MCKPUB00009246
                                         MCKPUB00009248
                                         MCKPUB00009249
                                         MCKPUB00009250
                                         MCKPUB00009252
                                         MCKPUB00009254
                                         MCKPUB00009255
                                         MCKPUB00009257
                                         MCKPUB00009262
                                         MCKPUB00009263
                                         MCKPUB00026700
                                         MCKPUB00029398

  217. Anthony Wayne Gibbons             AKRON_001177332
                                         MCKPUB00026711
                                         MCKPUB00026712
                                         MCKPUB00026714

  218. Audrey Gibson                     MCKPUB00007510
                                         MCKPUB00007542
                                         MCKPUB00007545
                                         MCKPUB00007554

  219. Dontaysha Gibson                  MCKPUB00011520
                                         MCKPUB00011552
                                         MCKPUB00011556
                                         MCKPUB00011564

  220. Donte Gibson                      MCKPUB00011579
                                         MCKPUB00011611
                                         MCKPUB00011615
                                         MCKPUB00011624
                                         MCKPUB00029410


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       Name                      Sources
  221. Tyrone Gilbert                  CUYAH_000034353
                                       MCKPUB00022416
                                       MCKPUB00022417
                                       MCKPUB00022420

  222. Chaz M. Gilchrist               AKRON_000200590
                                       MCKPUB00008915
                                       MCKPUB00008918
                                       MCKPUB00008922

  223. Matthew G.F. Gisentaner         AKRON_000330911
                                       MCKPUB00018310
                                       MCKPUB00018313
                                       MCKPUB00018314

  224. Christopher Glatzer             MCKPUB00008973
                                       MCKPUB00008975
                                       MCKPUB00008977

  225. Maurice Golston                 MCKPUB00018533
                                       MCKPUB00018539
                                       MCKPUB00018342
                                       MCKPUB00018553
                                       MCKPUB00018556

  226. Barbra Gonzales                 CUYAH_000035145
                                       MCKPUB00007571
                                       MCKPUB00007572
                                       MCKPUB00007574

  227. Jeronimo Gonzalez               CUYAH_000036277
                                       MCKPUB00015594
                                       MCKPUB00015595
                                       MCKPUB00015597

  228. D’Angelo A. Gordon              CUYAH_000077963
                                       MCKPUB00009506
                                       MCKPUB00009507
                                       MCKPUB00009509




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       Name                      Sources
  229. Leonard Graceffo                CUYAH_000040609
                                       MCKPUB00017590
                                       MCKPUB00017591
                                       MCKPUB00017593

  230. Christopher Graham, Jr.         CUYAH_000074377
                                       MCKPUB00008978
                                       MCKPUB00008980
                                       MCKPUB00008991

  231. Bryant Grant                    AKRON_001151503
                                       MCKPUB00008242
                                       MCKPUB00008245
                                       MCKPUB00008246
                                       MCKPUB00008249

  232. Dyshawn D. Gray                 AKRON_000286843
                                       MCKPUB00011882
                                       MCKPUB00011883
                                       MCKPUB00011885
                                       MCKPUB00011886

  233. Jermaine D. Grayson             MCKPUB00015375
                                       MCKPUB00015566
                                       MCKPUB00015568
                                       MCKPUB00015580
                                       MCKPUB00015583
                                       MCKPUB00029454

  234. Hamilton Greathouse             MCKPUB00014113
                                       MCKPUB00014115
                                       MCKPUB00014116
                                       MCKPUB00014118
                                       MCKPUB00014120
                                       MCKPUB00014121
                                       MCKPUB00014123
                                       MCKPUB00014125
                                       MCKPUB00014126
                                       MCKPUB00014128
                                       MCKPUB00014130
                                       MCKPUB00014131
                                       MCKPUB00014134
                                       MCKPUB00014136

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       Name                     Sources
                                      MCKPUB00014137
                                      MCKPUB00014141
                                      MCKPUB00014147
                                      MCKPUB00014149
                                      MCKPUB00014150
                                      MCKPUB00014155

  235. Brian Gregory                  CUYAH_000038436
                                      MCKPUB00008177
                                      MCKPUB00008178
                                      MCKPUB00008180

  236. Brian Keith Griffin            MCKPUB00008182
                                      MCKPUB00008184
                                      MCKPUB00008185
                                      MCKPUB00008186

  237. Duane E. Griffin               AKRON_001154747
                                      MCKPUB00026717
                                      MCKPUB00026718
                                      MCKPUB00026720

  238. Pierce S. Griffin              AKRON_001353715
                                      MCKPUB00026722
                                      MCKPUB00026723
                                      MCKPUB00026725

  239. David L. Grogan                AKRON_000201238
                                      MCKPUB00010197
                                      MCKPUB00010198
                                      MCKPUB00010200

  240. Eric D. Grundy                 MCKPUB00012552
                                      MCKPUB00012558
                                      MCKPUB00012560
                                      MCKPUB00026728

  241. Nathaniel D. Grundy            MCKPUB00019033
                                      MCKPUB00019040
                                      MCKPUB00026732




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       Name                     Sources
  242. Antonio L. Guice               AKRON_000294758
                                      MCKPUB00006988
                                      MCKPUB00006990
                                      MCKPUB00006991

  243. Tremayne Guin                  CUYAH_000039813
                                      MCKPUB00022328
                                      MCKPUB00022329
                                      MCKPUB00022332

  244. Anthony S. Guthrie             AKRON_001277621
                                      MCKPUB00026764
                                      MCKPUB00026765
                                      MCKPUB00026767

  245. Christopher E. Hale            AKRON_000201153
                                      MCKPUB00008967
                                      MCKPUB00008968
                                      MCKPUB00008971
                                      MCKPUB00008972

  246. Charles Hall                   MCKPUB00008868
                                      MCKPUB00008869
                                      MCKPUB00008872

  247. Lachelle T. Hall               MCKPUB00016858
                                      MCKPUB00016863
                                      MCKPUB00016667
                                      MCKPUB00016874
                                      MCKPUB00016876

  248. Bassem Hamed                   AKRON_001276324
                                      MCKPUB00026769
                                      MCKPUB00026770
                                      MCKPUB00026772

  249. Derek Hamilton                 MCKPUB00010446
                                      MCKPUB00010451
                                      MCKPUB00010458




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       Name                     Sources
  250. Gregory Hamilton               MCKPUB00013675
                                      MCKPUB00013866
                                      MCKPUB00013868
                                      MCKPUB00013884
                                      MCKPUB00013886
                                      MCKPUB00026778

  251. Desean R. Harbin               AKRON_000205083
                                      MCKPUB00010494
                                      MCKPUB00010501
                                      MCKPUB00010515
                                      MCKPUB00010518
                                      MCKPUB00029456
                                      MCKPUB00029458

  252. Keith Hardy                    CUYAH_000040168
                                      MCKPUB00016060
                                      MCKPUB00016061
                                      MCKPUB00016064

  253. Charles Harris                 CUYAH_000033971
                                      MCKPUB00008875
                                      MCKPUB00008877
                                      MCKPUB00008891

  254. Kenneth Harris                 MCKPUB00016072
                                      MCKPUB00016263
                                      MCKPUB00016265
                                      MCKPUB00016276
                                      MCKPUB00016278

  255. Lamar D. Harris                MCKPUB00014157
                                      MCKPUB00014163
                                      MCKPUB00014167
                                      MCKPUB00014168

  256. Robert E. Harris               AKRON_000204364
                                      MCKPUB00019836
                                      MCKPUB00019838
                                      MCKPUB00019839




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       Name                     Sources
  257. Ryland L. Harris, Jr.          MCKPUB00020635
                                      MCKPUB00020826
                                      MCKPUB00020828
                                      MCKPUB00020830
                                      MCKPUB00020833
                                      MCKPUB00026801
                                      MCKPUB00026870

  258. Dante D. Harrison              MCKPUB00009539
                                      MCKPUB00009546
                                      MCKPUB00009548
                                      MCKPUB00009567

  259. David Harsley                  MCKPUB00009987
                                      MCKPUB00010178
                                      MCKPUB00010180
                                      MCKPUB00010191
                                      MCKPUB00010193

  260. Erian Harwell                  MCKPUB00012310
                                      MCKPUB00012501
                                      MCKPUB00012503
                                      MCKPUB00012514
                                      MCKPUB00012517
                                      MCKPUB00026876

  261. Alyssa Hatfield                MCKPUB00006545
                                      SUMMIT_000662148



  262. Ricardo Hawkins                CUYAH_000036142
                                      MCKPUB00019540
                                      MCKPUB00019541
                                      MCKPUB00019544

  263. Rodney A. Haynes               MCKPUB00020224
                                      MCKPUB00020227
                                      MCKPUB00020229
                                      MCKPUB00020231
                                      MCKPUB00020233
                                      MCKPUB00029461



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       Name                     Sources
  264. Ronald Lamont Haynes           AKRON_000210513
                                      MCKPUB00020525
                                      MCKPUB00020527

  265. Deadonte Haywood               MCKPUB00026879
                                      MCKPUB00026883
                                      MCKPUB00026884

  266. Jerry Lee Henderson            AKRON_000204531
                                      MCKPUB00015599
                                      MCKPUB00015601
                                      MCKPUB00015602

  267. Kareem Hennings                CUYAH_000078275
                                      MCKPUB00016025
                                      MCKPUB00016027
                                      MCKPUB00016030
                                      MCKPUB00016032
                                      MCKPUB00016034
                                      MCKPUB00016038

  268. John Hernandez                 CUYAH_000035494
                                      MCKPUB00015666
                                      MCKPUB00015668
                                      MCKPUB00015672

  269. Jose Hernandez                 MCKPUB00015820
                                      MCKPUB00015903
                                      MCKPUB00015910
                                      MCKPUB00015919

  270. Dewitt Herring                 AKRON_001151503
                                      AKRON_000223279
                                      MCKPUB00010816
                                      MCKPUB00010818
                                      MCKPUB00010819

  271. Nickolas Hershbach             CUYAH_000078008
                                      MCKPUB00019051
                                      MCKPUB00019052
                                      MCKPUB00019056



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       Name                     Sources
  272. Carlton Higdon                 MCKPUB00008508
                                      MCKPUB00008699
                                      MCKPUB00008705
                                      MCKPUB00008718
                                      MCKPUB00008721

  273. Alonzo Hill                    MCKPUB00006504
                                      MCKPUB00006507
                                      MCKPUB00006508
                                      MCKPUB00006516
                                      MCKPUB00006518
                                      MCKPUB00006520
                                      MCKPUB00006522
                                      MCKPUB00006524
                                      MCKPUB00006526
                                      MCKPUB00006528
                                      MCKPUB00006533
                                      MCKPUB00026886
                                      MCKPUB00029462

  274. April N. Hill                  MCKPUB00007449
                                      MCKPUB00007450
                                      MCKPUB00007452

  275. Gene A. Hill                   AKRON_000207262
                                      MCKPUB00026893
                                      MCKPUB00026894
                                      MCKPUB00026896

  276. Lamarr D. Hill                 AKRON_000220740
                                      MCKPUB00017098
                                      MCKPUB00017102
                                      MCKPUB00017103

  277. Sean Hinkle                    CUYAH_000026640
                                      MCKPUB00020884
                                      MCKPUB00020887
                                      MCKPUB00020888




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       Name                       Sources
  278. Raymond B. Hinton                CUYAH_000038219
                                     
                                        MCKPUB00019421
                                        MCKPUB00029470
                                        MCKPUB00029472
                                        MCKPUB00029475

  279. Christopher J. Hitchcock         AKRON_000293336
                                        MCKPUB00009227
                                        MCKPUB00009229
                                        MCKPUB00009231

  280. Nicole Hite                      CUYAH_000037028
                                        MCKPUB00019058
                                        MCKPUB00019059
                                        MCKPUB00019063

  281. Robert Lewis Hoard               AKRON_000280650
                                        MCKPUB00020182
                                        MCKPUB00020184

  282. Willie Hodge                     CUYAH_000074939
                                        MCKPUB00022771
                                        MCKPUB00022772
                                        MCKPUB00022775

  283. Victor Hohlakis                  CUYAH_000052783
                                        MCKPUB00022459
                                        MCKPUB00022460
                                        MCKPUB00022462

  284. Marvin J. Holmes, Jr.            AKRON_001279352
                                        MCKPUB00026898
                                        MCKPUB00026899
                                        MCKPUB00026901

  285. Zenock H. Hood                   AKRON_000201729
                                        MCKPUB00022819
                                        MCKPUB00022822
                                        MCKPUB00022823
                                        MCKPUB00022826



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       Name                     Sources
  286. Rico M. Hooks                  AKRON_001274716
                                      MCKPUB00026903
                                      MCKPUB00026906
                                      MCKPUB00026907

  287. Danielle M. Hoover             MCKPUB00009521
                                      SUMMIT_001144919



  288. Torrod C. Hopson               AKRON_000219698
                                      MCKPUB00022260
                                      MCKPUB00022263
                                      MCKPUB00022264

  289. Carlos Horton                  CUYAH_000031349
                                      MCKPUB00008502
                                      MCKPUB00008503
                                      MCKPUB00008506

  290. Christopher Howze              CUYAH_000076070
                                      MCKPUB00008993
                                      MCKPUB00008994
                                      MCKPUB00008998

  291. Michael W. Hudson              CUYAH_000055327
                                      MCKPUB00018955
                                      MCKPUB00018957

  292. Hollis A. Huff                 AKRON_001274277
                                      MCKPUB00026909
                                      MCKPUB00026910
                                      MCKPUB00026913

  293. Imari James Hughes             AKRON_001272640
                                      MCKPUB00026916
                                      MCKPUB00026917
                                      MCKPUB00026920

  294. Eric L. Humphrey               AKRON_001216210
                                      MCKPUB00026922
                                      MCKPUB00026923
                                      MCKPUB00026925


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       Name                     Sources
  295. Carl Hundley, Jr.              AKRON_001151503
                                      MCKPUB00008480
                                      MCKPUB00008484
                                      MCKPUB00008486
                                      MCKPUB00008489
                                      MCKPUB00008490
                                      MCKPUB00008491
                                      MCKPUB00008492

  296. Norman Hunter                  MCKPUB00019065
                                      MCKPUB00019068
                                      MCKPUB00019078
                                      MCKPUB00019080
                                      MCKPUB00026927

  297. Tedario Hunter                 CUYAH_000073102
                                      MCKPUB00021476
                                      MCKPUB00021477
                                      MCKPUB00021482

  298. Jessica Irons                  MCKPUB00015604
                                      SUMMIT_001137100



  299. Dominique Ivory                MCKPUB00011260
                                      MCKPUB00011451
                                      MCKPUB00011453
                                      MCKPUB00011466
                                      MCKPUB00011469

  300. Andrew Jackson                 AKRON_000213174
                                      MCKPUB00006828
                                      MCKPUB00006829
                                      MCKPUB00006834
                                      MCKPUB00006835

  301. Darcell Jackson                CUYAH_000038875
                                      MCKPUB00009588
                                      MCKPUB00009589
                                      MCKPUB00009594




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       Name                     Sources
  302. Marcus T. Jackson              AKRON_000213986
                                      MCKPUB00018180
                                      MCKPUB00018182

  303. Sundy Jackson                  CUYAH_000039107
                                      MCKPUB00021435
                                      MCKPUB00021436
                                      MCKPUB00021439

  304. Terrell L. Jarvis              AKRON_000205017
                                      AKRON_000295612
                                      MCKPUB00021855
                                      MCKPUB00021856
                                      MCKPUB00021859
                                      MCKPUB00021861

  305. Arthur Lee Jefferson           AKRON_000201488
                                      MCKPUB00007474
                                      MCKPUB00007476
                                      MCKPUB00007478
                                      MCKPUB00007479
                                      MCKPUB00007480
                                      MCKPUB00007482
                                      MCKPUB00007483
                                      MCKPUB00007484
                                      MCKPUB00007491
                                      MCKPUB00007501

  306. Brandon M. Jefferson           AKRON_001216068
                                      MCKPUB00026972
                                      MCKPUB00026973
                                      MCKPUB00026975

  307. Jurmaine A. Jeffries           MCKPUB00015965
                                      MCKPUB00015967
                                      MCKPUB00015975
                                      MCKPUB00015978
                                      MCKPUB00016000
                                      MCKPUB00016002
                                      MCKPUB00029477
                                      MCKPUB00029479



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       Name                        Sources
  308. Edward Jewell (also known         MCKPUB00012142
       as Rayshawn Williams)             MCKPUB00012151
                                         MCKPUB00012165
                                         MCKPUB00026978
                                         MCKPUB00027016

  309. Anthony D. Johnson                CUYAH_000074721
                                         MCKPUB00006916
                                         MCKPUB00006917
                                         MCKPUB00006920

  310. Darrell R. Johnson                CUYAH_000032821
                                         MCKPUB00009887
                                         MCKPUB00009888
                                         MCKPUB00009891

  311. Douglas T. Johnson                MCKPUB00011642
                                         MCKPUB00011835
                                         MCKPUB00011833
                                         MCKPUB00011838
                                         MCKPUB00011840

  312. Dwayne A. Johnson                 AKRON_000200740
                                         MCKPUB00011866
                                         MCKPUB00011868
                                         MCKPUB00011869
                                         MCKPUB00011871

  313. Jarmarcus M. Johnson              AKRON_000220638
                                         MCKPUB00015351
                                         MCKPUB00015354

  314. Joe Johnson                       CUYAH_000028411
                                         CUYAH_014632182
                                         MCKPUB00015631
                                         MCKPUB00015633
                                         MCKPUB00015638
                                         MCKPUB00029483

  315. Kevin D. Johnson                  AKRON_000294846
                                         MCKPUB00016333
                                         MCKPUB00016334
                                         MCKPUB00016336

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       Name                     Sources
                                      MCKPUB00016338




  316. Lamont Johnson                 CUYAH_000033188
                                      MCKPUB00017104
                                      MCKPUB00017105
                                      MCKPUB00017106

  317. Luther B. Johnson              MCKPUB00017704
                                      MCKPUB00017895
                                      MCKPUB00017897
                                      MCKPUB00017909
                                      MCKPUB00017911

  318. Paul Jewel Johnson             MCKPUB00027106
                                      MCKPUB00027107
                                      MCKPUB00027110

  319. Robert J. Johnson              MCKPUB00019840
                                      MCKPUB00019843
                                      MCKPUB00019946
                                      MCKPUB00019953
                                      MCKPUB00019963
                                      MCKPUB00027113

  320. Ronnie L. Johnson, Jr.         CUYAH_000032762
                                      MCKPUB00020558
                                      MCKPUB00020560
                                      MCKPUB00020563

  321. William Johnson                CUYAH_000033757
                                      MCKPUB00022759
                                      MCKPUB00022760
                                      MCKPUB00022762

  322. Willie Jerome Johnson          AKRON_000206610
                                      MCKPUB00027316
                                      MCKPUB00027317
                                      MCKPUB00027319




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       Name                     Sources
  323. Darnell A. Jones               AKRON_001217598
                                      MCKPUB00027322
                                      MCKPUB00027323
                                      MCKPUB00027325

  324. Darrone D. Jones               AKRON_001157235
                                      MCKPUB00027327
                                      MCKPUB00027329
                                      MCKPUB00027330
                                      SUMMIT_000405599

  325. Jerry D. Jones                 AKRON_001175708
                                      MCKPUB00027333
                                      MCKPUB00027334
                                      MCKPUB00027336

  326. Laurie D. Jones                CUYAH_000070777
                                      MCKPUB00017347
                                      MCKPUB00017348
                                      MCKPUB00017350

  327. Michael L. Jones               MCKPUB00018924
                                      MCKPUB00018926
                                      MCKPUB00018733
                                      MCKPUB00018937
                                      MCKPUB00018939

  328. Rafael Jones                   MCKPUB00019352
                                      MCKPUB00019353
                                      MCKPUB00019355
                                      MCKPUB00019358
                                      MCKPUB00019360
                                      MCKPUB00019369

  329. Reginald L. Jones              AKRON_001216398
                                      MCKPUB00027339
                                      MCKPUB00027340
                                      MCKPUB00027344

  330. Shatosha Ugaunda Jones         AKRON_001157034
                                      MCKPUB00027348
                                      MCKPUB00027349
                                      MCKPUB00027351

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       Name                     Sources
                                      MCKPUB00027353
                                      MCKPUB00027354
                                      MCKPUB00027357

  331. Tion D. Jones                  MCKPUB00027360
                                      MCKPUB00027361
                                      MCKPUB00027363

  332. William Jones                  CUYAH_000037739
                                      MCKPUB00022728
                                      MCKPUB00022729
                                      MCKPUB00022731

  333. Gerardo Juarez                 CUYAH_000043787
                                      MCKPUB00013586
                                      MCKPUB00013587
                                      MCKPUB00013590

  334. Carter A. Juhard               AKRON_001157288
                                      MCKPUB00027365
                                      MCKPUB00027366
                                      MCKPUB00027368

  335. David M. Justice               AKRON_000212940
                                      MCKPUB00010211
                                      MCKPUB00010214
                                      MCKPUB00010215

  336. Valerie Karosy                 CUYAH_000028012
                                      MCKPUB00022428
                                      MCKPUB00022429
                                      MCKPUB00022431

  337. Brandon L. Kelly               MCKPUB00007664
                                      MCKPUB00027371
                                      SUMMIT_001136501

  338. Richard Kessler                CUYAH_000033669
                                      MCKPUB00019550
                                      MCKPUB00019551
                                      MCKPUB00019556


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       Name                     Sources
  339. Jesse Kinder                   MCKPUB00027381
                                      MCKPUB00027382
                                      MCKPUB00027384

  340. Angela L. King                 AKRON_000214143
                                      MCKPUB00006860
                                      MCKPUB00006863
                                      MCKPUB00006864
                                      MCKPUB00006867
                                      SUMMIT_000064886
                                      SUMMIT_000704436
                                      SUMMIT_000704475
                                      SUMMIT_000704477
                                      SUMMIT_001517361

  341. Earl King                      CUYAH_000035688
                                      MCKPUB00011887
                                      MCKPUB00011888
                                      MCKPUB00011890

  342. Kashrail Mark King             AKRON_000210996
                                      AKRON_000214324
                                      MCKPUB00016043
                                      MCKPUB00016045
                                      MCKPUB00016046
                                      MCKPUB00016049

  343. Michaelas F. King              MCKPUB00018971
                                      MCKPUB00029486
                                      MCKPUB00029488

  344. Henry Knight III               AKRON_000204842
                                      MCKPUB00014172
                                      MCKPUB00014175
                                      MCKPUB00014177
                                      MCKPUB00014178

  345. Barry Kobzowicz                CUYAH_000037224
                                      MCKPUB00007576
                                      MCKPUB00007577
                                      MCKPUB00007579



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       Name                     Sources
  346. Arthur Lee Kubalek             AKRON_000200965
                                      MCKPUB00007469
                                      MCKPUB00007472
                                      MCKPUB00007473

  347. Bonnie L. Lambert              AKRON_000205017
                                      AKRON_000295612
                                      MCKPUB00007649
                                      MCKPUB00007652
                                      MCKPUB00007653
                                      MCKPUB00007654
                                      MCKPUB00007656
                                      MCKPUB00007657
                                      MCKPUB00007658
                                      MCKPUB00007660
                                      MCKPUB00007661

  348. Scott Layne                    AKRON_0002086666
                                      MCKPUB00020878
                                      MCKPUB00020880

  349. Lorenzo Leatherwood            AKRON_000208683
                                      AKRON_000208702
                                      MCKPUB00017682
                                      MCKPUB00017684
                                      MCKPUB00017685
                                      MCKPUB00017686

  350. Cy L. Lee                      AKRON_000280536
                                      AKRON_001289269
                                      MCKPUB00009231
                                      MCKPUB00009233
                                      MCKPUB00009234

  351. Kenneth M. Leland              AKRON_000220862
                                      MCKPUB00016282
                                      MCKPUB00016285
                                      MCKPUB00016286




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       Name                     Sources
  352. Darrell Lempeck                CUYAH_000048640
                                      MCKPUB00009835
                                      MCKPUB00009836
                                      MCKPUB00009841

  353. Ben Lenoir, Jr.                CUYAH_000054223
                                      MCKPUB00007581
                                      MCKPUB00007582
                                      MCKPUB00007586

  354. Michael D. Lenoir              AKRON_001125497
                                      MCKPUB00027386
                                      MCKPUB00027389
                                      MCKPUB00027390

  355. Justin P. Lewis                CUYAH_000078572
                                      MCKPUB00003296
                                      MCKPUB00003297
                                      MCKPUB00003304

  356. Robert Lee Lewis               CUYAH_000033806
                                      CUYAH_000034553
                                      MCKPUB00020192
                                      MCKPUB00020193
                                      MCKPUB00020195
                                      MCKPUB00020197
                                      MCKPUB00020198
                                      MCKPUB00020201

  357. Maurice D. Lightner            CUYAH_000072865
                                      MCKPUB00018328
                                      MCKPUB00018329
                                      MCKPUB00018331

  358. John E. Little                 AKRON_000288460
                                      MCKPUB00015655
                                      MCKPUB00015658
                                      MCKPUB00015659

  359. William A. Little              AKRON_000288474
                                      AKRON_000288727
                                      MCKPUB00022739
                                      MCKPUB00022741

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       Name                     Sources
                                      MCKPUB00022742




  360. Armando Lopez-Diaz             CUYAH_000034648
                                      MCKPUB00007462
                                      MCKPUB00007464
                                      MCKPUB00007467

  361. Michael Jackson Love           AKRON_000206089
                                      AKRON_000214324
                                      MCKPUB00018725
                                      MCKPUB00018727
                                      MCKPUB00018728
                                      MCKPUB00018730
                                      MCKPUB00018732

  362. Andrew Loving                  MCKPUB00006620
                                      MCKPUB00006811
                                      MCKPUB00006813
                                      MCKPUB00006824
                                      MCKPUB00027392
                                      MCKPUB00029491

  363. Richard Lowe                   CUYAH_000035982
                                      MCKPUB00019559
                                      MCKPUB00019560
                                      MCKPUB00019565

  364. Alfonso D. Lujan               AKRON_000207295
                                      AKRON_001151503
                                      MCKPUB00006302
                                      MCKPUB00006303
                                      MCKPUB00006305
                                      MCKPUB00006306
                                      MCKPUB00006307
                                      MCKPUB00006309
                                      MCKPUB00006312
                                      MCKPUB00006313
                                      MCKPUB00006314
                                      MCKPUB00006316



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       Name                     Sources
  365. Marchello D. Lumbus            CUYAH_000028012
                                      MCKPUB00017929
                                      MCKPUB00017930
                                      MCKPUB00017932

  366. Jeffery W. Lusher              AKRON_001151032
                                      MCKPUB00027429
                                      MCKPUB00027432
                                      MCKPUB00027433

  367. Anthony Mack                   CUYAH_000040397
                                      MCKPUB00006926
                                      MCKPUB00006928
                                      MCKPUB00006932

  368. Reginald Madgett               CUYAH_000033073
                                      MCKPUB00019473
                                      MCKPUB00019474
                                      MCKPUB00019477

  369. Don A. Maigari                 AKRON_000206429
                                      MCKPUB00011473
                                      MCKPUB00011474
                                      MCKPUB00011483
                                      MCKPUB00011490
                                      MCKPUB00011491
                                      MCKPUB00011498
                                      MCKPUB00011499
                                      MCKPUB00011506
                                      MCKPUB00011509
                                      MCKPUB00011511
                                      MCKPUB00011514
                                      MCKPUB00011515
                                      MCKPUB00011516
                                      MCKPUB00011518

  370. Aris Lamont Mann               AKRON_000206007
                                      AKRON_000294658
                                      MCKPUB00007453
                                      MCKPUB00007457
                                      MCKPUB00007460
                                      MCKPUB00007461


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       Name                        Sources
  371. Charles Marotto                   MCKPUB00008887
                                         SUMMIT_001439258



  372. Rafael Matos Marrero, Jr.         CUYAH_000037120
                                         MCKPUB00019371
                                         MCKPUB00019373
                                         MCKPUB00019376

  373. Jameire A. Marrow                 AKRON_000205533
                                         AKRON_000222486
                                         AKRON_000292910
                                         MCKPUB00014981
                                         MCKPUB00014984
                                         MCKPUB00014985

  374. Audrey J. Martin                  AKRON_000205362
                                         MCKPUB00007556
                                         MCKPUB00007561
                                         MCKPUB00007562
                                         MCKPUB00007563

  375. Gino Martin                       MCKPUB00013638
                                         MCKPUB00013641
                                         MCKPUB00013643
                                         MCKPUB00013645
                                         MCKPUB00013649
                                         MCKPUB00013653
                                         MCKPUB00013655
                                         MCKPUB00013659
                                         MCKPUB00013651

  376. Matthew Martin                    MCKPUB00018315
                                         MCKPUB00018318
                                         MCKPUB00018319
                                         MCKPUB00018325

  377. Angel Martinez                    CUYAH_000039086
                                         MCKPUB00006846
                                         MCKPUB00006847
                                         MCKPUB00006850



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       Name                     Sources
  378. Pedro Martinez                 CUYAH_000036231
                                      MCKPUB00019261
                                      MCKPUB00019263
                                      MCKPUB00019265

  379. Darrell Massingille            MCKPUB00009843
                                      MCKPUB00009861
                                      MCKPUB00009869
                                      MCKPUB00009877
                                      MCKPUB00009879
                                      MCKPUB00009881
                                      MCKPUB00027435

  380. Gary J. Mathews                AKRON_000337585
                                      MCKPUB00013529
                                      MCKPUB00013532
                                      MCKPUB00013533
                                      MCKPUB00029493
                                      SUMMIT_001142917

  381. Mario Mattox                   MCKPUB00018185
                                      MCKPUB00018187
                                      MCKPUB00018189
                                      MCKPUB00018197
                                      MCKPUB00018202

  382. Devonta Maxwell                MCKPUB00010590
                                      MCKPUB00010797



  383. Darryl Mayes                   CUYAH_000032902
                                      MCKPUB00009893
                                      MCKPUB00009894
                                      MCKPUB00009897

  384. Michael A. McCalister          AKRON_001281013
                                      MCKPUB00027506
                                      MCKPUB00027507
                                      MCKPUB00027509




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       Name                      Sources
  385. Dave McCall                     CUYAH_000032673
                                       MCKPUB00009973
                                       MCKPUB00009974
                                       MCKPUB00009976

  386. Terrance Norman-Devin           AKRON_000204706
       McCormick                       MCKPUB00021828
                                       MCKPUB00021830
                                       MCKPUB00021831
                                       MCKPUB00021836
                                       MCKPUB00021838

  387. Shawn Christopher McCoy         AKRON_001216104
                                       MCKPUB00027511
                                       MCKPUB00027512
                                       MCKPUB00027515

  388. Dejuan B. McCraney              AKRON_001279435
                                       MCKPUB00027519
                                       MCKPUB00027520
                                       MCKPUB00027523

  389. Thomas McCully                  MCKPUB00021937
                                       MCKPUB00022128
                                       MCKPUB00022134
                                       MCKPUB00022145
                                       MCKPUB00022147
                                       MCKPUB00027527

  390. Otis J. McDay                   AKRON_000213404
                                       AKRON_001289828
                                       MCKPUB00019244
                                       MCKPUB00019245
                                       MCKPUB00019248

  391. Anthony Ray McGowan             AKRON_000296482
                                       MCKPUB00006935
                                       MCKPUB00006938
                                       MCKPUB00006939




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       Name                      Sources
  392. Jonathan E. McGrady             AKRON_000291078
                                       MCKPUB00015684
                                       MCKPUB00015686
                                       MCKPUB00015687

  393. Tavares Jarod McIntosh          MCKPUB00021470
                                       MCKPUB00021472



  394. Thessalonians McMillan,         AKRON_000286863
       Jr.                             AKRON_001287618
                                       MCKPUB00021912
                                       MCKPUB00021914
                                       MCKPUB00021915

  395. Tramontay D. McWain             MCKPUB00022271
                                       MCKPUB00022282
                                       MCKPUB00022284

  396. Cedric Means                    CUYAH_000036934
                                       MCKPUB00008750
                                       MCKPUB00008751
                                       MCKPUB00008754

  397. Alyssa N. Mears                 AKRON_000218494
                                       MCKPUB00006548
                                       MCKPUB00006550
                                       MCKPUB00006551
                                       SUMMIT_000672205
                                       SUMMIT_000672222
                                       SUMMIT_000672225

  398. Terron Lamar Melton             AKRON_001153878
                                       MCKPUB00025831
                                       MCKPUB00025832
                                       MCKPUB00025834

  399. Edison Mercado                  CUYAH_000047308
                                       MCKPUB00011915
                                       MCKPUB00011916
                                       MCKPUB00011920



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       Name                     Sources
  400. Kenneth Lamar Merritt          AKRON_000200558
                                      MCKPUB00018581
                                      MCKPUB00018582
                                      MCKPUB00018585
                                      MCKPUB00018587
                                      MCKPUB00018588
                                      MCKPUB00018590
                                      MCKPUB00018593
                                      MCKPUB00018594
                                      MCKPUB00018595
                                      MCKPUB00018597
                                      MCKPUB00018599
                                      MCKPUB00018601
                                      MCKPUB00018603
                                      MCKPUB00018607
                                      MCKPUB00018608
                                      MCKPUB00018609

  401. Jimmy L. Michaels              AKRON_000208532
                                      MCKPUB00015610
                                      MCKPUB00015613
                                      MCKPUB00015614

  402. Robvedo J. Middlebrook         CUYAH_000029247
                                      MCKPUB00020212
                                      MCKPUB00020213
                                      MCKPUB00020216

  403. Lamar Middleton                MCKPUB00016898
                                      MCKPUB00017089
                                      MCKPUB00017091
                                      MCKPUB00017094
                                      MCKPUB00029494

  404. Eugene Miller                  MCKPUB00012807
                                      MCKPUB00012998
                                      MCKPUB00013004
                                      MCKPUB00013016
                                      MCKPUB00013018




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       Name                      Sources
  405. Edward Mitchell                 CUYAH_000074070
                                       MCKPUB00012168
                                       MCKPUB00012170
                                       MCKPUB00012173

  406. Gabrielle M. Moneypenny         AKRON_000201579
                                       MCKPUB00013487
                                       MCKPUB00013488
                                       MCKPUB00013491
                                       MCKPUB00013493
                                       MCKPUB00013496
                                       MCKPUB00013497
                                       MCKPUB00013498
                                       MCKPUB00013501
                                       MCKPUB00013503
                                       MCKPUB00013505

  407. Rayshawn A. Montgomery          AKRON_000201807
                                       MCKPUB00019456
                                       MCKPUB00019459
                                       MCKPUB00019460

  408. Christopher Moore               CUYAH_000074721
                                       MCKPUB00009008
                                       MCKPUB00009009
                                       MCKPUB00009012

  409. Ernest W. Moore                 AKRON_000218427
                                       MCKPUB00012803
                                       MCKPUB00012805
                                       MCKPUB00012806

  410. Kevin D. Moore                  AKRON_000205310
                                       MCKPUB00016326
                                       MCKPUB00016328
                                       MCKPUB00016329
                                       MCKPUB00016330

  411. Larry L. Moore, III             AKRON_000287003
                                       MCKPUB00017113
                                       MCKPUB00017114
                                       MCKPUB00017117
                                       MCKPUB00017118

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       Name                     Sources
                                      MCKPUB00029541
                                      MCKPUB00029542
                                      SUMMIT_001144901

  412. Maceo Moore                    MCKPUB00017915
                                      MCKPUB00017918



  413. Shatora Moore                  AKRON_000205355
                                      MCKPUB00020908
                                      MCKPUB00020911
                                      MCKPUB00020912

  414. Timothy DJ Moore               AKRON_000205355
                                      MCKPUB00022186
                                      MCKPUB00022192
                                      MCKPUB00022194
                                      MCKPUB00022200
                                      MCKPUB00022208

  415. Rashawn Moorer                 AKRON_000205747
                                      AKRON_000286790
                                      MCKPUB00019407
                                      MCKPUB00019409
                                      MCKPUB00019410

  416. Victor Morales-Garcia          MCKPUB00022464
                                      MCKPUB00022472
                                      MCKPUB00022479
                                      MCKPUB00022480
                                      MCKPUB00022487
                                      MCKPUB00029544

  417. Ricky Moreland                 CUYAH_000038718
                                      MCKPUB00019593
                                      MCKPUB00019594
                                      MCKPUB00019597

  418. Dontez L. Morgan               CUYAH_000077258
                                      MCKPUB00011626
                                      MCKPUB00011627
                                      MCKPUB00011631


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       Name                     Sources
  419. Eddie Morgan III               AKRON_000205421
                                      MCKPUB00011892
                                      MCKPUB00011894
                                      MCKPUB00011895
                                      MCKPUB00011896

  420. Jack Morgan                    MCKPUB00014498
                                      MCKPUB00014516
                                      MCKPUB00014517
                                      MCKPUB00014525
                                      MCKPUB00014527
                                      MCKPUB00014529

  421. Marcus Morgan                  CUYAH_000048180
                                      CUYAH_000051048
                                      MCKPUB00018174
                                      MCKPUB00018175
                                      MCKPUB00018178

  422. Vince Morgan                   MCKPUB00022497
                                      MCKPUB00022688
                                      MCKPUB00022694
                                      MCKPUB00022707
                                      MCKPUB00022710

  423. Marcus Labrone Morris          MCKPUB00018153
                                      MCKPUB00018156
                                      MCKPUB00018163
                                      MCKPUB00018170
                                      MCKPUB00018172

  424. Jordan Motley                  AKRON_001218169
                                      MCKPUB00027570
                                      MCKPUB00027571
                                      MCKPUB00027574

  425. Homer Moton                    CUYAH_000033602
                                      MCKPUB00014179
                                      MCKPUB00014180
                                      MCKPUB00014183




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       Name                     Sources
  426. Tazae Rasheed Muhammad         AKRON_000280536
                                      MCKPUB00021473
                                      MCKPUB00021475

  427. Edward Munoz                   CUYAH_000032859
                                      MCKPUB00012175
                                      MCKPUB00012176
                                      MCKPUB00012178

  428. Sherman C. Murdock             AKRON_000205576
                                      MCKPUB00021125
                                      MCKPUB00021128
                                      MCKPUB00021129

  429. Jerome L. Murphy, Jr.          AKRON_001272640
                                      MCKPUB00027576
                                      MCKPUB00027577
                                      MCKPUB00027580

  430. Mohanad Y. Najjar              CUYAH_000034507
                                      MCKPUB00018992
                                      MCKPUB00018993
                                      MCKPUB00018995

  431. Fred Nakagawa                  CUYAH_000032780
                                      MCKPUB00013042
                                      MCKPUB00013043
                                      MCKPUB00013045

  432. Benjamin T. Napier             AKRON_000204238
                                      MCKPUB00007610
                                      MCKPUB00007612
                                      MCKPUB00007613

  433. Van Dyke Neal                  CUYAH_000040218
                                      MCKPUB00022438
                                      MCKPUB00022439
                                      MCKPUB00022442

  434. Charles W. Nelson              CUYAH_000077080
                                      MCKPUB00008890
                                      MCKPUB00008891


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       Name                     Sources
                                      MCKPUB00008899




  435. Emmett Nelson                  MCKPUB00012295
                                      MCKPUB00012297
                                      MCKPUB00012299
                                      MCKPUB00012306
                                      MCKPUB00012308
                                      MCKPUB00029546

  436. Calvin Nettles                 CUYAH_000030470
                                      MCKPUB00008256
                                      MCKPUB00008258
                                      MCKPUB00008262

  437. Brian K. Newell                AKRON_000220615
                                      AKRON_000220617
                                      AKRON_001151503
                                      MCKPUB00008212
                                      MCKPUB00008215
                                      MCKPUB00008216
                                      MCKPUB00008217
                                      MCKPUB00008222
                                      MCKPUB00008223

  438. Angel Nieves                   CUYAH_000034094
                                      MCKPUB00006852
                                      MCKPUB00006853
                                      MCKPUB00006858

  439. Edward F. Nix                  MCKPUB00011922
                                      MCKPUB00012113
                                      MCKPUB00012115
                                      MCKPUB00012133
                                      MCKPUB00012130
                                      MCKPUB00029562

  440. Brenda H. Norman               MCKPUB00007947
                                      MCKPUB00007959
                                      MCKPUB00008150
                                      MCKPUB00008156
                                      MCKPUB00008169

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       Name                     Sources
                                      MCKPUB00029573




  441. Antwone Nowden                 MCKPUB00007241
                                      MCKPUB00007237
                                      MCKPUB00007432
                                      MCKPUB00007434
                                      MCKPUB00007447
                                      MCKPUB00029606

  442. Octavious Odom                 CUYAH_000029454
                                      MCKPUB00019212
                                      MCKPUB00019213
                                      MCKPUB00019218

  443. Dalvyn R. Oliver               AKRON_000292867
                                      MCKPUB00009270
                                      MCKPUB00009272
                                      MCKPUB00009273

  444. Deshawn Leon Oliver            AKRON_000201422
                                      AKRON_000220451
                                      MCKPUB00010525
                                      MCKPUB00010526
                                      MCKPUB00010528
                                      MCKPUB00010529
                                      MCKPUB00010531
                                      MCKPUB00010532
                                      MCKPUB00010533
                                      MCKPUB00010535
                                      MCKPUB00010536

  445. Emilia Orengo                  CUYAH_000036390
                                      MCKPUB00012289
                                      MCKPUB00012291
                                      MCKPUB00012293

  446. Catherine Orges                CUYAH_000032679
                                      MCKPUB00008739
                                      MCKPUB00008740
                                      MCKPUB00008742
                                      MCKPUB00008745

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       Name                     Sources
                                      MCKPUB00008746
                                      MCKPUB00008748



  447. David Orges                    CUYAH_000032679
                                      MCKPUB00010216
                                      MCKPUB00010217
                                      MCKPUB00010220
                                      MCKPUB00010223
                                      MCKPUB00010224
                                      MCKPUB00010226

  448. Pedro Ortega-Gomez             MCKPUB00019267
                                      MCKPUB00019275
                                      MCKPUB00019277
                                      MCKPUB00019286
                                      MCKPUB00019288
                                      MCKPUB00019289

  449. Raphael Ortiz                  CUYAH_000036277
                                      MCKPUB00019396
                                      MCKPUB00019397
                                      MCKPUB00019401

  450. Charles K. Osei                AKRON_000211552
                                      MCKPUB00008883
                                      MCKPUB00008885
                                      MCKPUB00008886

  451. Juan A. Otero                  AKRON_001281635
                                      MCKPUB00027582
                                      MCKPUB00027586
                                      MCKPUB00027587

  452. Frederick Thomas Owens         MCKPUB00027589
                                      MCKPUB00027590
                                      MCKPUB00027592

  453. Kamilah Owens                  CUYAH_000074070
                                      MCKPUB00016019
                                      MCKPUB00016020
                                      MCKPUB00016023


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       Name                     Sources
  454. Renardo Owens, Jr.             AKRON_001151503
                                      MCKPUB00019500
                                      MCKPUB00019503
                                      MCKPUB00019506
                                      MCKPUB00019507
                                      MCKPUB00019510
                                      MCKPUB00019511

  455. Alicia Paradise                CUYAH_000038326
                                      MCKPUB00006461
                                      MCKPUB00006462
                                      MCKPUB00006466

  456. Robert K. Parham               AKRON_001279098
                                      MCKPUB00027594
                                      MCKPUB00027595
                                      MCKPUB00027600

  457. Darryl D. Pariseau             CUYAH_000075602
                                      MCKPUB00009900
                                      MCKPUB00009901
                                      MCKPUB00009904

  458. Alan S. Parker                 CUYAH_000067017
                                      MCKPUB00006277
                                      MCKPUB00006279
                                      MCKPUB00006282

  459. Brandon Parker                 MCKPUB00007675
                                      MCKPUB00007678
                                      MCKPUB00007686
                                      MCKPUB00007687
                                      MCKPUB00007690
                                      MCKPUB00007692
                                      MCKPUB00007699

  460. Demetrius L. Parker II         AKRON_001237583
                                      MCKPUB00027605
                                      MCKPUB00027607
                                      MCKPUB00027608
                                      MCKPUB00027611
                                      MCKPUB00027612


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       Name                     Sources
                                      SUMMIT_000575887




  461. Brandon M. Payne               AKRON_000280791
                                      MCKPUB00007665
                                      MCKPUB00007667
                                      MCKPUB00007668

  462. Dominic J. Pelle               MCKPUB00011049
                                      SUMMIT_001140603



  463. Ivan Percy                     MCKPUB00014471
                                      MCKPUB00014473
                                      MCKPUB00014280
                                      MCKPUB00014487
                                      MCKPUB00014490
                                      MCKPUB00029638

  464. Edwin Perez                    CUYAH_000034067
                                      MCKPUB00012211
                                      MCKPUB00012213
                                      MCKPUB00012217

  465. Andre Person                   CUYAH_000079198
                                      MCKPUB00006580
                                      MCKPUB00006581
                                      MCKPUB00006585

  466. Antoine Petty                  AKRON_000203447
                                      MCKPUB00027615
                                      MCKPUB00027620
                                      MCKPUB00027621

  467. Antoine Phelps                 AKRON_001211268
                                      MCKPUB00027623
                                      MCKPUB00027624
                                      MCKPUB00027627




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       Name                     Sources
  468. Garland V. Phelps, Jr.         MCKPUB00013521
                                      MCKPUB00029664
                                      MCKPUB00029666

  469. Ronald L. Phelps               AKRON_00200682
                                      MCKPUB00020544
                                      MCKPUB00020546
                                      MCKPUB00020547

  470. Rodrick Phillips               CUYAH_000079198
                                      MCKPUB00020258
                                      MCKPUB00020259
                                      MCKPUB00020262

  471. Anton R. Picket                CUYAH_000079198
                                      MCKPUB00029669
                                      MCKPUB00029671
                                      MCKPUB00029676

  472. Richard Pinson                 CUYAH_000033149
                                      MCKPUB00019568
                                      MCKPUB00019569
                                      MCKPUB00019572

  473. Jason L. Pitts                 AKRON_000201686
                                      MCKPUB00015355
                                      MCKPUB00015357
                                      MCKPUB00015358
                                      MCKPUB00015359
                                      MCKPUB00015361
                                      MCKPUB00015363
                                      MCKPUB00015364
                                      MCKPUB00015365

  474. Corey Pope                     CUYAH_000036102
                                      MCKPUB00009064
                                      MCKPUB00009066
                                      MCKPUB00009071
                                      MCKPUB00009073
                                      MCKPUB00009075
                                      MCKPUB00009078



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       Name                     Sources
  475. James M. Porter                MCKPUB00013521
                                      MCKPUB00029678
                                      MCKPUB00029680

  476. Deangelo R. Portis             AKRON_001215997
                                      MCKPUB00027629
                                      MCKPUB00027633
                                      MCKPUB00027634

  477. Lakisha L. Portis              AKRON_000201322
                                      MCKPUB00016892
                                      MCKPUB00016894
                                      MCKPUB00016895
                                      MCKPUB00016897

  478. Eric Powell                    MCKPUB00012560
                                      MCKPUB00012771
                                      MCKPUB00012751
                                      MCKPUB00012754
                                      MCKPUB00012774
                                      MCKPUB00029683

  479. Kevin K. Preston               AKRON_000200803
                                      AKRON_000280929
                                      MCKPUB00016362
                                      MCKPUB00016363
                                      MCKPUB00016365
                                      MCKPUB00016581
                                      MCKPUB00016584

  480. Mark Price                     CUYAH_000031402
                                      MCKPUB00018242
                                      MCKPUB00018243
                                      MCKPUB00018256

  481. Allen J. Quarterman            AKRON_000218157
                                      AKRON_000283208
                                      MCKPUB00006468
                                      MCKPUB00006471
                                      MCKPUB00006472
                                      MCKPUB00006473
                                      MCKPUB00006475


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       Name                     Sources
                                      MCKPUB00006476




  482. Edgar R. Quiles                CUYAH_000052764
                                      MCKPUB00011899
                                      MCKPUB00011901
                                      MCKPUB00011906

  483. Ruben Lopez Quiroz             CUYAH_000043787
                                      MCKPUB00020576
                                      MCKPUB00020577
                                      MCKPUB00020579
                                      MCKPUB00029709
                                      MCKPUB00029711
                                      MCKPUB00029714

  484. Rolando Ramos                  CUYAH_000036131
                                      MCKPUB00020504
                                      MCKPUB00020505
                                      MCKPUB00020510

  485. Romell Ramsey                  CUYAH_000033573
                                      MCKPUB00020518
                                      MCKPUB00020519
                                      MCKPUB00020522

  486. Gary Ray, Jr.                  CUYAH_000034307
                                      CUYAH_000081451
                                      MCKPUB00013534
                                      MCKPUB00013535
                                      MCKPUB00013538
                                      MCKPUB00013541
                                      MCKPUB00013542
                                      MCKPUB00013547

  487. Matthew M. Ray                 AKRON_001217963
                                      MCKPUB00027636
                                      MCKPUB00027637
                                      MCKPUB00027640




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       Name                      Sources
  488. Rolando J. Reed                 MCKPUB00020264
                                       MCKPUB00020455
                                       MCKPUB00020461
                                       MCKPUB00020475
                                       MCKPUB00020478
                                       MCKPUB00029716

  489. Charles J. Rendino, Jr.         AKRON_001175760
                                       MCKPUB00027643
                                       MCKPUB00027644
                                       MCKPUB00027646

  490. Shaquille D. Reynolds           AKRON_000286625
                                       MCKPUB00020900
                                       MCKPUB00020902
                                       MCKPUB00020903

  491. Brock A. Richardson             AKRON_000209946
                                       AKRON_001151503
                                       MCKPUB00008228
                                       MCKPUB00008230
                                       MCKPUB00008233
                                       MCKPUB00008235
                                       MCKPUB00008236
                                       SUMMIT_000064884
                                       SUMMIT_001135899

  492. Darshawn Antonio                AKRON_000218427
       Richardson                      MCKPUB00009907
                                       MCKPUB00009909
                                       MCKPUB00009910

  493. Lisa A. Richardson              MCKPUB00017638
                                       MCKPUB00017670
                                       MCKPUB00017677
                                       MCKPUB00017680

  494. Marquise D. Richardson          AKRON_000288527
                                       MCKPUB00018269
                                       MCKPUB00018271
                                       MCKPUB00018272




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       Name                     Sources
  495. Keith “K-Mack” Ricks           MCKPUB00016066
                                      MCKPUB00016070



  496. Steven Riddle                  MCKPUB00021159
                                      MCKPUB00021163
                                      MCKPUB00021170
                                      MCKPUB00021171
                                      MCKPUB00021178
                                      MCKPUB00021180

  497. Sean Rieves                    CUYAH_000030719
                                      MCKPUB00020891
                                      MCKPUB00020892
                                      MCKPUB00020897

  498. Desmond El Riley               AKRON_000205362
                                      MCKPUB00010562
                                      MCKPUB00010564
                                      MCKPUB00010565
                                      MCKPUB00010566
                                      MCKPUB00010568
                                      MCKPUB00010570
                                      MCKPUB00010571
                                      MCKPUB00010572

  499. Sovathana E. Rim               CUYAH_006947578
                                      MCKPUB00021138
                                      MCKPUB00021139
                                      MCKPUB00021141

  500. Anthony D.M. Risten            AKRON_000291595
                                      MCKPUB00006922
                                      MCKPUB00006924
                                      MCKPUB00006925

  501. Juan Rivera                    CUYAH_000033577
                                      MCKPUB00015952
                                      MCKPUB00015953
                                      MCKPUB00015956




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       Name                        Sources
  502. Jerome Rivers                     CUYAH_000074070
                                         MCKPUB00015587
                                         MCKPUB00015589
                                         MCKPUB00015592

  503. Calvin Roberts                    AKRON_000204267
                                         MCKPUB00008264
                                         MCKPUB00008265
                                         MCKPUB00008267

  504. Deshawn L. Roberts                AKRON_000286230
                                         MCKPUB00010537
                                         MCKPUB00010539
                                         MCKPUB00010540

  505. Andre L. Robinson                 CUYAH_000038326
                                         MCKPUB00006587
                                         MCKPUB00006588
                                         MCKPUB00006591

  506. Darious Robinson (also            MCKPUB00009611
       known as Darius Robinson)         MCKPUB00009612
                                         MCKPUB00009618
                                         MCKPUB00009623

  507. Jay J. Robinson                   AKRON_000204406
                                         MCKPUB00027649
                                         MCKPUB00027650
                                         MCKPUB00027652

  508. Oscar Curtis Robinson             MCKPUB00029742
                                         MCKPUB00029785



  509. Sabrina M. Robinson               AKRON000204478
                                         MCKPUB00020837
                                         MCKPUB00020846
                                         MCKPUB00020849
                                         MCKPUB00020853
                                         MCKPUB00020861
                                         MCKPUB00020865
                                         MCKPUB00020867


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       Name                     Sources
                                      MCKPUB00020869




  510. Stanley L. Robinson            MCKPUB00027694
                                      MCKPUB00027695
                                      MCKPUB00027698

  511. Travon D. Robinson             AKRON_000218157
                                      MCKPUB00022300
                                      MCKPUB00022304
                                      MCKPUB00022305
                                      MCKPUB00022308
                                      MCKPUB00022295
                                      MCKPUB00022299

  512. William D. Robinson            MCKPUB00022788




  513. Robert Lash Rodgers            AKRON_000200889
                                      MCKPUB00020185
                                      MCKPUB00020186
                                      MCKPUB00020190
                                      MCKPUB00020191

  514. Alfonso Rodrigo                MCKPUB00006320
                                      MCKPUB00006403
                                      MCKPUB00006410
                                      MCKPUB00006411
                                      MCKPUB00006415
                                      MCKPUB00006417
                                      MCKPUB00006430
                                      MCKPUB00027706
                                      MCKPUB00029786

  515. Octavio Rodrigo                MCKPUB00019116
                                      MCKPUB00019199
                                      MCKPUB00019201
                                      MCKPUB00019208
                                      MCKPUB00019210


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       Name                       Sources
  516. Rafael A. Rodriguez              CUYAH_000039201
                                        MCKPUB00019346
                                        MCKPUB00019348
                                        MCKPUB00019350

  517. Roberto Thomas Rodriguez         AKRON_000201688
                                        MCKPUB00020208
                                        MCKPUB00020210
                                        MCKPUB00020211

  518. Dayviaire Michael Rogers         AKRON_000223415
                                        AKRON_000298571
                                        MCKPUB00010335
                                        MCKPUB00010337
                                        MCKPUB00010338
                                        MCKPUB00010339
                                        MCKPUB00010341
                                        MCKPUB00010342

  519. Reginald Rogers                  AKRON_001281583
                                        MCKPUB00027700
                                        MCKPUB00027703
                                        MCKPUB00027704

  520. Rosalyn Rollins                  CUYAH_000034160
                                        MCKPUB00020565
                                        MCKPUB00020567
                                        MCKPUB00020570

  521. Steven Ross                      CUYAH_000038875
                                        MCKPUB00021182
                                        MCKPUB00021183
                                        MCKPUB00021190

  522. Leonte Roulette                  CUYAH_000073011
                                        MCKPUB00003944
                                        MCKPUB00003945
                                        MCKPUB00003948

  523. Rasean Lamont Rush               AKRON_001276204
                                        MCKPUB00027719
                                        MCKPUB00027720
                                        MCKPUB00027722

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       Name                     Sources
  524. Colen W. Rushin                AKRON_000201045
                                      MCKPUB00009060
                                      MCKPUB00009061
                                      MCKPUB00009063

  525. Tyshawn Russell                CUYAH_000079731
                                      MCKPUB00022422
                                      MCKPUB00022423
                                      MCKPUB00022426

  526. Derrick Sales                  MCKPUB00010488
                                      SUMMIT_000070954



  527. Muhammad Salett                MCKPUB00019008
                                      MCKPUB00019010



  528. DeWayne L. Sammons             AKRON_00200775
                                      MCKPUB00019017
                                      MCKPUB00019025

  529. Mario Perez Sanchez            MCKPUB00018204
                                      MCKPUB00018225
                                      MCKPUB00018212
                                      MCKPUB00018218
                                      MCKPUB00018227

  530. William A. Sanders             AKRON_001216574
                                      MCKPUB00027725
                                      MCKPUB00027726
                                      MCKPUB00027728

  531. Willie L. Sanders, Jr.         AKRON_000204406
                                      MCKPUB00027731
                                      MCKPUB00027732
                                      MCKPUB00027734
                                      MCKPUB00022777
                                      MCKPUB00022788
                                      MCKPUB00022791



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       Name                     Sources
  532. Richard Sandy                  AKRON_001151503
                                      MCKPUB00019574
                                      MCKPUB00019577
                                      MCKPUB00019578
                                      MCKPUB00019581

  533. Angel M. Santiago              CUYAH_000039503
                                      MCKPUB00006841
                                      MCKPUB00006842
                                      MCKPUB00006844

  534. Gregory T. Savage, Sr.         MCKPUB00013896
                                      MCKPUB00014087
                                      MCKPUB00014089
                                      MCKPUB00014102
                                      MCKPUB00014105
                                      MCKPUB00029809

  535. Kevin M. Scott                 MCKPUB00016366
                                      MCKPUB00016557
                                      MCKPUB00016559
                                      MCKPUB00016573
                                      MCKPUB00016576
                                      MCKPUB00029845
                                      MCKPUB00029878

  536. Ocey Scott                     CUYAH_000038584
                                      MCKPUB00019086
                                      MCKPUB00019087
                                      MCKPUB00019090

  537. Jamesha A. Scurry              MCKPUB00027736
                                      MCKPUB00027740
                                      MCKPUB00027742
                                      MCKPUB00027743

  538. Charles R. Seeley              AKRON_001216354
                                      AKRON_001272421
                                      MCKPUB00027745
                                      MCKPUB00027746
                                      MCKPUB00027749




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       Name                     Sources
  539. Danny M. Senter                AKRON_000201417
                                      MCKPUB00009529
                                      MCKPUB00009530
                                      MCKPUB00009532

  540. Jack C. Shaffer                AKRON_001151503
                                      MCKPUB00014534
                                      MCKPUB00014539
                                      MCKPUB00014542
                                      MCKPUB00014543

  541. Marquis D. Shamell             MCKPUB00027752
                                      MCKPUB00027753
                                      MCKPUB00027756

  542. Amanda M. Shaw                 AKRON_000201153
                                      MCKPUB00006552
                                      MCKPUB00006554
                                      MCKPUB00006555
                                      MCKPUB00006556
                                      MCKPUB00006558
                                      MCKPUB00006559

  543. Antwoine D. Sheffield          AKRON_001217583
                                      MCKPUB00027759
                                      MCKPUB00027760
                                      MCKPUB00027763

  544. Marquess Shepard               AKRON_001290062
                                      MCKPUB00027765
                                      MCKPUB00027766
                                      MCKPUB00027769

  545. Leamon Shephard                MCKPUB00017369
                                      MCKPUB00017560
                                      MCKPUB00017566
                                      MCKPUB00017569
                                      MCKPUB00017586
                                      MCKPUB00029880
                                      MCKPUB00029916




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       Name                     Sources
  546. Juan D. Sheppard               AKRON_000201818
                                      AKRON_001145139
                                      MCKPUB00015938
                                      MCKPUB00015940
                                      MCKPUB00015941
                                      MCKPUB00015942
                                      MCKPUB00015944
                                      MCKPUB00015945
                                      MCKPUB00015946
                                      MCKPUB00015949
                                      MCKPUB00015950
                                      MCKPUB00015951

  547. James A. Shipman               CUYAH_000033120
                                      MCKPUB00014986
                                      MCKPUB00014987
                                      MCKPUB00014989

  548. Leroy Shuarod Steele           MCKPUB00017618
                                      MCKPUB00017620



  549. Matt E. Shocklee               MCKPUB00017599
                                      MCKPUB00017606
                                      MCKPUB00017609
                                      MCKPUB00017613
                                      MCKPUB00018304

  550. Damon D. Sibley                AKRON_0003254145
                                      MCKPUB00009280
                                      MCKPUB00009282
                                      MCKPUB00009290
                                      MCKPUB00009292
                                      MCKPUB00009293
                                      MCKPUB00009294

  551. Gary Simpson                   CUYAH_000077157
                                      MCKPUB00013549
                                      MCKPUB00013550
                                      MCKPUB00013555




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        Name                     Sources
  552. Dustin Sinkovic                 CUYAH_000034495
                                       MCKPUB00011857
                                       MCKPUB00011858
                                       MCKPUB00011861

  553. Jeffrey Howard Sires            AKRON_001157975
                                       MCKPUB00027772
                                       MCKPUB00027773
                                       MCKPUB00027775

  554. Christopher James Small         AKRON_000218427
                                       AKRON_001287228
                                       MCKPUB00009001
                                       MCKPUB00009004
                                       MCKPUB00009006
                                       MCKPUB00009007

  555. Anthony Armani Smith            AKRON_001142801
                                       MCKPUB00006888
                                       MCKPUB00006890
                                       MCKPUB00006891

  556. Daryl R. Smith                  AKRON_000297289
                                       MCKPUB00009917
                                       MCKPUB00009919
                                       MCKPUB00009920

  557. Julio J. Smith, Sr.             CUYAH_000021000
                                       MCKPUB00015958
                                       MCKPUB00015959
                                       MCKPUB00015962

  558. Kevin Smith                     AKRON_000220016
                                       MCKPUB00016586
                                       MCKPUB00016588
                                       MCKPUB00016589

  559. Mario D. Smith                  CUYAH_000031231
                                       MCKPUB00018228
                                       MCKPUB00018229
                                       MCKPUB00018232




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       Name                        Sources
  560. Roland Smith                      MCKPUB00020480
                                         MCKPUB00020483
                                         MCKPUB00020490
                                         MCKPUB00020495
                                         MCKPUB00029940

  561. Shane Smith                       MCKPUB00027814
                                         MCKPUB00027817
                                         MCKPUB00027818

  562. Timothy L. Smith                  MCKPUB00022214
                                         MCKPUB00027821
                                         MCKPUB00022223
                                         MCKPUB00022230

  563. Dean R. Snider, Jr.               CUYAH_000037639
                                         MCKPUB00010355
                                         MCKPUB00010357
                                         MCKPUB00010359

  564. Dustin W. Somerville              MCKPUB00011864




  565. Angelo Isaiah Sommerville         AKRON_000206159
                                         SUMMIT_000458276
                                         SUMMIT_000721680
                                         MCKPUB00006873
                                         MCKPUB00006875
                                         MCKPUB00006876
                                         MCKPUB00006878
                                         MCKPUB00006881
                                         MCKPUB00006883

  566. Alfonso C. Soto                   CUYAH_000033120
                                         MCKPUB00006297
                                         MCKPUB00006298
                                         MCKPUB00006300




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       Name                        Sources
  567. Phillip Southall                  CUYAH_000034312
                                         MCKPUB00019292
                                         MCKPUB00019293
                                         MCKPUB00019296

  568. Arvis D. Spears                   AKRON_000292611
                                         MCKPUB00007506
                                         MCKPUB00007508
                                         MCKPUB00007509

  569. Maurice Edwards Speaight,         AKRON_001145786
       Jr.                               AKRON_000204267
                                         AKRON_000286152
                                         MCKPUB00018333
                                         MCKPUB00018335
                                         MCKPUB00018336
                                         MCKPUB00018337
                                         MCKPUB00018340
                                         MCKPUB00018341

  570. Michael Steele, Jr.               CUYAH_000034259
                                         MCKPUB00029976
                                         MCKPUB00029978
                                         MCKPUB00029981

  571. Alec Steinberger                  MCKPUB00006284
                                         MCKPUB00006292
                                         MCKPUB00006290

  572. Jonathan Stepp                    MCKPUB00015697
                                         MCKPUB00015780
                                         MCKPUB00015782
                                         MCKPUB00029983

  573. Raamses Coleus Stevens            AKRON_000212335
                                         SUMMIT_001138100
                                         SUMMIT_001138183
                                         SUMMIT_000064880
                                         MCKPUB00019342
                                         MCKPUB00019345




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       Name                     Sources
  574. Mario R. Stewart               CUYAH_000080248
                                      MCKPUB00018235
                                      MCKPUB00018236
                                      MCKPUB00018239

  575. Derek Scott Stiggers           AKRON_000206457
                                      MCKPUB00010460
                                      MCKPUB00010463
                                      MCKPUB00010469
                                      MCKPUB00010471

  576. Tremayne R Stone               AKRON_001157391
                                      MCKPUB00022328
                                      MCKPUB00022329
                                      MCKPUB00022332

  577. Richard Stormer                CUYAH_000034495
                                      MCKPUB00019582
                                      MCKPUB00019583
                                      MCKPUB00019586

  578. Tramonte Lamar Stroud          AKRON_000206233
                                      MCKPUB00022288
                                      MCKPUB00022289
                                      MCKPUB00022291
                                      MCKPUB00022292

  579. Justin Sudimak                 MCKPUB00016005
                                      MCKPUB00016011



  580. Anthony L. Suggs               AKRON_000205256
                                      MCKPUB00006946
                                      MCKPUB00006950
                                      MCKPUB00006953
                                      MCKPUB00006954
                                      MCKPUB00006955
                                      MCKPUB00027851

  581. Larry L. Sullivan, Jr          MCKPUB00017119




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       Name                     Sources
  582. Justin Sulzmann                CUYAH_000039846
                                      MCKPUB00003307
                                      MCKPUB00003308
                                      MCKPUB00003311

  583. Ryan “TJ” Sumlin               MCKPUB00020631
                                      MCKPUB00020633



  584. Alonzo B. Sykes                MCKPUB00006482
                                      MCKPUB00006498
                                      MCKPUB00006501

  585. Allen Taborn                   MCKPUB00006477
                                      MCKPUB00006478
                                      MCKPUB00006480

  586. Dangelo Tapley                 AKRON_001132227
                                      MCKPUB00027853
                                      MCKPUB00027854
                                      MCKPUB00027856
                                      MCKPUB00027865

  587. Michael S. Tatum               AKRON_001217676
                                      MCKPUB00027870
                                      MCKPUB00027871
                                      MCKPUB00027873

  588. James M. Taylor                AKRON_000204616
                                      MCKPUB00015133
                                      MCKPUB00015135
                                      MCKPUB00015136
                                      MCKPUB00015137

  589. Lavell Taylor                  CUYAH_000031627
                                      MCKPUB00017352
                                      MCKPUB00017353
                                      MCKPUB00017355




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       Name                     Sources
  590. Willie Taylor                  CUYAH_000036745
                                      MCKPUB00022794
                                      MCKPUB00022795
                                      MCKPUB00022798

  591. Gus C. Tell, Jr.               AKRON_000374687
                                      MCKPUB00027876
                                      MCKPUB00027877
                                      MCKPUB00027880

  592. Robert Tepper                  MCKPUB00019599
                                      MCKPUB00019602
                                      MCKPUB00019604
                                      MCKPUB00019605
                                      SUMMIT_000119179
                                      SUMMIT_001138729

  593. Trevez M. Terrell              AKRON_000286477
                                      MCKPUB00022334
                                      MCKPUB00022336
                                      MCKPUB00022337

  594. David Thomas, Jr.              AKRON_001145255
                                      MCKPUB00027883
                                      MCKPUB00027884
                                      MCKPUB00027886

  595. David Leroy Thomas             MCKPUB00027888
                                      MCKPUB00027889
                                      MCKPUB00027892

  596. Kenneth M. Thomas              AKRON_000207995
                                      AKRON_000211947
                                      MCKPUB00016287
                                      MCKPUB00016289

  597. Raffael D. Thomas              MCKPUB00019378
                                      SUMMIT_001141093




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       Name                     Sources
  598. Rashaad Maurice Thomas         AKRON_000201181
                                      MCKPUB00019403
                                      MCKPUB00019405
                                      MCKPUB00019406

  599. Stephen A. Thomas              CUYAH_002399328
                                      MCKPUB00029985
                                      MCKPUB00029986
                                      MCKPUB00029988
                                      MCKPUB00029992

  600. Tamartus Thomas                CUYAH_000080731
                                      MCKPUB00021442
                                      MCKPUB00021443
                                      MCKPUB00021448

  601. Trevon Thomas                  MCKPUB00022338
                                      MCKPUB00022343
                                      MCKPUB00022344
                                      MCKPUB00029998
                                      SUMMIT_000064880

  602. Reginald C. Thomas-            CUYAH_000054398
       Robinson                       MCKPUB00019468
                                      MCKPUB00019469
                                      MCKPUB00019471

  603. Dionte Thompson                MCKPUB00010830
                                      MCKPUB00011021
                                      MCKPUB00011023
                                      MCKPUB00011039
                                      MCKPUB00011042
                                      MCKPUB00030000
                                      MCKPUB00030038

  604. Garland J. “Chill”             MCKPUB00013506
       Thompson                       MCKPUB00013518
                                      MCKPUB00013521

  605. Gary Blaine Thompson           AKRON_001218215
                                      MCKPUB00027895
                                      MCKPUB00027896


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       Name                      Sources
                                       MCKPUB00027899




  606. Terrick Thompson                AKRON_000202961
                                       MCKPUB00021867
                                       MCKPUB00021875
                                       MCKPUB00030071
                                       MCKPUB00030072
                                       MCKPUB00030074
                                       MCKPUB00030075
                                       SUMMIT_000071039
                                       SUMMIT_001505077

  607. Tymaine Tedall Thompson         AKRON_000200981
                                       MCKPUB00022364
                                       MCKPUB00022368
                                       MCKPUB00022369

  608. Paris D. Timmons                AKRON_000212461
                                       MCKPUB00019249
                                       MCKPUB00019252

  609. Anthony L. Townsend             AKRON_000204739
                                       MCKPUB00023754
                                       MCKPUB00023756
                                       MCKPUB00023757

  610. Tremaine L. “Juice”             MCKPUB00022309
       Townsend                        MCKPUB00022310
                                       MCKPUB00022321
                                       MCKPUB00022327

  611. Chauncy A. Travis               AKRON_000204629
                                       MCKPUB00008908
                                       MCKPUB00008911
                                       MCKPUB00008912

  612. Amonte L. Trice                 AKRON_001218931
                                       MCKPUB00027903
                                       MCKPUB00027904
                                       MCKPUB00027906


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       Name                     Sources
  613. Preston Tucker                 CUYAH_000034090
                                      MCKPUB00019333
                                      MCKPUB00019334
                                      MCKPUB00019339

  614. Tevaris Tucker                 CUYAH_000055327
                                      MCKPUB00021916
                                      MCKPUB00021917
                                      MCKPUB00021920

  615. Willie S. Tullis               AKRON_000205918
                                      MCKPUB00022801
                                      MCKPUB00022804
                                      MCKPUB00022806
                                      MCKPUB00030076
                                      MCKPUB00030078
                                      MCKPUB00030079

  616. Devonte Rueben Turner          AKRON_000294908
                                      AKRON_001151503
                                      MCKPUB00010805
                                      MCKPUB00010807
                                      MCKPUB00010808
                                      MCKPUB00010811
                                      MCKPUB00010812

  617. Joe Louis Turner II            AKRON_001220880
                                      MCKPUB00015641
                                      MCKPUB00015645
                                      MCKPUB00015648
                                      MCKPUB00015650
                                      MCKPUB00015651

  618. Marshay L. Turner              CUYAH_000079139
                                      MCKPUB00018273
                                      MCKPUB00018274
                                      MCKPUB00018277

  619. Michael D. Tyler               AKRON_000288850
                                      MCKPUB00018675
                                      MCKPUB00018677
                                      MCKPUB00018678


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       Name                     Sources
  620. Elizabeth Ulrey                AKRON_000212087
                                      MCKPUB00012271
                                      MCKPUB00012273
                                      MCKPUB00012274
                                      MCKPUB00012275
                                      SUMMIT_001138006
                                      SUMMIT_001138009

  621. Ambray Underwood               CUYAH_000032047
                                      MCKPUB00006560
                                      MCKPUB00006563
                                      MCKPUB00006564

  622. David Urrabazo-                MCKPUB00010228
       Maldonado, Jr.                 MCKPUB00010311
                                      MCKPUB00010318
                                      MCKPUB00010329

  623. Michael Vaden                  CUYAH_014631520
                                      MCKPUB00018949
                                      MCKPUB00018950
                                      MCKPUB00018953

  624. Tracy L. Vanhorn               AKRON_000286843
                                      MCKPUB00022265
                                      MCKPUB00022266
                                      MCKPUB00022267
                                      MCKPUB00022269
                                      MCKPUB00022270

  625. Richard Vargas                 MCKPUB00024475
                                      MCKPUB00024478
                                      MCKPUB00024479

  626. LeTroy P. Vaughn               AKRON_000288578
                                      MCKPUB00017624
                                      MCKPUB00017626
                                      MCKPUB00017627

  627. Neidalyz Vazquez               CUYAH_000036277
                                      MCKPUB00004771
                                      MCKPUB00004772


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       Name                     Sources
                                      MCKPUB00004775




  628. Abimelec Vega                  MCKPUB00006226
                                      MCKPUB00006231
                                      MCKPUB00006233
                                      MCKPUB00006239
                                      MCKPUB00006241

  629. Mizraim Vega                   MCKPUB00006231
                                      MCKPUB00018975
                                      MCKPUB00018988
                                      MCKPUB00018982
                                      MCKPUB00018990
                                      MCKPUB00030080

  630. Lavester E. Vickers            AKRON_000280183
                                      MCKPUB00017357
                                      MCKPUB00017359

  631. Brandon Wagner                 MCKPUB00007701
                                      MCKPUB00007704
                                      MCKPUB00007711
                                      MCKPUB00007714
                                      MCKPUB00007715
                                      MCKPUB00007719
                                      MCKPUB00007722
                                      MCKPUB00007725
                                      MCKPUB00007731

  632. Eric Walker                    MCKPUB00027992
                                      MCKPUB00027993
                                      MCKPUB00027996

  633. Roland Walker                  CUYAH_000053185
                                      MCKPUB00020497
                                      MCKPUB00020498
                                      MCKPUB00020501




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       Name                     Sources
  634. Jodarryel Wallace              CUYAH_000030209
                                      MCKPUB00015624
                                      MCKPUB00015625
                                      MCKPUB00015628

  635. Bin Wang                       MCKPUB00007643




  636. Antonio M. Washington          CUYAH_000029994
                                      MCKPUB00006992
                                      MCKPUB00006993
                                      MCKPUB00006996

  637. Duane Washington               CUYAH_000070777
                                      MCKPUB00011851
                                      MCKPUB00011852
                                      MCKPUB00011855

  638. Jerome A. Watkins              MCKPUB00024434
                                      MCKPUB00024437
                                      MCKPUB00024444
                                      MCKPUB00024448

  639. William G. Watkins             AKRON_000204358
                                      MCKPUB00022743
                                      MCKPUB00022746
                                      MCKPUB00022747
                                      MCKPUB00022748
                                      MCKPUB00022751
                                      MCKPUB00022752

  640. Antwan Devonta Watson          MCKPUB00007023
                                      MCKPUB00007025
                                      MCKPUB00007026
                                      MCKPUB00007027
                                      MCKPUB00007029
                                      MCKPUB00007030

  641. Clentonio Watson               CUYAH_000039916
                                      CUYAH_000055469
                                      MCKPUB00009045
                                      MCKPUB00009046

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       Name                     Sources
                                      MCKPUB00009049




  642. Michael O. Watson              CUYAH_000027734
                                      MCKPUB00018943
                                      MCKPUB00018944
                                      MCKPUB00018947

  643. Sergio D. Watson               AKRON_001284245
                                      MCKPUB00027998
                                      MCKPUB00028003
                                      MCKPUB00028004

  644. Denay M. Webb                  MCKPUB00010408
                                      MCKPUB00010420
                                      MCKPUB00010423

  645. Jamez Jamel Webb II            MCKPUB00015331
                                      MCKPUB00015333
                                      MCKPUB00015140
                                      MCKPUB00015346
                                      MCKPUB00015349

  646. Danny Weber                    AKRON_001279226
                                      MCKPUB00028006
                                      MCKPUB00028007
                                      MCKPUB00028010

  647. Scott T. Weisner               MCKPUB00020881
                                      MCKPUB00020883
                                      SUMMIT_001138953
                                      SUMMIT_001138965

  648. Joshua M. Whethers             MCKPUB00028012
                                      MCKPUB00028017
                                      MCKPUB00028019
                                      MCKPUB00028028
                                      MCKPUB00028031
                                      MCKPUB00028033
                                      MCKPUB00028035
                                      MCKPUB00028036


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       Name                        Sources
                                         MCKPUB00028038




  649. Jacob White                       CUYAH_000034430
                                         MCKPUB00014755
                                         MCKPUB00014756
                                         MCKPUB00014761

  650. Dashawn D’Anthony                 AKRON_000201450
       Whitlow                           MCKPUB00009921
                                         MCKPUB00009923
                                         MCKPUB00009924
                                         MCKPUB00009925
                                         MCKPUB00009927
                                         MCKPUB00009930
                                         MCKPUB00009935
                                         MCKPUB00009936

  651. John W. Whitmore                  CUYAH_000029834
                                         MCKPUB00015674
                                         MCKPUB00015675
                                         MCKPUB00015678

  652. Brian L. Williams                 MCKPUB00008191
                                         MCKPUB00008192
                                         MCKPUB00008194
                                         MCKPUB00008195
                                         MCKPUB00008205
                                         MCKPUB00030082
                                         MCKPUB00030091

  653. Carmen Christine Williams         AKRON_000204584
                                         MCKPUB00008725
                                         MCKPUB00008727
                                         MCKPUB00008728
                                         MCKPUB00008731
                                         MCKPUB00008733
                                         MCKPUB00008736
                                         MCKPUB00008737




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       Name                     Sources
  654. Cortney Williams               MCKPUB00009212
                                      MCKPUB00009219
                                      MCKPUB00009221
                                      MCKPUB00030103

  655. Dazmon R. Williams             AKRON_000220700
                                      MCKPUB00010347
                                      MCKPUB00010350
                                      MCKPUB00010353
                                      MCKPUB00010354
                                      SUMMIT_000625447

  656. Delamar D. Williams            MCKPUB00010366
                                      MCKPUB00010369
                                      MCKPUB00010370
                                      MCKPUB00010373
                                      MCKPUB00010375
                                      MCKPUB00010376
                                      MCKPUB00010380
                                      MCKPUB00030105
                                      MCKPUB00030112
                                      MCKPUB00030115

  657. Derrien A. Williams            AKRON_000220960
                                      MCKPUB00010490
                                      MCKPUB00010491
                                      MCKPUB00010493

  658. Dominic D. Williams            AKRON_000205625
                                      AKRON_000288343
                                      MCKPUB00011045
                                      MCKPUB00011047
                                      MCKPUB00011048

  659. Ejiro Williams                 CUYAH_000055866
                                      MCKPUB00012264
                                      MCKPUB00012266
                                      MCKPUB00012269

  660. Gregory Lee Williams           AKRON_001218609
                                      MCKPUB00028063
                                      MCKPUB00028064


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       Name                      Sources
                                       MCKPUB00028067




  661. Jamal H. Williams               MCKPUB00014769
                                       MCKPUB00014960
                                       MCKPUB00014975
                                       MCKPUB00014978
                                       MCKPUB00030125

  662. John W. Williams IV             MCKPUB00028070
                                       MCKPUB00028071
                                       MCKPUB00028073

  663. Kevin Williams                  MCKPUB00016590
                                       MCKPUB00016593
                                       MCKPUB00016618
                                       MCKPUB00016625
                                       MCKPUB00030127

  664. Latierra T. Williams            CUYAH_000034002
                                       MCKPUB00017130
                                       MCKPUB00017132
                                       MCKPUB00017135

  665. Lavon Devon Williams            MCKPUB00017360
                                       MCKPUB00017367



  666. Rashon Anthony Williams         MCKPUB00019411
                                       MCKPUB00019417
                                       MCKPUB00019418
                                       MCKPUB00030185
                                       MCKPUB00030187
                                       MCKPUB00030188
                                       MCKPUB00030190
                                       SUMMIT_000064884
                                       SUMMIT_001142529
                                       SUMMIT_001142601




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       Name                     Sources
  667. Raymond L. Williams            CUYAH_000041788
                                      MCKPUB00019431
                                      MCKPUB00019432
                                      MCKPUB00019434

  668. Rodney Williams                CUYAH_000036147
                                      MCKPUB00020253
                                      MCKPUB00020254
                                      MCKPUB00020256

  669. Shaun D. Williams              MCKPUB00020914
                                      MCKPUB00021105
                                      MCKPUB00021107
                                      MCKPUB00021120
                                      MCKPUB00021123
                                      MCKPUB00030191

  670. Terrance Williams              AKRON_000206491
                                      MCKPUB00021839
                                      MCKPUB00021841
                                      MCKPUB00021842
                                      MCKPUB00021845
                                      MCKPUB00021847
                                      MCKPUB00021850
                                      MCKPUB00021851

  671. Randy Willis                   CUYAH_000040609
                                      MCKPUB00019390
                                      MCKPUB00019391
                                      MCKPUB00019394

  672. Rodney D. Willis               CUYAH_000070777
                                      MCKPUB00020243
                                      MCKPUB00020244
                                      MCKPUB00020247

  673. Damon E. Wilson                AKRON_001154747
                                      MCKPUB00009274
                                      MCKPUB00009278
                                      MCKPUB00009279




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       Name                     Sources
  674. Dereece D. Wilson              AKRON_000228041
                                      MCKPUB00010438
                                      MCKPUB00010444
                                      MCKPUB00010445
                                      SUMMIT_001138605

  675. Nathaniel Wilson               CUYAH_000033108
                                      MCKPUB00019042
                                      MCKPUB00019043
                                      MCKPUB00019048

  676. Teon R. Wilson                 AKRON_000201470
                                      MCKPUB00021597
                                      MCKPUB00021599
                                      MCKPUB00021601
                                      MCKPUB00021602

  677. Terry Lee Wilson               AKRON_000326304
                                      MCKPUB00021897
                                      MCKPUB00021901
                                      MCKPUB00021910
                                      MCKPUB00021911

  678. Gregory L. Winfield            CUYAH_000052488
                                      MCKPUB00013890
                                      MCKPUB00013891
                                      MCKPUB00013894

  679. Shirleen Winfield              CUYAH_000052488
                                      MCKPUB00021132
                                      MCKPUB00021133
                                      MCKPUB00021136

  680. Ryan J. Winston                AKRON_000207494
                                      MCKPUB00020626
                                      MCKPUB00020628
                                      MCKPUB00020629

  681. Terry C. Winters               CUYAH_000030523
                                      MCKPUB00021877
                                      MCKPUB00021879
                                      MCKPUB00021883



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       Name                     Sources
  682. Tia Marie Wise                 AKRON_000294507
                                      MCKPUB00022158
                                      MCKPUB00022160

  683. Kevin Witt                     CUYAH_000039947
                                      MCKPUB00016627
                                      MCKPUB00016628
                                      MCKPUB00016632

  684. Kevin J. Wolverton             AKRON_001289227
                                      MCKPUB00016634
                                      MCKPUB00016636
                                      MCKPUB00016637

  685. Angelo D. Wood                 AKRON_000290891
                                      MCKPUB00006868
                                      MCKPUB00006871
                                      MCKPUB00006872
                                      SUMMIT_000678768

  686. Breanna Woods                  CUYAH_000056835
                                      MCKPUB00007951
                                      MCKPUB00007952
                                      MCKPUB00007955

  687. Deonte L. Woods                AKRON_000208074
                                      AKRON_000223002
                                      MCKPUB00010434
                                      MCKPUB00010436
                                      MCKPUB00010437

  688. Robert Worthy                  CUYAH_000020902
                                      MCKPUB00020203
                                      MCKPUB00020204
                                      MCKPUB00020206

  689. Raymundo Wren                  MCKPUB00019436
                                      MCKPUB00019438
                                      MCKPUB00019451
                                      MCKPUB00019454




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       Name                     Sources
  690. Darius M. Wright               CUYAH_014630960
                                      MCKPUB00024216
                                      MCKPUB00024220
                                      MCKPUB00024221

  691. Marquel Diamond Wright         AKRON_000200925
                                      AKRON_001217017
                                      MCKPUB00018267
                                      MCKPUB00018268

  692. Ramon Wright                   MCKPUB00030193
                                      MCKPUB00030194
                                      MCKPUB00030195

  693. Zaire M. Wright                CUYAH_000078549
                                      MCKPUB00022808
                                      MCKPUB00022809
                                      MCKPUB00022812

  694. Dontez Yeager                  MCKPUB00011633
                                      MCKPUB00011636
                                      MCKPUB00011637
                                      MCKPUB00011638
                                      MCKPUB00011640
                                      MCKPUB00011641
                                      MCKPUB00030196

  695. David W. Yoak                  MCKPUB00028075
                                      MCKPUB00028076
                                      MCKPUB00028078

  696. Charles Yonkings               CUYAH_000044641
                                      MCKPUB00008901
                                      MCKPUB00008902
                                      MCKPUB00008905

  697. Alfonso Yunis                  MCKPUB00006438
                                      MCKPUB00006443
                                      MCKPUB00006445
                                      MCKPUB00006451
                                      MCKPUB00006459



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       Name                       Sources
  698. Danny Zahand                     CUYAH_000034468
                                        MCKPUB00009533
                                        MCKPUB00009534
                                        MCKPUB00009537

  699. Cesar Zambrano-Espinal           MCKPUB00008757
                                        MCKPUB00008840
                                        MCKPUB00008842
                                        MCKPUB00008849
                                        MCKPUB00008852

  700. Fujing Zheng, also known         MCKPUB00013476
       as Gordon Jin                    MCKPUB00013478


  701. Guanghua Zheng                   MCKPUB00013476
                                        MCKPUB00013478




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                      APPENDIX B
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              APPENDIX B: LIST OF MATERIALS CONSIDERED

 Deposition Transcripts
 Transcript of Deposition of Kenneth Ball and Exhibits, Nov. 7, 2018
 Transcript of Deposition of Matthew Paolino and Exhibits, Dec. 5, 2018
 Transcript of Deposition of Greta Johnson and Exhibits, Jan. 15, 2019
 Transcript of Deposition of Derek Siegle and Exhibits, Jan. 23, 2019
 Transcript of Deposition of John Prince and Exhibits, Jan. 30, 2019
 Transcript of Deposition of Patrick Leonard and Exhibits, Jan. 31, 2019
 Transcript of Deposition of Kyle Wright and Exhibits, Feb. 28, 2019
 Transcript of Deposition of Kyle Wright and Exhibits, Mar. 4, 2019
 Transcript of Deposition of Demetra Ashley and Exhibits, Mar. 15, 2019
 Transcript of Deposition of Patrick Leonard and Exhibits, Mar. 27, 2019
 Transcript of Deposition of John Prince and Exhibits, Mar. 29, 2019
 Transcript of Deposition of Lori Baker-Stella and Exhibits, Mar. 29, 2019
 Transcript of Deposition of Keith Martin and Exhibits, Apr. 3, 2019
 Transcript of Deposition of Stacy Harper-Avilla and Exhibits, Apr. 11, 2019
 Transcript of Deposition of Thomas Prevoznik and Exhibits, Apr. 17, 2019
 Transcript of Deposition of Thomas Prevoznik and Exhibits, Apr. 18, 2019
 Transcript of Deposition of June Howard and Exhibits, Apr. 25, 2019
 Transcript of Deposition of Joseph Rannazzisi and Exhibits, Apr. 26, 2019
 Transcript of Deposition of James Rafalski and Exhibits, May 13, 2019
 Transcript of Deposition of James Rafalski and Exhibits, May 14, 2019
 Transcript of Deposition of Joseph Rannazzisi and Exhibits, May 15, 2019
 Transcript of Deposition of Thomas Prevoznik and Exhibits, May 17, 2019
 Transcript of Deposition of Patrick Leonard and Exhibits, May 23, 2019
 Transcript of Deposition of John Prince and Exhibits, May 23, 2019
 Transcript of Deposition of Lori Baker-Stella and Exhibits, May 23, 2019




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 Documents Produced In This Litigation
 ABDCMDL00037184               HDS_MDL_00002462           MCKPUB00009235

 AKRON_000201619               HDS_MDL_00005371           MCKPUB00009238

 AKRON_000206798               MCKMDL00478906             MCKPUB00009240

 AKRON_000236206               MCKMDL00496859             MCKPUB00009241

 AKRON_000325481               MCKMDL00496876             MCKPUB00009242

 AKRON_000337173               MCKPUB00000065             MCKPUB00009244

 AKRON_000337174               MCKPUB00000068             MCKPUB00009245

 AKRON_000344115               MCKPUB00000071             MCKPUB00009246

 AKRON_001102789               MCKPUB00000304             MCKPUB00009248

 AKRON_001143207               MCKPUB00000306             MCKPUB00009249

 AKRON_001283454               MCKPUB00000362             MCKPUB00009250

 CAH_MDL_PRIORPROD             MCKPUB00000365             MCKPUB00009252
 _DEA12_00010980
                               MCKPUB00000727             MCKPUB00009254
 CLEVE_000189730
                               MCKPUB00000807             MCKPUB00009255
 CLEVE_000273623
                               MCKPUB00000808             MCKPUB00009257
 CLEVE_001484132
                               MCKPUB00000810             MCKPUB00009262
 CLEVE_001486342
                               MCKPUB00003647             MCKPUB00009263
 CLEVE_004083991
                               MCKPUB00005188             MCKPUB00013570
 CLEVE_2288891
                               MCKPUB00006957             MCKPUB00013572
 CLEVE_2289957
                               MCKPUB00006964             MCKPUB00013575
 CUYAH_000080214
                               MCKPUB00006966             MCKPUB00013581
 CUYAH_001670519
                               MCKPUB00006974             MCKPUB00013583
 CUYAH_002048206
                               MCKPUB00006978             MCKPUB00024537
 CUYAH_002399328
                               MCKPUB00006981             MCKPUB00024546
 CUYAH_012915194

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 MCKPUB00024731                     MCKPUB00025235                     OH-HIDTA_000989

 MCKPUB00024733                     MCKPUB00025238                     OH-HIDTA_003369

 MCKPUB00024736                     MCKPUB00026700                     OH-HIDTA_003501

 MCKPUB00025075                     MCKPUB00029398                     SUMMIT_000023567

 MCKPUB00025076                     MCKPUB00029985                     SUMMIT_00132316

 MCKPUB00025078                     MCKPUB00029986                     SUMMIT_002053458

 MCKPUB00025079                     MCKPUB00029988                     US-DEA-00004802

 MCKPUB00025081                     MCKPUB00029992                     US-DEA-00008563

 MCKPUB00025082                     OBN_MDL 1st Production             US-DEA-00008565
                                    074923
 MCKPUB00025084                                                        US-DEA-00008577
                                    OH-HIDTA_000526
 MCKPUB00025086                                                        US-DEA-00017914
                                    OH-HIDTA_000701
 MCKPUB00025088                                                        US-DEA-00020544
                                    OH-HIDTA_000937
 MCKPUB00025234


 Interrogatories, Requests & Responses In This Litigation
 Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
     Interrogatory Number 3 as Rewritten by Special Master David Cohen

 Plaintiff the City of Cleveland’s Supplemental Response and Objections to Distributor
       Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen

 Summit County & City of Akron, Ohio’s Amended Responses and Objections to the
     Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
     Defendants’ First Set of Interrogatories

 Summit County & City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections to
     Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29

 Summit County & City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses and
     Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
     20, 21, 26, 27, 28 & 29

 Summit County & City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections to
     National Retail Pharmacy Defendants’ Interrogatory Nos. 4, 7, 15, 16 & 19

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 Acts of Congress
 Comprehensive Drug Abuse Prevention and Control Act, Pub. L. No. 91-513, 84 Stat. 1236
     (1970)

 Hillory J Farias and Samantha Reid Date-Rape Drug Prohibition Act, H.R. 2130, 106th Cong.
       (2000)

 Ryan Haight Online Pharmacy Consumer Protection Act, H.R. 6253, 110th Cong. (2008)

 Comprehensive Methamphetamine Control Act, S. 1965, 104th Cong. § 2 (1996)


 Statutes
 21 U.S.C. § 821
 21 U.S.C. § 822
 21 U.S.C. § 823
 21 U.S.C. § 824
 21 U.S.C. § 827
 31 U.S.C. § 5318


 Regulations
 21 C.F.R. § 21
 21 C.F.R. § 1301.11
 21 C.F.R. § 1301.31
 21 C.F.R. § 1301.35
 21 C.F.R. § 1301.36
 21 C.F.R. § 1301.37
 21 C.F.R. § 1301.71
 21 C.F.R. § 1301.72
 21 C.F.R. § 1301.73
 21 C.F.R. § 1301.74
 21 C.F.R. § 1301.75
 21 C.F.R. § 1301.76
 21 C.F.R. § 1304.04
 21 C.F.R. § 1304.11

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 21 C.F.R. § 1305.12
 28 C.F.R. § 0.100
 28 C.F.R. § 0.101
 31 C.F.R. § 1010
 31 C.F.R. § 1020


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 61 Fed. Reg. 4326
 69 Fed. Reg. 5583
 69 Fed. Reg. 62093
 72 Fed. Reg. 50397
 74 Fed. Reg. 15596
 83 Fed. Reg. 5188


 Congressional Hearings
 Rogue Online Pharmacies: The Growing Problem of Internet Drug Trafficking, Hearing Before
     the S. Comm. on the Judiciary, 110th Cong. 110-472 (2007)

 Improving Predictability and Transparency in DEA and FDA Regulation, Hearing Before the
      Subcomm. on Health of the H. Comm. on Energy and Commerce, 113th Cong., 113-137
      (2014)

 Examining the Growing Problems of Prescription Drug and Heroin Abuse, Hearing Before the
     Subcomm. on Oversight and Investigations of the H. Comm. on Energy and Commerce,
     113th Cong., 113-140 (2014)

 Challenges and Solutions in the Opioid Crisis, Hearing Before the H. Comm. on the Judiciary,
      115th Cong., 115-57 (2018)

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     the Subcomm. on Investigations of the S. Comm. on Homeland Security and Governmental
     Affairs, 115th Cong., 115-317 (2018)

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      Before the Subcomm. on Oversight and Investigations of the H. Comm. on Energy and
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      Health, Global Human Rights, and Internal Organizations of the H. Comm. on Foreign
      Affairs, 115th Cong., 115-169 (2016)

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       2016)

 Tr. of Senate Judiciary Hearing on DEA Oversight, Testimony of Demetra Ashley (Dec. 12,
       2017)

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     Efforts, Hearing Before the H. Comm. on Government Reform, 109th Cong., 109-103
     (2005)



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      Enforcement Administration’s Investigations of the Diversion of Controlled
      Pharmaceuticals (2002)

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      the Drug Enforcement Administration’s Efforts to Control the Diversion of Controlled
      Pharmaceuticals (2006)

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      Enforcement Administration’s Use of the Diversion Control Fee Account (2008)

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      Drug Enforcement Administration's Personnel Resource Management and Casework
      (2011)

 U.S Government Accountability Office, GAO-11-744, Prescription Drug Control: DEA Has
      Enhanced Efforts to Combat Diversion, But Could Better Assess and Report Program
      Results (2011)

 U.S. Government Accountability Office, GAO-15-471, Prescription Drugs: More DEA
      Information about Registrants’ Controlled Substances Roles Could Improve Their
      Understanding and Help Ensure Access (2015)

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 Annamarya Scaccia, How Fentanyl is Contaminating America’s Cocaine Supply, ROLLING
     STONE (Oct. 9, 2018, https://www.rollingstone.com/culture/culture-features/fentanyl-
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                      APPENDIX C
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                                   PROFESSIONAL EXPERIENCE

    Corporate Integrity Services LLC (CIS)                         2012 – Present

    TurnStone Investigative Group                                  2008 – 2012

    Drug Enforcement Administration (DEA)                          1984 – 2007

    Associate Special Agent in Charge (SES)                        June 2006
    Miami Field Division

    Regional Director Central America/Mexico (SES)                 2002 – 2006
    Mexico City – United States Embassy

    Appointed to Senior Executive Service (SES)                    December 2002

    Assistant Special Agent in Charge (GS-15)                       2001 – 2002
    El Paso Field Division

    Chief of Central American/Mexico Operations (GS-15)             1999 – 2001
    DEA Headquarters - Washington, DC

    Liaison to the Central Intelligence Agency (GS-14)              1996 – 1998
    Acting Assistant Country Attaché                                1988 - 1999
    Bogotá Colombia Country Office – United States Embassy

    Accelerated Agent Training- covert operations                   1996
    Central Intelligence Agency Headquarters, VA

    Project Manager (GS-14)
    Alameda County Drug Enforcement Task Force – Oakland, CA       1994 – 1996

    Group Supervisor (GS-14) Cocaine/Heroin Section                1992 – 1994
    San Francisco Field Division

    Special Agent (GS -13) Guatemala, Belize, El Salvador region   1988 – 1992
    Guatemala City Country Office – United States Embassy

    Special Agent – Enforcement Operations                         1984 - 1988
    New Orleans Field Division

    Special Agent                                                  1984
    St. Louis Field Division


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    Narcotics Detective, Patrol Officer, Cadet                                  1970 – 1984
    St. Louis Metropolitan Police Department


                                     SECURITY CLEARANCE

    Top Secret/SCI with additional clearances

                              PROFESSIONAL QUALIFICATIONS

    Experience covers a wide variety of supervisory and investigative duties to include living in
    foreign environments using Spanish language capabilities for over 14 years. All assignments
    have involved extensive liaison with foreign and domestic law enforcement agencies, senior
    foreign government representatives, senior U.S. government officials as well as civilian
    entities such as banking officials and numerous private sector representatives.


          Key involvement in multiple projects to develop and implement agency wide operational
           procedures and standards, re-evaluating and modifying existing procedures to enhance
           security, streamline processes and provide cost savings to multi-million dollar budgets to
           the agency.

          As the most senior law enforcement official in Mexico/Central America, it was my
           responsibility to brief the United States Ambassadors on all issues of importance relating
           to DEA, ICE and FBI working throughout Mexico and Central America. The personnel
           of those agencies were under the umbrella of the DEA office in Mexico City. This
           position required excellent interpersonal skills and diplomacy to achieve the overall
           goals of the United States Mission throughout the region.
          Directly supervised hundreds of federal, state and local personnel working a wide range
           of criminal investigations, including multi-jurisdictional complex conspiracy
           investigations. Currently responsible for over 400 personnel with a multi-million dollar
           budget.
          Recipient of numerous awards including 2 DEA Administrators Awards and the
           prestigious Warren Medal from the Central Intelligence Agency.


                                            EDUCATION

    Bachelors Degree in Criminal Justice/Political Science                          1977
    Maryville University – St. Louis, MO

    Graduate Studies in Political Science
    University of Texas at El Paso

                              PROFESSIONAL ORGANIZATIONS

    International Association of Chiefs of Police (IACP)
    Federal Law Enforcement Officers Association (FLEOA)




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